   Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 1 of 136



                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                            SAN ANTONIO DIVISION

KRYSTAL YBARRA                                 §
    Plaintiff                                  §   CASE NO. 5:22-cv-230
v.                                             §
                                               §
DANIEL JOSEPH SCHMIESING and                   §
STANDARDAERO AVIATION                          §
HOLDINGS, INC.                                 §
     Defendants                                §


         DEFENDANT STANDARDAERO AVIATION HOLDINGS, INC.’S
        INDEX OF STATE COURT PAPERS IN CAUSE NO. 2021CI09062


  1.    Docket Sheet

  2.    Plaintiff’s Original Petition

  3.    Jury Fee Paid

  4.    Request for Service and Process

  5.    Citation for Daniel Joseph Schmiessing

  6.    Original Answer of Daniel Joseph Schmiesing

  7.    Certificate of Written Discovery

  8.    Third Party Action

  9.    Certificate of Written Discovery

  10.   Citation

  11.   Return of Service - Successful

  12.   Certificate of Written Discovery

  13.   Certificate of Deposition of C/R Consultants in Pain Medicine (Billing) and
        Notice of Delivery


                                           1


                                 EXHIBIT “A”
 Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 2 of 136


14.   Certificate of Deposition of C/R Consultants in Pain Medicine - Medical Records
      and Diagnostic Imaging

15.   Agreed Docket Control Order

16.   Request for Copy of Conformed Agreed Docket Control emailed 12/6/2021

17.   Certificate of Deposition of C/R Medport Billing

18.   Certificate of Deposition of C/R Frank K. Kuwamura, III, M.D. – Medical
      Records and Diagnostic Imaging

19.   Certificate of Deposition of C/R Frank K. Kuwamura, III, M.D. (Billing Records)

20.   Certificate of Deposition of C/R ChiroCare Injury Rehab – Medical Records and
      Diagnostic Imaging

21.   Intention to take Deposition             of   C/R   American   Health   Imaging
      (Corporate)(Billing Records)

22.   Motion for Independent Medical Examination

23.   Motion to Set Motion for Independent Medical Exam

24.   Certificate of Deposition of C/R Phase 4 Physiotherapy (Billing)

25.   Certificate of Deposition of C/R American Health Imaging (Medical Records
      and Diagnostic Imaging)

26.   Certificate of Deposition of C/R ChiroCare Injury Rehab (Billing Records)

27.   Rule 11 Agreement

28.   Setting on Motion to Enter/Sign

29.   Plaintiff’s First Amended Petition

30.   Request for Service of Process

31.   Citation StandardAero Aviation Holding, Inc.

32.   Certificate of Written Discovery

33.   General Jury Trial Notice

33.   Answer of StandardAero Aviation Holding, Inc.

                                           2


                             EXHIBIT “A”
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                                                        4o8th District Court

                                                        Case Summary
                                                       Case No.2021CI09602



KRYSTAL YBARRA VS DANIEL JOSEPH SCHMIESSING                                             Location: 408th District Court
ETAL                                                                             Judicial Officer: 408th,District Court
                                                                                        Filed on: 05/13/2021



                                                        Case Information


                                                                                      Case Type: MOTOR VEHICLE
                                                                                                  ACCIDENT
                                                                                     Case Status: 05/13/2021 Pending
                                                     Assignment Information

             Current Case Assignment
             Case Number 2021CI09602
             Court            408th District Court
             Date Assigned 05/13/2021
             Judicial Officer 408th,District Court



                                                        Party Information

                                                                Lead Attorneys
Plaintiff     YBARRA,KRYSTAL                                    WYATr,PAULAA
                                                                Retained


Defendant SCHMIESING,DANIEL JOSEPH                              CUC^TAMMY BRUCH
                                                                Retained


              SCHMIESSING,DANIEL JOSEPH                         DURBD^,JENNIFER GIBBINS
                                                                Retained


              STANDARDAERO AVIATION HOLDING INC DURBIN,JENNIFER GIBBINS
                                                                Retained




                                                Events and Orders of the Court


05/13/2021     New Cases Filed(OCA)
05/13/2021     PETITION
05/13/2021     REQUEST FOR SERVICE AND PROCESS
05/14/2021     JURY FEE PAID
05/24/2021     Citation
               SCHMIESSING,DANIEL JOSEPH
               Unserved

07/16/2021     ORIGINAL ANSWER OF
                  DANIEL JOSEPH SCHMIESING

08/13/2021     CERTIFICATE OF WRITTEN DISCOVERY
08/13/2021     THIRD PARTY ACTION
08/16/2021     CERTIFICATE OF WRITTEN DISCOVERY
08/27/2021     Citation
                                                            PAGE 1 OF 2                         Printed on 03/09/2022 at 8:02 AM
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                                                   4o8th District Court

                                                    Case Summary
                                                  Case No.2021CI09602
09/23/2021   RETURN OF SERVICE-SUCCESSFUL
11/17/2021   CERTIFICATE OF WRITTEN DISCOVERY
11/18/2021   CERTIFICATE OF DEPOSITION OF
               C/R CONSULTANTSIN PAIN MEDICINE(BILUNG)AND NOTICE OFDELIVER Y
11/18/2021   CERTIFICATE OF DEPOSITION OF
               CR,ConsultantsIn Pain Medicine - Medical Records and Diagnostic Imaging
11/30/2021   DOCKET CONTROL ORDER         (Judicial Officer: GONZALES,NORMA)
              (AGREED)

12/01/2021   REQUEST FOR
               copy ofConformed Agreed Docket Control Order EMAILED 12-6-2021
12/17/2021   CERTIFICATE OF DEPOSITION OF
               C/R MEDPORTBILLING(BILLING)
12/17/2021   CERTIFICATE OF DEPOSITION OF
               C/R rank K.Kuwamura,III, M.D.- Medical Records and Diagnostic Imaging
12/17/2021   CERTIFICATE OF DEPOSITION OF
               C/R FRANK K.KUWAMURA III M.D.(BILUNG RECORDS)
12/28/2021   CERTIFICATE OF DEPOSITION OF
               C/R ChiroCare Injury Rehab - Medical Records and DiagnosticImaging
12/28/2021   INTENTION TO TAKE DEPOSITION OF
               C/R American Health Imaging(Corporate)(Billing Records)
12/30/2021   MOTION FOR
               Independent Medical Examination
12/30/2021   MOTION TO SET
               MOTION FOR INDEPENDENT MEDICAL EXAMINATION

01/05/2022   CERTIFICATE OF DEPOSITION OF
               C/R Phase 4 Physiotherapy(BILLING)
01/05/2022   CERTinCATE OF DEPOSITION OF
               C/R American Health Imaging(Medical Records and Diagnostic Imaging)
01/05/2022   CERTIFICATE OF DEPOSITION OF
               C/R ChiroCare Injury Rehab (Billing Records)
01/06/2022   RULE 11 AGREEMENT
01/07/2022 SETITNG ON MOTION TO ENTER/SIGN (8:30 AM)
02/01/2022   AMENDED PETITION
02/01/2022   REQUEST FOR SERVICE AND PROCESS
02/10/2022   Citation
             STANDARDAERO AVIATION HOLDING INC
             Unserved

02/23/2022   CERTIFICATE OF WRITTEN DISCOVERY
03/04/2022   ORIGINAL ANSWER OF
               STANDARDAERO AVIATION HOLDINGS.INC.

09/19/2022 C GENERAL JURY TRIAL (8:30 AM) (Judicial Officer: SALINAS,LAURA)




                                                        PAGE 2 OF 2                      Printed on 03/09/2022 at 8:02 AM
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Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 7 of 136
Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 8 of 136
FILED
2/23/2022 2:11 PM Case 5:22-cv-00230-JKP-RBF   Document 1-3 Filed 03/10/22 Page 9 of 136
Mary Angie Garcia
Bexar County District Clerk
Accepted By: Stephanie West
Bexar County - 408th District Court

                                       CAUSE NO. 2021CI09602

          KRYSTAL YBARRA                             §              IN THE DISTRICT COURT
            Plaintiff                                §
                                                     §
          VS.                                                      408TH JUDICIAL DISTRICT

          DANIEL JOSEPH SCHMIESSING
            Defendant                                                BEXAR COUNTY. TEXAS


                            DEFENDANT DANIEL JOSEPH SCHMIESING'S
                               CERTIFICATE OF WRITTEN DISCOVERY


                Defendant Daniel Joseph Schmiesing certifies that the following documents have
          been served on Plaintiff Krystal Ybarra.


                1. Defendant Daniel Joseph Schmiesing's TRCP 194.2(b) First Amended
                   Disclosures.


                                                 Respectfully submitted.
                                                 ALLEN, STEIN & DURBIN, P.C
                                                 6243 IH lowest, 7th Floor
                                                 P.O. Box 101507
                                                 San Antonio, Texas 78201
                                                 Telephone No.(210) 734-7488
                                                 Telecopier No.(210) 738-8036




                                                 J
                                                 State Bar Ntx-0T84O5OO
                                                 jdurbin@asdh.com

                                                 TAMMY BRUCH CLICK
                                                 State Bar No. 03239300
                                                 tclick@asdh.com

                                                 *serv'tce email:iqd-service(a)asdh.com


                                                 ATTORNEYS FOR DEFENDANT
                                                 DANIEL JOSEPH SCHMIESING
    Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 10 of 136




                             CERTIFICATE OF SERVICE


      This is to certify that the above and foregoing Defendant Daniel Joseph
Schmiesing's Certificate of Written Discovery was on this the 23rd day of February
2022, forwarded via e-service to:


      e-serve@wvattlawfirm.com
       Paula A. Wyatt
       Gavin Mclnnis
       Louis Durbin
      Wyatt Law Firm, PLLC
      21 Lynn Batts Lane, Ste 10
      San Antonio, Texas 78218
      Attorneys for Plaintiff




                                            •ERJS+BBINS DU1
                                         IMY ^UCH CLICK




#2232568/2331-388/TBC/du
        Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 11 of 136

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on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Deborah Uhl on behalf of Tammy Click
Bar No. 3239300
DUhl@asdh.com
Envelope ID: 62013766
Status as of 2/24/2022 4:48 PM CST

Associated Case Party: KRYSTAL YBARRA

Name                 BarNumber Email                         TimestampSubmitted Status

Paula James Wyatt    10541400    e-serve@wyattlawfirm.com    2/23/2022 2:11:48 PM   SENT



Associated Case Party: DANIELJOSEPHSCHMIESSING

Name                     BarNumber Email                     TimestampSubmitted     Status

Tammy Click                         tclick@asdh.com          2/23/2022 2:11:48 PM   SENT

Jennifer GibbinsDurbin              jgd-service@asdh.com     2/23/2022 2:11:48 PM   SENT



Case Contacts

Name                BarNumber Email                   TimestampSubmitted Status

Jennifer G.Durbin               jdurbin@asdh.com      2/23/2022 2:11:48 PM   SENT

Debbie Uhl                      duhl@asdh.com         2/23/2022 2:11:48 PM   SENT

Tonya McCall                    TMcCall@asdh.com      2/23/2022 2:11:48 PM   SENT
FILED
11/17/2021 5:21 PM Case 5:22-cv-00230-JKP-RBF   Document 1-3 Filed 03/10/22 Page 12 of 136
Mary Angie Garcia
Bexar County District Clerk
Accepted By: Mario Hernandez
Bexar County - 408th District Court
                                         CAUSE NO. 2021CI09602

           KRYSTAL YBARRA                             §                IN THE DISTRICT COURT
             Plaintiff                                §
                                                      §
           VS.                                        §              408TH JUDICIAL DISTRICT
                                                      §
           DANIEL JOSEPH SCHMIESSING                  §
             Defendant                                §                BEXAR COUNTY, TEXAS


                             DEFENDANT DANIEL JOSEPH SCHMIESING’S
                               CERTIFICATE OF WRITTEN DISCOVERY

                 Defendant Daniel Joseph Schmiesing certifies that the following documents have
           been served on Plaintiff Krystal Ybarra.


                 1. Defendant Daniel Joseph Schmiesing’s Objections and Answers to Plaintiff’s
                    First Set of Interrogatories; and


                 2. Defendant Daniel Joseph Schmiesing’s Objections and Responses to Plaintiff’s
                    Requests for Production.

                                                   Respectfully submitted,




                                                   *service email: jgd-service@asdh.com

                                                   ATTORNEYS FOR DEFENDANT
                                                   DANIEL JOSEPH SCHMIESING




                                                                                              1
    Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 13 of 136




                           CERTIFICATE OF SERVICE

       This is to certify that the above and foregoing Defendant Daniel Joseph
Schmiesing’s Certificate of Written Discovery was on this the 17th day of November
2021, forwarded via e-service to:


      e-serve@wyattlawfirm.com
      Paula A. Wyatt
      Gavin McInnis
      Louis Durbin
      WYATT LAW FIRM, PLLC
      21 Lynn Batts Lane, Ste 10
      San Antonio, Texas 78218
      Attorneys for Plaintiff




#2192700/2331-388/TBC/du




                                                                                2
        Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 14 of 136

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Deborah Uhl on behalf of Tammy Click
Bar No. 3239300
DUhl@asdh.com
Envelope ID: 59270944
Status as of 11/19/2021 9:40 AM CST

Associated Case Party: KRYSTAL YBARRA

Name                 BarNumber Email                        TimestampSubmitted      Status

Paula James Wyatt    10541400    e-serve@wyattlawfirm.com   11/17/2021 5:21:35 PM SENT



Associated Case Party: DANIELJOSEPHSCHMIESSING

Name                     BarNumber Email                    TimestampSubmitted      Status

Tammy Click                         tclick@asdh.com         11/17/2021 5:21:35 PM   SENT

Jennifer GibbinsDurbin              jgd-service@asdh.com    11/17/2021 5:21:35 PM   SENT



Case Contacts

Name                BarNumber Email                   TimestampSubmitted   Status

Jennifer G.Durbin               jdurbin@asdh.com      11/17/2021 5:21:35 PM SENT

Debbie Uhl                      duhl@asdh.com         11/17/2021 5:21:35 PM SENT

Tonya McCall                    TMcCall@asdh.com      11/17/2021 5:21:35 PM SENT
FILED
12/30/2021 11:20 AMCase 5:22-cv-00230-JKP-RBF   Document 1-3 Filed 03/10/22 Page 15 of 136
Mary Angie Garcia
Bexar County District Clerk
Accepted By: Luis Herrera
Bexar County - 408th District Court

                                         CAUSE NO. 2021CI09602

          KRYSTAL YBARRA                                §                 IN THE DISTRICT COURT
            Plaintiff                                   §
                                                        §
          VS.                                           §               408TH JUDICIAL DISTRICT
                                                        §
          DANIEL JOSEPH SCHMIESSING                     §
             Defendant                                  §                 BEXAR COUNTY, TEXAS


                        DEFENDANT DANIEL JOSEPH SCHMIESING'S MOTION FOR
                                INDEPENDENT MEDICAL EXAMINATION

          TO THE HONORABLE JUDGE OF SAID COURT:

                 COMES NOW Defendant in the above styled and numbered cause and files this

          his Motion pursuant to Rule 204 of the Texas Rules of Civil Procedure requesting that the

          Court require the Plaintiff Krystal Ybarra to submit to an independent medical examination

          and in support of his motion, Defendant would show the following.

                                                       I.


                  The Plaintiff, Krystal Ybarra filed this personal injury lawsuit in which she alleges

          she received severe bodily injuries including permanent injuries to her cervical spine,

          thoracic spine, lumbar spine, both shoulders, her arms, and legs. Attached as Exhibit "A"

          to this Motion is the Plaintiffs Original Petition. Ms. Ybarra is seeking monetary damages

          including medical expenses in the past; future medical expenses; lost wages; physical

          impairment in the past and in the future; disfigurement in the past and in the future; and

          physical pain and mental anguish in the past and in the future. In her petition, Ms. Ybarra

          asserts she is seeking monetary relief over $250,000 but not more than $1 million.

                                                       II.

                 Plaintiff contends that she suffered severe personal injuries resulting from a minor

          automobile accident that occurred on May 22, 2020 in Bexar County, Texas. Plaintiff
    Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 16 of 136




alleges that as a result of the automobile accident she has incurred past medical

expenses in the amount of $55,982.45. All of Ms. Ybarra's medical treatment has been

provided pursuant to letters of protection providing for payment from her personal injury

lawsuit. Among other medical professionals, the Plaintiff sought treatment from Dr. Frank

Kuwamura at MD Spine Care. Dr. Kuwamura is an orthopedic surgeon. Attached as

Exhibit "B" is the medical record affidavit, and associated medical records from Dr.

Kuwamura at MD Spine Care. As the record indicate Dr. Kuwamaura believes Ms. Ybarra

may need cervical and lumbar surgery which he contends is necessary because of

injuries Ms. Ybarra received in the minor automobile accident on May 22, 2020. Dr.

Kuwamura has provided a medical narrative in which he opines that the necessary, in his

opinion, microscopic laminectomy/discectomy at L5/S1 with stem cell treatment is

estimated to cost $131,230.00. Also provided is a cervical cost estimate, of $228,000.00

for Dr. Kawamura's recommended anterior cervical discectomy with artificial disc

replacement at C6/C7.

                                           II.


      As Plaintiff has put into controversy her physical condition. Defendant requests

and independent medical examination by Dr. Anton Jorgenson. Defendant would show

that Dr. Anton Jorgensen is an orthopedic surgeon licensed by the American Board of

Orthopedics.   Dr. Jorgensen is in the private practice of orthopedic surgery.        Dr.

Jorgensen has experience in treating patients with surgically treatable disorders of the

spine. Attached as Exhibit "C"is the curriculum vitae of Dr. Anton Jorgensen.
    Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 17 of 136




                                             III.

       Defendant requests that the Court order the Plaintiff to submit to the medical

examination by Dr. Jorgensen in order to determine the existence, nature, extent and

cause of Ms. Ybarra's alleged injuries and to evaluate her current clinical condition, and

determine, if any, Ms. Ybarra's long-term prognosis related to the alleged injury. The

examination will also help to evaluate Ms. Ybarra's current ability to engage in the

activities of daily living and her impairment level as well as her current ability to perform

in the workforce. The examination will involve the taking of a medical history from Ms.

Ybarra, avoiding discussing any liability issues, and specifically discussing with Ms.

Ybarra the onset of pain, the intensity of the pain and the timeline of the pain. It will also

consist of testing of the range of motion of his spine and his functioning, strength,

sensation, reflexes, balance, etc. The examination by Dr. Jorgensen will generally be of

the same type discussed in the attached medical records of Dr. Kuwamura. The

examination will consist of testing such as the assessment generally performed by Dr.

Jorgensen on every patient which he sees during the usual course of his orthopedic

surgical practice.

                                             IV.
       Ms. Ybarra has placed into controversy her physical condition, and the necessity

and costs for her medical treatment both in the past and in the future, if any.          The

controversy relates to Ms. Ybarra's physical condition, including her cervical, thoracic,

and lumbar spine, her shoulders, and upper extremities, and her lower extremities.

Without the requested independent medical examination. Defendant will be severely

hampered in his defense because of the inability to evaluate the claimed injuries and

damages of Plaintiff. Defendant is unaware of any other less intrusive means to obtain
    Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 18 of 136




the information regarding the Plaintiffs physical injuries and continuing physical

impairments alleged to have resulted from the motor vehicle accident in question.

                                             V.

       Dr. Anton Jorgenson is available on the following dates and times to conduct the

independent medical examination:

       1/12 4:00p.m. Westover Hills Office
       1/17 9:00 a.m. or 10:30 a.m. Medical Center Office
       1/18 9:00 a.m. or 10:30 a.m. Medical Center Office
       1/19 4:00p.m. Westover Hills Office
       1/24 9:00 a.m. or 10:30 a.m. Medical Center Office
       1/25 9:00 a.m. or 10:30 a.m. Medical Center Office
       1/26 4:00p.m. Westover Hills Office


                                             VI.


       Defendant's counsel requested an agreement regarding the IME from Plaintiffs

counsel. Defendant's counsel correspondence, attached as Exhibit "D," requesting the

agreement and terms for the independent medical examination. Via email, Plaintiffs

counsel advised they did not agree to the independent medical examination. See Exhibit

"E". Therefore, this matter is presented to the Court for determination.


       WHEREFORE,PREMISES CONSIDERED, Defendant requests that his Motion to

Compel Independent Medical Examination be in all things granted and that the Plaintiff,

Krystal Ybarra, be ordered to submit to a medical examination at the office of Dr. Anton

Jorgensen on one of the days provided, and Defendant requests for such other and

further relief to which Defendant may show himself justly entitled, whether at law or in

equity.
Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 19 of 136




                               Respectfully submitted,

                               ALLEN, STEIN & DURBIN, P.C.
                               6243 I.H. lowest, 7^^ Floor
                               P.O. Box 101507
                               San Antonio, Texas 78201
                               (210)734-7488 (Telephone)
                               (210^73876036 (Facsimile)


                               JENIFER GJZBmS DURBIN
                               State Bar No. 07840500
                               idurbin@asdh.com

                               TAMMY BRUCH CLICK
                               State Bar No. 03239300
                               tclick@asdh.com

                               *service email: iqd-service@asdh.com

                               ATTORNEYS FOR DEFENDANT
                               DANIEL JOSEPH SCHMIESING
     Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 20 of 136




                              CERTIFICATE OF SERVICE

      This is to certify that a true and correct copy of the above and foregoing Defendant
Daniel Joseph Schmiesing's Motion for Independent Medical Examination was this
30th day of December, 2021, forwarded via e-service to;

        e-serve(S).wvattlawfirm.com
        Paula A. Wyatt
        Gavin Mclnnis
        Louis Durbin
        Wyatt Law Firm, PLLC
        21 Lynn Batts Lane, Ste 10
        San Antonio, Texas 78218
        Attorneys for Plaintiff




                                                      [BBINS DURBIN
                                                   rPUCH CLICK



#2174674/2331 388/TBC/du
        Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 21 of 136

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on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Deborah Uhl on behalf of Tammy Click
Bar No. 3239300
DUhl@asdh.com
Envelope ID: 60394654
Status as of 12/30/2021 11:34 AM CST

Associated Case Party: KRYSTAL YBARRA

Name                 BarNumber Email                        TimestampSubmitted       Status

Paula James Wyatt    10541400    e-serve@wyattlawfirm.com   12/30/2021 11:20:05 AM SENT



Associated Case Party: DANIELJOSEPHSCHMIESSING

Name                     BarNumber Email                    TimestampSubmitted       Status

Tammy Click                         tclick@asdh.com         12/30/2021 11:20:05 AM   SENT

Jennifer GibbinsDurbin              jgd-service@asdh.com    12/30/2021 11:20:05 AM   SENT



Case Contacts

Name                BarNumber Email                   TimestampSubmitted    Status

Jennifer G.Durbin               jdurbin@asdh.com      12/30/2021 11:20:05 AM SENT

Debbie Uhl                      duhl@asdh.com         12/30/2021 11:20:05 AM SENT

Tonya McCall                    TMcCall@asdh.com      12/30/2021 11:20:05 AM SENT
Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 22 of 136




             A
     EXHIBIT A
     EXHIBIT
           Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 23 of 136


FILED
5/13/2021 4:47PM                                                                                    CIT PPS W/JD
Mary Angle Garcia                                        OnOd 0100^00
Bexar
Rnynr County
      Countv District
             District Clerk
                      CInrV
Accepted By: Consuelo Gomez
                                                 CAUSn NO.

                KRYSTAL VBARRA.                                       §               IN THE DISTRICT COURT
                                                                       s


                                 '                                     I Bexar County - 408th District Court
                                                                       §                     JUDICIAL DISTRICT
                                                                       §
                DANIEL JOSEPH SCHMIESSING,                             §
                                                                       §
                                   Dcfauiant.                          §               BEXAR COUNTY,TEXAS
                                              PLAINTIFF'S ORIGINAL PETITION
               TO THE HONORABLE JUDGE OF SAID COURT:

                          Plaintiff, Kr\'slal Ybarra, files this Plaintiffs Original Petition complaining of Defendant,
               Daniel Joseph Schmiessing.

                                                          I.      DISCOVERY

                          1.     Plaintiff intends to conduct discovcrj' in this suit under Level Three, pursuant to

               Rule 190.4 ofthe Texas Rules of Civil Procedure, and will seek an order, agreed or otherwise, to

               this effect.

                                                               II. PARTIES


                          2.      Plaintiff. Krystal Ybarra ("Plaintiff') is a natural person and at all times relevant

               to this cause of action has been and continues to be a resident of San Antonio, Bexar County,

                Tc.xas.

                          3.      Defendant. Daniel Joseph Schmiessing("Defendant")is a natural person and at all

                times relevant to this cause has been and continues to be a resident of Knoxville, Tennessee.

                Defendant may be served with citation via private process at his residence,4347 Atchley Hill Way,
                Knoxville, Tennessee 37920, or wherever he may be found.




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Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 24 of 136




                                              III. VKNUI-:

         4.      Venue is proper in Uexar Coiinly, Texas, pursuant to Tex. Civ. Pnic. iV: Rom. Code

 $ 15.002(a)(1) in that all or substantially all of the events or nets or omissions giving rise to the

 claim occurred in Bcxar County, Texas.

                                              IV. FACTS


         5.     On May 22.2020, PlaintifT was traveling as a passenger in a 2008 Honda Fit in the

 southbound lane stopped at a red light on Bowie Street in San Antonio, Oexar County, Texas.

 Defendant was driving a 2019 Ford Explorer, traveling cast on Houston Street in San Antonio,

 Bcxar County, Texas. As PlaintifT proceeded tlirough the green light. Defendant disregarded the

 red light and in doing so failed to yield the right-of-way,and suddenly erashed into the vehicle the

 Plaintiffwas traveling in. As a result ofthc collision and Defendant's negligence, PlaintiffsufFcrcd

 severe and debilitating injuries.

                                         V. NEGLIGENCE

        6.      PlaintifT would show that, on the occasion in question. Defendant owed a duty to

 conduct himself in a manner consistent with tlie traffic laws of tlie State of Texas and to act as a

 reasonably prudent person and/or entity would act.

        7.      Defendant breached his dut>' to PlaintifT and acted in a manner that was negligent

 by engaging in wrongful conduct including, but not limited to:

                a. Failing to keep such a proper lookout as a person exorcising ordinary prudence
                   would have kept under the same or similar circumstances;

                b. Failing to maintain a clear and reasonable distance between Defendant's vehicle
                    and PlaintifTs vehicle;

                c. Failing to control his speed;

                d. Failing to take timely or proper evasive action to avoid the collision in question;

                e. Failing to pay attention; and




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                  r. Failing to control the subject vehicle so that a collision would not occur.

           8.     Defendant's acts and omissions constituted negligence that pro.ximatcly and

 substantially caused the occurrence n»ade the basis of this action, and the personal injuries Jind

 damages sustained by Plaintiff.

          9.      Plaintifl' would show that, as a proximate result of Defendant's negligence, as

 described herein, Plaintiffhas sustained damages far in e.xccss ofthe minimum Jurisdietional limits

 ofthis Court.


                                           VI. DAMAGES

          10.     As a direct and proximate result of Defendant's negligence. Plaintiff suffered

 scN cre pci^onal injuries, pain,suffering, mental anguish, disability, and impairment. Plaintiff also

 incurred reasonable and necessarj' medical expenses for the care and relief of her injuries.

          11.    For a long time to come,ifnotfor the rest ofher life, Plaintiffwill continue to suffer

 physical injuries, physical impairment, disfigurement, pain and suffering, and mental anguish.

 Additionally, as a result of tlic incident. Plaintiff will incur reasonable and necessary medical

expenses in the future. Plaintiff now sues for all of these damages in an amount witliin the

jurisdietional limits ofthe court.

          12.    Pursuant to Tc.xas Rule of Civil Procedure 47, Plaintiff asserts that she is seeking

monetary reliefover $250,000 but not more than $1,000,000.

          13.    Plaintiff is entitled to reeover pre-judgment and post-judgment interest as allowed

bv law.




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                                 VII. CONDITIONS PRICCKDKNT

         14.     All conditions prcccdcnt have been perronncd or have occurred to support
  PlainlifTs pleadings .and causes of action.
                                VIII. REQUKvST FOR JURY TRIAL

         15.     PlaintilT ivspcctfully requests a trial by jur>' and has paid the jury fee.
         WIIERKFORE,PlaintilT requests that the Defendant be cited to appear and answer herein
  and that on final trial, Plaintiffhas judgment against Defendant for:

         a.      All medical expenses in the past and future;

         b.      Mental anguish in the past and future;

         c.      Physical pain in tlic past and future;

         d.      Physical impairment in the past and future;

         c.      Prejudgment and postjudgment interest as allowed by law;
         f.      Costs ofsuit; and

         g.      Such otlicr and further relief to which Plaintiff may be justly entitled.




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Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 27 of 136




                               Rcspcctriiily submitted,
                               Wyatt Law I'ium, ri.LC.
                               21 Lynn Untts Lane, Stc. 10
                               San Antonio,Texas 78218
                               Telephone:(210)340-5550
                               Faesiinile:(210)340-5581
                               E-Sen'ice: e-scn'cf?/l\vvatlla\vrinn.com*

                             By:      /s/Paula A.
                               Paula A. Wvatl
                               Smte Bar No. 10541400
                               Gavin Mclnnis
                               State Bar No. 13679800
                               Louis Durbin
                               State Bar No. 24078448
                               ATTORNEYS FOR PLAINTIFF




                               *ser\'iee by email will be accepted at this address
                               onlv




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Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 28 of 136




     EXHIBIT B
     EXHIBIT B
   Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 29 of 136




                                           AFFTOAVIT:BUSINESS RECORDS

STATE OF TE^S
COUNTY OF


           Before me,the undersigned authority,personally appeared                                         Q/dk .
who,being by me duly sworn,dep9§ed as fol^ws:
           My name is                                     (                          .I am ofsound mind andcapable
of making this affidavit, and personally acquainted with the facts herein stated.
           I am a custodian ofrecords for. MX)                                      C/^& _and am familiar with
the manner in which its records are created and maintained by virtue of my duties and
responsibilities.
   \y      Attached
           Auacnea                  to
                                    co     this       affidavit is        I     Disk      pertaining to
                                                  ■ These are the original records or exact duplicates ofthe original
records.

           It is the regular practice of                                                    to make this type ofrecord
                                                       yUj)                       (jUl
at or near the time of each act, event, condition, opinion, or diagnosis set forth in the record.
           It is the regular practice of                 y/\ ^ C ^             r ^        for this type ofrecord to be
                                                                          (
                                                                          jxci
made by,or from information transmitted by, persons with knowledge ofthe matters set forth in
them.

           It is the regular practice of                                                  to keep this type ofrecord in
                                                     A
the course of regularly conducted business activity.
           It is the regular practice ofthe business activity to make the records.


                                                                     1.
                                                               Affiant


SWORN TO AND SUBSCRIBED before me on the 3'R.P                                         day of

                ■iilHiimiiiiH MiiliiiiTI
                                                                              )lic, State of Texas


                       Notary ID 132105443                     Notary's printed name:     €1 iZigJieiA-S)
        ^emmtgntnarwigiiiiaf   iw

                                                               My commission expires:                  ZOZ3

                                                                                                     YBARRAK00360
       Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 30 of 136




                                  AFFIDAVIT: BUSINESS RECORDS


STATE OF TEXAS

COUNTY OF

           Before me,the undersigned authority,personally appeared,
who, being by me duly sworn, depo^d as fol^ws:
           My name is J\i\ lXY^>iV\3^,                 iQfT^                 . I am ofsound mind andcapable
of making this affidavit, and personally acquainted with the facts herein stated.
           I am a custodian of records for                                               _and am familiar with
the manner in which its records are created and maintained by virtue of my duties and
responsibilities.                                                   .
   I       Attached       to       this         affidavit is        ^ Disk         pertaining to
                                       .. These are the original records or exact duplicates ofthe original
records.

            It is the regular practice of                       C          /U       to make this type of record
                                                                x?yiK, (Jid
at or near the time ofeach act, event, condition, opinion, or diagnosis set forth in the record.
           It is the regular practice of              ^                            for this type ofrecord to be
made by, or from information transmitted by, persons with knowledge ofthe matters set forth in
them.

           It is the regular practice of                                           to keep this type of record in
                                            ./ if)
the course of regularly conducted business activity.
           It is the regular practice ofthe business activity to make the records.


                                                          Affiant


SWORN TO AND SUBSCRIBED before me on the 3'RD                                   day of
                                                                        'IIfi4l,
                    ELIZABETH SOLTEBO                          tSoyL^blic, State of Texas
                Notary Public. State of Texas
                 Comm. Expires 07-26-2023
                   Notary ID 132105443                    Notary's printed name:   €11MbelA'S)
                                                           My commission expires:                      3


                                                                                                         YBARRAK00361
   Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 31 of 136



                   AFFIDAVIT: COST AND NECESSITY OP SF.RVTrii-g


STATE OF TEXAS                                          §
COUNTY OF                                               I
         Before me, the undersigned authority, personally appeared
who,being by me duly sworn, de^sed as follows:
         My name is                              C                      . I am ofsound mind and capable
of making this affidavit, and personally acquainted with the facts herein stated.
        I am a custodian ofrecords for                        S^)AP OSfl                   Attached to this
affidavit are records that provide an itemized statement ofthe service and the charge for the service
                                                       provided to
                                                The attached records are a part ofthis dd^idavit.
        The attached records are kept by                                                       in the regular
course ofbusiness,and it was the regular course of business ofAiyf) ^)AP QzO^
for an employee or representative of 1/1                                        . with knowledge ofthe
service provided, to make the record or to transmit information to be included in the record. The
records were made in the regular course of business at or near the time or reasonably soon after
the time the service was provided. The records are the original or a duplicate ofthe original.
        The services provided were necessary and the amount charged for the services was
reasonable at the time and place that the services were provided.
         The total amount paid for-^he services was $ /O D D.0P and the amount
ourrenfly unpaid but which h/Ou                  C&fO^ has a right to be paid after any
adjustments or credits is $ fI                .'C>V>
                                                             ^
                                                    Affiant

SWORN TO AND SUBSCRIBED before me on the 3)00 day offe,,

                                                              ^AjlOlLk
   I             ELIZABETH SOLTERO
              Notary Public, State of Texas
                                                              ublic, State of Texas
               Comm. Expires 07-26-2023 I                                             \    I     O 11
                 Notary ID 132106443
                                | Notary's
                                     Notary's printed
                                              printed name:
                                                      name:
                                                    My commission expires: CT? ~'2ScriJDZ^


                                                                                          YBARRAK00362
                            Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 32 of 136

                                                                                                                         SELF PAY

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                                                                                                                                                                                                                                        lU
   HEALTH INSURANCE CLAIM FORM                                                                                                                                                                                                          £
                                                                                                                                                                                                                                        tc
   APPROVED BY NATIONAL UNIFORM CLAIM COMMITTEE(NUCCJ 02/12
                                                                                                                                                                                                                                        S
                                                                                                                                                                                                                              PICA!
   1. MEDICARE                MEDtCAlO                 TBICARE                 CHAMPVA             GROUP                 FECA              OTHER ia. INSURED'S 1.0, NUMBER
  '^(Medk:aieio\^(UB<SaM») \ \pDt>/OaD/i)                                P"]fMartwSM)Q]            HEALTH PLAN I—.BLKiLUNG
                                                                                                                   □wi,
                                                                                                                                                                                                             (ForProsraminllein 1)

   a PATIENTS NAME(Last Namo,Flral Naina, Mlctdio Iniiial)                                 PAT IENTS BIRTH DATE
                                                                                                           I
                                                                                                                   YV
                                                                                                                                 SEX              4. INSURED'S NAME (Last Name. Flist Name. Middle Iniiial)
   YBARRA, KRYSTAL                                                                                                                                 YBAREIA,            KRYSTAL
   S. PATIENT'S ADDRESS (No.. Slwot)                                                     6. PATIENT RELATIONSHIP TO INSURED                       7. INSURED'S ADDRESS (No.. Slroot)
       1021 SOUTH MISTY                                                                    SenpT] Spcuscj [cfindj I Other) |                       1021 SOUTH MISTY
   ciTY              ~~                                                         STATE    0. RESERVED FOR NUCC USE                                CITY                                                                        STATE
   SAN ANTONIO                                                        TX                                                                           SAN ANTONIO                                                    TX
   ZIP CODE                                TELEPHONE (Indudo Area Coda)                                                                          ZIP CODE                                 TELEPHONE (Indudo Area Coda)
   78210                                    (512^837216                                                                                            78210                                        (512^837216
   9. OTHER INSURED'S NAME (Lesl Name, First Name, Middle InlBai)                       10. IS PATIENTS CONDITION REUTED TC.                     II, INSURED'S POUCY GROUP OR FECA NUMBER

   a. OTHER INSURED'S POLICY OH GROUP NUMBER                                            a. EMPLOYMENT? (Current or Previous)                     a. INSURED'S DATE OF BIRTH                                       SEX
                                                                                                          Qyes          I^no
   b. RESERVED FOR NUCC USE
                                                                                        b, AUTO ACCIDENT?
                                                                                                                                PUCE (St ole)    b. OTHER CUIM ID (Oaslsn&ted b/ NUCC)
                                                                                                          |x]ves
                                                                                                             YES        □ NO      .
   C. RESERVED FOR NUCC USE                                                             C. OTHER ACCIDENT?                                       c. INSURANCE PUN NAf.lE OR PROGRAM NAME
                                                                                                          □ yes         [^no
   d. INSURANCE PLAN NAME OR PROGRAM NAME                                               lOd. CLAIM CODES (Dadsnated by NUCC)                     d, IS THERE ANOTHER HEALTH BENEFIT PLAN?
                                                                                                                                                     □yes □no                           Ityog, cORipleto Hams 9. Ba, and 9d.
                                READ BACK OF FORM BEFORE COMPLEnNG & SIGNING THIS FORM.                                                          13. INSURED'S OH AUTHORIZED PERSON'S SIGNATURE I aulhofteo
        In                 m g... #^...1                 SlGNATI^E
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                                                                                            any modlcal or oi)»r WormaBcn necostary                  psymant of madleal bonafils to tho undsrslgnsd pttyslcian or suppSar lor
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                    SIGNATURE ON FILE                                                                         10212020                                            SIGNATURE ON                              FILE
        SIGNED                                                                                      DATE.                                             SIGNED.
                               ILLNESS. INJURY, or PREGNANCY (LMP)                 15. OTHER DATE                                                18. DATES
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  17. NAME OF REFERRING PROVIDER OH OTHER SOURCE
                                                                                                                                                18. HOSPITALlZATigN DATES REUTED TO CURRENT SERVICES
                                                                                                                                                             MM , DO ,            YY                        MM , OD ,          YY
   DNj FRANK K KUWAMURA III MD                                                          NPI       1184 6713M"                                       FROM                                               TO
  19. ADDITIONAL CUIM INFORMATION (Oesignaled by NUCC)                                                                                          20. OUTSIDE UB?                                    SCHARGES

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  24. A,         DATEP) OF SERVICE                          8.     C.        D. PROCEDURES, SERVICES. OR SUPPLIES                      E                                   6.                     I.                    J.
             From                     To                 PLACEOF                 (Explain Unusual Circumstances)                                                          DAYS
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       SIGNATURE OF PHYSICIAN OR SU.oPUER
       INCLUDING DEGREES OR CREDENTIALS
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       (I certify Otei the siatcmonls on the revcnsa                    STONE OAK OFFICE                                                          FRANK K KUWAMURA III MD
                                                                        525 OAK CENTRE DRIVE SUITE 1                                              525 OAK CENTRE STE 100
I ID                                                                    SAN ANTONIO, TX 78258-3916                                                SAN ANTONIO,                           TX 78258-3916
 SIGNED                            1021^11^0                       a.                               lb.     ——
                                                                                                                                                  1184671398 ^
NUCC Instruction Manual available at: www.nucc.org                                                PLEASE PRINT OR TYPE                                APPROVED qfi®?^^?mg^eO8035OO (02-12)
     Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 33 of 136                                      "N.




                                  AFFIDAVIT: BUSINESS RECORDS


STATE OF TEXAS.

COUNTY OF


         Before me, the undersigned authority, personally appeared
who, being by me duly sworn, deposed as follows:
         My name is                                                         I am ofsound mind and capable
                                            quoted
of making this affidavit, and personally acqi       with the
                                               ited with the facts
                                                             facts herein
                                                                   herein stated.
         I am a custodian ofrecords for                  Miy              fafi           and am familiar with

the manner in which its records are created and maintained by virtue of my duties and
responsibilities.                                                 ^
         Attached, to this affidavit are                         j ^— pages of records pertaining
to                                                  on                                    . These are the
original records or exact duplicates ofthe                 alrecords

         It is the regular practice of                                          to make this type ofrecord
at or near the time ofeach act, event, condition, opinion, or diagnosis set forth in the record.
         It is the regular practice of                                         for this type of record to be
made by, or from information transmitted by, persons with knowledge of the matters set forth in


         It is the regular practice of                                         to keep this type ofrecord in
the course ofregularly conducted business activity.
         It is the regular practice ofthe business activity                  e records.




                                                          Affiant^

SWORN TO AND SUBSCRIBED before me on the                                    day ofp?^3

                       ELIZABETH SOLTERO
                                                                  ublic. State ofTexas
               ■
                    Notary Public, State of Texas
                     Comm. Expires 07-20-2023
                       Notary ID 132105443
                                                                                :e\-
                                                          Notar>''s printed name:                        TD
                                                          My commission expires:




                                                                                           YBARRAK00364
                Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 34 of 136
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                                                                                                                   818 Lexington Ave.
       IAMKICAN HEALTH
      Imimninrs
      888layii8^                                                                                             Phone#: (210)572-1211
                                                                                                               Fax#: (210)653-9843
                                                                                                   www.americanhealthlmaglng.com


       Name: Krystal Ybarra                                             Exam Date: 5/29/2020 11:59 AM
       DOB:    12/23/1987                                               Patient ID:  AHI-1220278
       Gender: Female                                                   Accession #: 2329778

       Ordering Physician: PederAngell, DC
       Exam Name:          MR! Cervical Spine j 72141

       CLINICAL HISTORY: Severe neck pain.

       PROCEDURE: A T1W sagittal sequence of the cervical spine was performed and was followed by a fast
       spin echo T2Wsaglttal sequence. A fast spin echo T2W transaxia! sequence as well as a T1W oblique
       transaxial sequence from the 03-04 through C7-T1 levels was then submitted.

       FINDINGS: The alignment of the cervical spine Is anatomic. No subluxation or retrolisthesis is
      seen. The cervical vertebrae are intact as are the posterior elements. No occult fracture is
       noted.

      The cervical cord reveals no cord contusion or syrinx.

      Transaxial images from the 02-03 through 05-06 levels are unremarkable.

      At 06-07 a 3.0 mm subllgamentous disc herniation flattens the thecal sac.

      The 07-T1 level is unremarkable.

      IMPRESSION:

      1.THE ALIGNMENT OF THE OERVIOAL SPINE IS ANATOMIO.
      2.AT 06-07 A 3.0 MM FOOAL SUBLIGAMENTOUS DISO HERNIATION IS SEEN FLATTENING THE THEOAL
      SAO WITHOUT
      OORD OOMPRESSION OR NERVE ROOT IMPINGEMENT,


       Report Electronically Signed by: James Remkus, M.D.
       Report Electronically Signed on: 6/1/2020 10:56 AM


       Radiology Report from an lAC Accredited Faciiity




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                                                                                                                     818 Lexington Ave.
      •MOffiAN HEALTH                                                                                           San Antonio, TX 78212
    IiTiaasna
    '""    "a                                                                                                  pnone#:  (210)572-1211
                                                                                                                 Fax #: (210)653-9843
                                                                                                    www.americanhealthimaging.com


        Name: Krystal Ybarra                                             Exam Date: 6/11/2020 10:50 AM
        DOB: 12/23/1987                                                  Patient ID: AHl-1220278
        Gender: Female                                                   Accession #: 2341128

        Ordering Physician: Peder Angeli, DC
        Exam Name:                  MRl Lumbar Spine
                                                   | 72148

       CLINICAL HISTORY: Severe lower back pain.

       PROCEDURE: A T1W followed by a T2W sagittal sequence of the lumbar spine was performed. This was
       foilowed by a T1W and T2W transaxial sequence from the L1-L2 through L5-S1 levels.
       FINDINGS: The alignment of the lumbar spine is anatomic. The lumbar vertebrae reveal no
       compression fracture or spondylolysis. No disc space narrowing is seen.
       The conus medullaris as well as cauda equina reveal no intra or extradural mass.

       The L1-L2, L2-L3, L3-L4 and L4-L5 levels are unremarkable.

       At L5-S1 a 3.0 mm disc bulge Is seen.

       IMPRESSION:

       1.THE ALIGNMENT OF THE LUMBAR SPINE IS ANATOMIC. NO SEGMENTAL INSTABILITY OR
      SPONDYLOLYSIS IS
       NOTED. NO COMPRESSION FRACTURE IS SEEN.
      2AT L5-S1 A 3.0 MM DISC BULGE IS NOTED WITHOUT NERVE ROOT IMPINGEMENT OR FORAMINAL
       NARROWING.


       Report Electronically Signed by: James Remkus, M.D.
       Report Electronically Signed on: 6/12/2020 12:15 PM


       Radiology Report from an lAC Accredited Facility




                                                                                                               YBARRAK00366
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                Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 36 of 136
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                                                                                                                    818 Lexington Ave.
       B AMERICAN HEALTH                                                                                       San Antonio. TX 78212
                                                                                                           Phone#: (210)572-1211
       imaging                                                                                                Fax#: (210)653-9843
                                                                                                    www.amerlcanhealthimaglng.com


        Name: Krystal Ybarra                                              Exam Date: 6/11/2020 10:17 AM
        DOB: 12/23/1987                                                   Patient ID: AHI-1220278
        Gender: Female                                                    Accession #: 2341127

        Ordering Physician: PederAngell, DC
        Exam Name:                  MR)Thoracic Spine|72146

       CLINICAL HISTORY: Severe mid thoracic spine pain.
       PROCEDURE: A T1W sagittal followed by a fast spin echo T2W sagittal sequence of the thoracic spine
       has been submitted. This was followed by transaxiai T1W and fast spin echo T2W Images through the
       proximal and distal thoracic region.

       FINDINGS: The alignment of the thoracic spine reveals no kyphoscoiiosls. The thoracic vertebrae
       reveal no fracture or marrow replacement The pedicles and lamina are intact. No paravertebral
       mass Is seen.

       The thoracic cord reveals no cord contusion or syrinx.

       From the T1-T2 through T12-L1 levels no focal disc hemiation, cord compression or foraminal
       narrowing is seen.

       IMPRESSION:

       1.THE ALIGNMENT OF THE THORACIC SPINE IS ANATOMIC. NO OCCULT FRACTURE IS SEEN.
       2.THE THORACIC CORD IS NORMAL.
       3.FROM THE T1-T2 THROUGH T12-L1 LEVELS NO FOCAL DISC HERNIATION, FORAMINAL NARROWING
       OR CORD
       COMPRESSION IS SEEN.


       Report Electronically Signed by: James Remkus, M.D.
       Report Electronically Signed on: 6/12/2020 12:05 PM


       Radiology Report from an IAC Accredited Facility




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                                                                              JiSP(NE CARE
                                               SPINE CARE                   ^ORTHOPAEDICS


                             COVID^19 Screening Questionnaire


Today'sDate: lollb/ZO
Patieiit'sA^isitor's Name: Lr\)<>taJi '^hcuTTC^
Are you currently experiencing,orhaveyou experienced in the past 14 days,anyofthe
following symptoms?(Please take your temperature before you answer these questions.)

    1. Yes n No             Fover(100.4For37.8 C orgreaterbyaEOialfhermometex
    2. Yes □ No 03^ Cough
    3» Yes □ No □           Shortness ofbreath or difficulty breathing
    4. Yes O No 0^ SoreThroat
    5. Yes □ No             New loss oftasteorsmell
    6. Yes □ No             Chills
    7. Yes □ No             Head or muscle aches
    8. Yes □ No             Nausea,diarrhea,vomiting
    9r la thepastl4days,haveyoubeenincloseproximitytoanyonewho was experiencing
       any of the above symptoms or has exp erienced any ofthe above symptoms since your
       contact?

       Yes □ No

    10. In thepast 14 daysjhaveyou been in closeproximity to anyone who has tested positive
       forCOVID-19?
       Yes □ -No

                                          CERXmCAITOK

     Ihearby certify that the responses provided above are true andaccumtetothebest of my knowledge.
Signature:                                                                Date:         i?/^n
Temperature;




                                                                       San AntonlOj TX 782SS
                                                                            Fx:210r^ft(i>5AK.00368
           Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 38 of 136




                                                                    E   CARE



                                                    Phone: 210-504-3650
                                                   Clinic Fax: 210-519-3056
             Stone Oak Office                                                              Westover Hill Office
     Remington Oaks Medical Building                                                   Westover Hills Towne Center:
         525 Oak Centre Suite 100                                                     10010 Rogers Crossing, Suite 230
          San Antonio, TX 78258                                                           San Antonio, TX. 78251



 PROVIDER:


                                                            INITIAL MEDICAL EVALUATION


 PATIENT:                              DATE: 10/16/2020



                                       OFFICE PATIENT WAS SEEN AT
                                       Stone Oak


                                       HISTORY OF PRESENT ILLNESS
                                       Mrs. Ybarra is a 32-year-old female who was involved in a M\''A 5/22/2020. Since
 PAST MEDICAL &                        the accident she has been experiencing cervical pain. As well as lumbar pain with
 SURGIC4L HISTORY
                                       LE radicular symptoms. Her current pain level is 8/10 and is taking Celebrex with
                                       minimal temporary relief. She has undergone conservative care to include chiro
 SOCIAL HISTORY
                                       and PM with minimal temporary relief. She would like to discuss surgery options.
                                       There is imaging and in office x-rays to be reviewed.

                                       PHYSICAL EXAMINATION
ALLERGIES
jNo^aUeiglies'oti-                     GENERAL APPEARANCE: alert and in moderate pain.

 MEDICATION                            G^t
:Np;eurtdrit; m                        - Gait, stance, and swing phase with no antalgic component.

                                       Cervical Exam
                                       Circulation: normal
                                       Right Arterial Pulses: normal
                                •    • Left Arterial pulses: normal
                                  ^ • Right Shoulder: not examined
                                       Left Shoulder: not examined

                                                                                            YBARRAK00369
                                                                                                            Page 1 of5
      Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 39 of 136




                                                               E   CA



                                               Phone: 210-504-3650
                                              Clinic Fax: 210-519-3056
       stone Oak Office                                                                Westover Hill Office
Remington Oaks Medical Building                                                    Westover Hills Towne Center:
   525 Oak Centre Suite 100                                                       lODlO Rogers Crossing, Suite 230
    San Antonio, TX 78258                                                             San Antonio, TX. 78251



                                  Inspection: lordosis
                                  NECK - Inspection: Alignment normal
                                  Right Soft Tissue Palpation: tenderness of the paracervicals
                                  Left Soft Tissue Palpation: tenderness of the paracervicals
                                  Bony Palpation: tenderness of the C6 spinous process. Tenderness of the C7
                                  spinous process
                                  ROM:
                                  NECK - Extension: painful
                                  NECK - Flexion: full, painful
                                  Spasm:
                                  NECK - Spasm: moderate - bilaterally

                                  Neurological exam
                                  Right;
                                  Special tests: C6 decreased sensation of the radial forearm, thumb and index
                                  finger
                                  Left:
                                  Special tests: Spurling's Test Negative, Hoffman's reflex absent

                                  Sensory Exam
                                  Right upper extremity: C6 decreased sensation of the radial forearm,thumb and
                                  index Snger
                                  Left Upper extremity: Normal sensation of the distal extremities

                                  Motor Exam
                                  Right Upper Extremity: abduction deltoid 5/5, Flexion bleep 5/5, Extension
                                  tficep 5/5, Flexion wrist 5/5, Flexion fingers 5/5, Abduction 5/5
                                  Left Upper extremity: abduction deltoid 5/5, Flexion bicep 5/5, Flexion wrist
                                  5/5, Extension tricep 5/5, Flexion fingers 5/5,

                                  LUMBAR EXAM
                                  Lower extremity circulation:
                                  Right Arterial Pulses: normal
                                  Left Arterial Pulses: normal
                                                                                         YBARRAK00370
                                                                                                        Page 2 of5
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                                                   SPINE            CAR E



                                                Phone: 210-504-3650
                                               Clinic Pax: 210-519-3056
       Stone Oak Office                                                                      Westover Hill Office
Remington Oaks Medical Building                                                       Westover Hills Towne Center
   525 Oak Centre Suite 100                                                          10010 Rogers Crossing, Suite 230
    San Antonio, TX 78258                                                                San Antonio, TX. 78251



                                  Edema Right: none
                                  Edema Left: none
                                  Varicosities Right: none
                                  Varicositics Left: none
                                  Inspection:
                                  Alignment: lordosis
                                  Bony Palpation: tenderness of the spinous process at L5, tenderness of the


                                  ROM:
                                  Active ROM:painful moderate
                                  Extension: painful
                                  Flexion: painful
                                  Motor:
                                  Right: hip flexion iliopsoas 5/5, knee extension quadricep 5/5, great toe
                                  extension extensor halluds longus 5/5, plantar flexion gastrocnemius 5/5
                                  Left: hip flexion iliopsoas 5/5, knee extension quadricep 5/5,great toe extension
                                  extensor hallucis longus 5/5, ankle dorsiflexion tibialis anterior 5/5, plantar flexion
                                  gastrocnemius 5/5

                                  Neurological Exam:
                                  reflexes
                                  Right:
                                  Ankle: diminished Knee: Normal
                                  Sensation: decreased sensation on the lateral leg and dorsum of the foot L5
                                  Special tests: seated straight leg raising test negative

                                  Left:
                                  Ankle: diminished Knee: Normal
                                  Sensadon: Normal distal extremities
                                  Special tests: seated straight leg raising test negative

                                  Psychiatric:
                                  oriented to time, oriented to place, oriented to person,
                                                                                              YBARRAK0037I
                                                                                                             Page 3 of5
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                                                     SPINE CARE



                                                  Phone: 210-504-3650
                                                 Clinic Fax: 210-519-3056
         Stone Oak Office
                                                                                              Westover Hill Office
  Remington Oaks Medical Building                                                         Westover Hills Towne Center:
     525 Oak Centre Suite 100
                                                                                         10010 Rogers Crossing, Suite 230
      San Antonio, TX 78258                                                                 San Antonio, TX. 78251



                                I ASSESSMENT
                                     M54.16 Radiculopathy,lumbar region
                                     M54.5 Low back pain
                                     M54.12 Radiculopathy, cervical region
                                     M54.2 Cervicalgia ccrvicalgia with UE radiculopathy
                                    low back pain with LE radiculopathy
                                    lumbar chsc displacement
                                    cervical disc displacement
                                    M54.16 - RADICULOPATHY,LUMBAR REGION
                                    M54.5 - LOW BACK PAIN
iiilii                              M54.12 - RADICULOPATHY,CERVICAL REGION
                                    M54.2 - CERVICALGIA



                                    PLAN


iiiipiiii                           rhe patient was involved in an MVA 5/2020, she has since been having cervical
                                    spine pain as well as axial low back pain with LE radiculopathy. She denies any
                                    history of neck or back pain prior to this injury.
iHiPii
                                    After this accident she has undergone conservative care including ESI with no
ililiiii
                                long-term relief.


                                    We reviewed her MRIs. The Lumbar MRI shows disc disruption at L5/S1.The
                                    Cervical MRI shows disc herniation at C6/C7. This is well described by the
                                interpreting radiologist.



                                                                                               YBARRAK00372
                                                                                                              Page 4 of5
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                                    |md  •^SPiME CARE


                                                Phone: 210-504-3650
                                              Clinic Fax: 210-519-3056
       stone Oak Office                                                                   Westover Hill Office
Remington Oaks Medical Building                                                      Westover Hills Towne Center;
   525 Oak Centre Suite 100                                                         10010 Rogers Crossing, Suite 230
    San Antonio, TX 78258                                                               San Antonio, TX. 78251



                                  For her cervical spine we discussed an Anterior cervical discectoiny with artificial
                                  disc replacement at C6/C7. For her lumbar spine we discussed the possibility of a
                                  microscopic laminectomy/discectomy at L5/S1 with stem cell treatment.
                                  We have discussed risks, benefits and possible complications. AH patients'
                                  questions were addressed and answered.
                                  She will think about her options. I do also recommend Pt for both her cervical and
                                  lumbar spine at this time. If patient wishes to proceed with surgery,I would ask
                                  for an in-office evaluation, testing and further discussion.




                                                                                       Frank K Kuwamura III M.D




                                                                                           YBARRAK00373
                                                                                                          Page 5 of5
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                  SPINE        CARE


    525 Oak Centre, Suite 100                                          Date: 10/16/2020
    San Antonio, TX 78258
    Phone:(210)504-3650
    Fax:(210)519-3056
    biilincj@mdsDinecare.com



     Bill To:                                            Patieritlnformation
    Self- Pay                                            Patient Name: Krystal Ybarra
                                                         Patient DOB: 12/23/1987




    Lumbar - Surgical Cost Estimate
1      Quantity                   Description                  Unltiprice               Amount


                        Microscopic
           1           laminectomy/discectomy at         $           23,022.00     $       23,022.00
                       L5/S1 with stem cell treatment.


           1           Facility                          $           45,000.00     $       45,000.00

           1           Anesthesia                        $            8,000.00     $        8,000.00

           1           Assistant Fee                     $            5.20B.00     $        5,208.00

           1           DME- Brace                        $            5,000.00     $        5,000.00

           1           DME - DVT                         $            2.000.00     $        2,000.00

           1           Physical Therapy                  $            5,000.00     $        5,000.00
                       Intraoperatlve
           1                                                          8,000.00     $        8,000.00
                       Neuromonitoring

           1           Hardware                          $           30.000.00     $       30,000.00

                                                                                   $

     Subtotal                                                                      $      131,230.00

                                                                  Balance due      $      131,230.00



     If you have any questions concerning this
    estimate, Please contact at 210-427-2310.
I Thank you for your business!




                                                                                           YBARRAK00374
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               SPSNE         CARE


525 Oak Centre, Suite 100                                     Date: 10/16/2020
San Antonio, TX 78258
Phone:(210)504-3650
 Fax:(210)519-3056
 bi!linq(®mc!spinecare.com


  BiMTo:                                               Patient Information
Self Pay                                               Patient Name: Krystal Ybarra
                                                       Patient DOB: 12/23/1987




 Cervical - Surgical Cost Estimate
                                     '' :         1'
1 ; Quantity         Description                        Unit price               Amount
                    Anterior cervical discectomy
        1           v/ith artificial disc replacement $              55,000.00 $          55,000.00
                    at C6/C7

        1            Facility                          $             90,000.00   $        90,000.00


                    Anesthesia                         $              8,000.00 $           8,000.00


                    Assistant Fee                      $             18,000.00 $          18,000.00

                    DME-Collar                         $              2,000.00   $         2,000.00

                    DME-DVT                            $              2,000.00 $           2,000.00

                    Physical Therapy                   $             5,000.00    $         5,000.00

                    Intraoperative
                                                       $             8,000.00    $         8,000.00
                    Neuromoniloring

                    Hardware                           $             40,000.00 $          40,000.00

                                                                                 $


  Subtotal                                                                       $     228,000-00

                                                              Balance due        $    228,000.00


I If you have any questions concerning this
i; estimate, Please contact at 210-427-2310
i Thank you for your business!




                                                                                           YBARRAK00375
Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 45 of 136

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Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 46 of 136




     EXHIBIT C
     EXHIBIT C
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                                Anton Y. Jorgensen, MD
CONTACT INFORMATION


      Orthopaedic Spine Surgeon
      Ortho San Antonio
      2833 Babcock Road
      Tower II, Suite 435
      San Antonio, TX 78229

EDUCATION


      Year                    Dearee                           Institution
      1998                    BS                               Univ. of Maryland at College Park
      2007                    MD                               Jefferson Medical College

POST GRADUATE EDUCATION


      Year                    Position                         Institution
      2007-2012               Orthopaedic Residency            William Beaumont Army Medical
                                                               Center
                                                               El Paso, Texas
      2013-2014               Spine Fellowship                 Rush University Medical Center
                                                               Chicago, Illinois
      2013-2014               Pediatric Spine Fellowship       Shriners Hospitals for Children
                                                               Chicago, Illinois

ACADEMIC APPOINTMENTS


      Year                    Position                         Institution
      2019-present            Assistant Professor of           Uniformed Services University of
                              Surgery                          the Health Sciences
      2014-2019               Clinical Instructor              San Antonio Military Medical
                                                               Center
      2013-2014               Clinical Instructor              Rush University Medical Center

MEDICAL FACULTY POSITIONS


2019-present
      Orthopaedic Spine Surgeon, Ortho San Antonio, San Antonio, TX

2014-2019
      Chief, Orthopaedic Spine Surgery Service, San Antonio Military Medical Center, Fort Sam
       Houston, TX
      Chief of spine service at San Antonio Military Medical Center, the level 1 trauma center and the
      largest tertiary care academic medical treatment facility in the DOD. On call attending spine
      surgeon for spine trauma. Expert consultant for complex spine deformity and complex spine
      fracture dislocations. Primary physician and surgeon for complex adult and pediatric spine
      deformity.
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2012-2013
        Interim Chief, Orthopaedic Surgery Service, Bayne Jones Army Community Hospital, Fort Polk,
        LA
        Served as orthopaedic surgeon and interim chief of the orthopaedic surgery service at the Joint
        Readiness Training Center Fort Polk. Supervised and mentored a healthcare team including two
        physician assistants and a clinic team of cast technicians, nurses, and nurse assistants
        responsible for the orthopaedic care services to 35,000 soldiers and beneficiaries stationed at
        JRTC Fort Polk. Provided continuous on call orthopaedic care for all airborne training missions at
        JRTC Fort Polk.


MILITARY SERVICE

Assignment                      Dutv Title
JBSA-Ft. Sam Houston, TX        Chief Orthopaedic Spine Surgery Service, Department of Ortho &
                                Rehab, San Antonio Military Medical Center(2014-2019)

                                Orthopaedic Surgeon, International Security Assistance Force
                                (Afghanistan, 2014-2015)

Fort Polk, LA                   Orthopaedic Surgeon (2012-2013)
                                Interim Chief of Orthopaedic Surgery Service (2012-2013)

Fort Bliss, TX                  Resident, Orthopaedic Surgery Service (2007-2012)

CERTIFICATION AND LICENSURE


Certification Boardfsl                           Date                             Number
American Board of Orthopaedic Surgery            Jul 2016                         N/A
Board Certified

License(s)
Nebraska                                         April 2009-present               25091
Washington                                       Jan 2017-present                 60721609
Texas                                            April 2018-present               R7033


MEMBERSHIP SCIENTIFIC SOCIETIES/PROFESSIONAL ORGANIZATIONS


        1.   American Academy of Orthopaedic Surgeons(AAOS)
        2.   Society of Military Orthopaedic Surgeons(SOMOS)
        3.   North American Spine Society(NASS)
        4.   AOSpine
        5.   San Antonio Orthopaedic Society

AREAS OF RESEARCH INTEREST


        1. Spine deformity surgery
        2. Adult degenerative spine surgery
        3. Minimally invasive spine surgery
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TEACHING ACTIVITIES


2014-2019
       San Antonio Military Medical Center, Fort Sam Houston, TX
       Lecturer for orthopaedic surgery residency core lecture series in spine for an AGGME accredited
       residency that graduates six residents per year. Core spine lectures, spine indications
       conferences, spine OITE examination questions reviews throughout the academic year.

23 Mar 2018
       Baylor College of Medicine, Orthopaedic Surgery Grand Rounds, Houston, TX
       "Lumbopelvic Dissociation: Spine Deformity Surgeon's Perspective"

8 Feb 2018
       Texas A&M College of Medicine-Scott and White Medical Center, Orthopaedic Surgery Grand
       Rounds, Temple, TX
       "Lumbopelvic Dissociation: Spine Deformity Surgeon's Perspective"

10 Jan 2018
       Central Texas Physician Assistant Association, Austin, TX
       Lecture "Sacroiliac Joint Pain: Evidence Based Diagnosis and Treatment"

9 Dec 2017
       Faculty, Combat Extremity Surgery Course, Phoenix, AZ
       Lecture "Spine Injuries Downrange".

3 Apr 2017
       San Antonio Orthopaedic Society, San Antonio, TX
       Lecture "MIS Approaches to Sagittal Balance".

24-25 Mar 2017
       Nuvasive XLIF and MAS TLIF Course, San Antonio, TX
       Surgeon faculty instructor.

3 Nov 2016
       Faculty, Combat Extremity Surgery Course, Fort Sam Houston, TX
       Lecture "Spine Injuries Downrange".

12Sep 2016
      San Antonio Orthopaedic Society, San Antonio, TX
      Lecture "Spinal Osteotomies for Deformity".

HONORS AND AWARDS


Jun 2018         Warren R. Kadrmas Memorial Teaching Award/SAMMC Orthopaedic Residency

Sep 2010         Frank B. Smith Resident Research Award/North Pacific Orthopaedic Society
  Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 50 of 136




PODIUM PRESENTATIONS


Jorgensen AY, Cordill R, Tompkins B, Caskey P. Risk Factors for Infections Following Pediatric Spine
Fusion Surgery: A Five-Year Review. American Academy of Orthopaedic Surgeons Annual Meeting. San
Diego. CA. 17 Feb2011.

Jorgensen AY, Cordill R, Tompkins B, Caskey P. Risk Factors for Infections Following Pediatric Spine
Fusion Surgery: A Five-Year Review. Society of Military Orthopaedic Surgeons Annual Meeting. Vail,
CO. 16 Dec 2010.

Jorgensen AY, Eiszner J, Persaud K, Chin K. Obesity and Smoking effects on Post-Operative Pain and
Complications After Spine Surgery. American Academy of Orthopaedic Surgeons Annual Meeting. San
Diego, CA. Feb 2007.

EDITORIAL ACTIVITIES

Reviewer, The Spine Joumal, 2019 - present

PUBLICATIONS

1. Hurley R, Anderson E, Lawson B, Hobbs J, Aden J, Jorgensen A. Comparing Lumbar Disc Space
   Preparation with Fluoroscopy versus Cone Beam-Computed Tomography and Navigation: A
    Cadaveric Study. Spine. 2017:ln Print Accepted 1 Nov2017.

2. Singh K, Ahn J, Jorgensen AY, Park AJ, Rossi VJ, Aboushaala KA. Neuroforaminal Bone Growth
    following Minimally invasive Transforaminal Lumbar Interbody Fusion with BMP: A Computed
    Tomographic Analysis. Spine J. 2015;15(10):S261.

3. Jorgensen AY, Ahn J, Aboushaala K, Singh K. Current concepts in the use of stem cells for the
    treatment of spinal cord injury. Semin Spine Surg. 2015 Jun 1:27(2):90-2.

4. Jorgensen AY, An MS. Severe Sagittal Imbalance and Lumbar Spinal Stenosis In a Patient with
   Multiple Medical Comorbidities [Intemet]. SpineUniverse. 2014 [cited 2015 Jan 6]. Available from:
   http://www.spineuniverse.com/professional/case-studies/jorgensen/severe-sagittal-imbalance-
    lumbar-spinal-stenosis-patient

5. Marquez-Lara A, Nandyala SV, Hassanzadeh H, Sundberg E, Jorgensen A, Singh K. Sentinel Events
    in Lumbar Spine Surgery. Spine. 2014 Jan 29;

6. Singh K, Marquez-Lara A, Nandyala SV, Hassanzadeh H, Jorgensen AY, Sundberg E. Comparison
   of Perioperative Outcomes of Single-Level Lumbar Fusions: Orthopedic Surgery versus
    Neurosurgery. Spine J. 2014;14(11):S136.

7. Jorgensen A, Kong C, An H, Fardon D. Individualized Surgical Treatment of Degenerative Scoliosis.
    Rush Orthop J [Internet]. 2014; Available from:
    https://www.rush.edu/sites/default/files/2014RushOrthopedicsJournal.pdf

8. Elboghdady IM, Naqvi A, Jorgenson AY, Marquez-Lara A, Singh K. Minimally invasive transforaminal
   lumbar interbody fusion for lumbar spondylolisthesis. Ann TransI Med [Internet]. 2014 [cited 2015 Jan
   6];2(10). Available from: http://www.ncbi.nlm.nih.gov/pmc/articles/PMC4205866/

9. Jorgensen AY, Waterman BR, Hsiao MS, Belmont PJ. Functional outcomes of hip arthroplasty in
    active duty military service members. J Surg Orthop Adv.2013;22(1):16-22.
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BOOK CHAPTERS


1. Wirthlin JD, Lai TT, Jorgensen AY: Spinal Stenosis. In Ramamurthy's Decision Making in Pain
   Management: An Algorithmic Approach. 3 edition. Edited by Nagpal A, Day M, Eckmann MS, Boies
   B, Driver LC. S.I.: Jaypee Brothers Medical Pub; 2017. 600 p.

2. Jorgensen AY, Lai TT, Galang E, Arora SS, Chang Chien GO: Ankylosing Spondylitis. In
   Ramamurthy's Decision Making in Pain Management: An Algorithmic Approach. 3 edition. Edited by
   Nagpal A, Day M, Eckmann MS, Boies B, Driver LC. S.I.: Jaypee Brothers Medical Pub; 2017. 600 p.
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     EXHIBIT D
     EXHIBIT D
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                                 AULBN,SrSN a Durbin,P.C.
                                           ATTORNEYS AT LAW



Roberta.Allen                                                                   PALAQOS
MMWaSTEIN                                                                       leoaMAINSTBEET
JENNIFERG.DURBIN                          6243IH-I0W^.                          SUITE 12
JOKNC.KOWCU.                                               ^                    PALACIOS,TEXAS7746S
IStOROO.CA5rANON                                                                361^2.0006
Tom l_ Newton,Jr.                            210.738.6036Fax                    361.972.3444 Fax
KAT>fERINEM.WtLLIS
ASKLErE.GlOROANO                                                                nir^rtiiMeci.
                                        September 30.2021
                                                                                TAMMY B,CUCK




    Ms. Paula A. Wyatt                                 VIA E-MAIL
    Mr. Gavin Mclnnis
    Mr. Louis Durbin
   Wyatt Law Firm,PLLC
   21 Lynn Batts Lane, Ste 100
   San Antonio, Texas 78218

              RE:    Cause No. 2021CI-09602; Krysal Ybarra v. Daniel Joseph
                     Schmiessing;In the 408^ District Court, Bexar County,Texas
                     Our File No.:     2331 388

    Dear Counsel:

          We would like to schedule an Independent Medical Examination for Ms. Ybarra
   with Anton Y. Jorgensen, M.D. here in San Antonio. Dr. Jorgensen is board certified by
   the American Board of Orthopaedic Surgery and licensed to practice medicine in Texas.

              We are willing to reach an agreement on the parameters of the examination as
   foilows:

           1. Defendant has requested Ms. Ybarra submit herseif to a physicai examination
   to be performed by Dr. Anton Y. Jorgensen pursuant to TROP 204.

          2. The selection of our retained expert is not in any way approved or agreed to by
   the Piaintiff; rather, Piaintiff simply acknowledges that under Rule 204, Ms. Ybarra's
   physical condition is in controversy and under Texas iaw, the Defendant has the nght to
   require her to submit to a physical examination by a doctor of their choosing.

          3. No representatives of the Defendant, inciuding us, our staff or any insurance
   adjuster are allowed to be present or be consulted during the examination.

         4. No diagnostic test that is painflii, protracted or intrusive wiii be ailowed. No
   diagnostic testing or procedures wiil be ordered.
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Ms. Paula A. Wyatt
Mr. Gavin Mcinnis
Mr. Louis Durbin
September 30, 2021
Page 2


        5. Plaintiff will not sign any paperwork or fill out any paperwork at the doctor's
office, including "patient information forms or consent forms", since the plaintiff is not a
patient of Dr. Jorgenson, and is consenting to this examination only pursuant to the
requirements of Rule 204.

      6. A report of Defendant's retained physician's examination which meets the
requirements of Rule 204.2(a) will be furnished to plaintiffs counsel within thirty days of
the examination.

       Dr. Jorgensen is available on the following dates, times and locations:

   •   Wednesday, November 17, 2021, 4:00 p.m., Westover Hills office location
   •   Tuesday, November 23, 2021, 4:30 p.m.. Medical Center office location
   •   Wednesday, November 24, 2021, 4:00 p.m., Westover Hills office location
   •   Tuesday, November 30, 2021, 4:30 p.m.. Medical Center office location

       Please let us know which of the dates and times works best for your client and we
will forward the address for the examination.

      Please advise if you have any questions or need any additional information.
Thanking you for your attention to the above, and awaiting your response, we remain,

                                          Sincerely yours,




                                                   Gijjbins Durbin
                                                     uch Click




TBC/du
#2171708/2331 388/TBC/du
              Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 55 of 136




From:                             Tammy Click
Sent:                             Thursday, September 30, 2021 11:37 AM
To:                               Paul Myers; Deborah Uhl
Cc:                               Gabriel Ruga; Fran Viera
Subject:                          Krystal Ybarra v. Daniel Joseph Schmiesing || Our File No. 2331 388
Attachments:                      SAN_ANTO-#2172155-v1-2331_388_TBC_Signed_Ltr_to_OC_-_reqJME.PDF


Paul,
We would like to schedule an IME for Ms, Ybarra.
Please have Ms. Wyatt or Mr. Durbin contact me regarding the attached correspondence.
Thank you,
Tammy Click


From: Paul Myers <pmyers@wyattlawfirm.com>
Sent: Thursday,September 30,20219:24 AM
To: Deborah Uhl <DUhl@ASDH.com>
Cc: Tammy Click <TCIick@ASDH.com>; Gabriel Puga <gpuga(5)wyattlawfirm.com>; Fran Viera <fviera(5)asdh.com>
Subject: RE: Krystall Ybarra v. Daniel Joseph Schmiesing 1 1 Our File No. 2331388

Something doesn't look right in dropbox. Gabe, please take a look at this and troubleshoot.

Thank you,

Paul Myers
Wyatt Law Firm,PLLC
21 Lynn Batts Lane,Suite 10
San Antonio,Texas 78218
(210) 340-5550 Office
(800)580-9928 Office
(210)340-5581 Facsimile
pinvers@wvattlawFirm.CQm
h ttp://www.wvatt1awFirm.com


From: Deborah Uhl <DUhl@ASDH.com>
Sent: Thursday, September 30,20219:19 AM
To: Paul Myers <pmvers@wvattlawfirm.com>
Cc:Tammy Click <TCIick@ASDH.com>: Gabriel Puga <gpuga@wvattlawfirm.com>: Fran Viera <fviera@asdh.com>
Subject: RE: Krystall Ybarra v. Daniel Joseph Schmiesing 1 1 Our File No. 2331 388



Those 4 sets were only in the link. So I am assuming everything produced with the Initial Disclosures
is produced again.


From: Paul Myers <pmvers@wvattlawfirm.com>
Sent: Thursday, September 30, 20219:18 AM
To: Deborah Uhl <DUhl@ASDH.com>
Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 56 of 136




     EXHIBIT E
     EXHIBIT E
             Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 57 of 136




From:                            Paul Myers < pmyers@wyattlawfirm.com >
Sent:                            Thursday, September 30, 2021 11:45 AM
To:                              Tammy Click; Deborah Uhl
Cc:                              Gabriel Ruga; Fran Viera; Louis Durbin
Subject:                         RE: Krystal Ybarra v. Daniel Joseph Schmiesing || Our File No. 2331 388


I spoke with Louis and he won't agree to the IME at the moment.

Thank you,

Paul Myers
Wyatt Law Firm,PLLC
21 Lynn Batts Lane,Suite 10
San Antonio,Texas 78218
(210)340-5550 Office
(800)580-9928 Office
(210)340-5581 Facsimile
pmvers@wvattlawfirm.conn
http://www.wyattlawfirm.com


From:Tammy Click <TCIick@ASDH.com>
Sent: Thursday,September 30,202111:37 AM
To: Paul Myers <pmyers@wyattlawfirm.com>; Deborah Uhl <DUhl@ASDH.com>
Cc: Gabriel Puga <gpuga@wyattlawfirm.com>; Fran Viera <fviera@asdh.com>
Subject: Krystal Ybarra v. Daniel Joseph Schmiesing 1 1 Our File No. 2331 388

Paul,
We would like to schedule an IME for Ms. Ybarra.
Please have Ms. Wyatt or Mr. Durbin contact me regarding the attached correspondence.
Thank you.
Tammy Click


From: Paul Myers <pmvers@wvattlawfirm.com>
Sent: Thursday, September 30, 20219:24 AM
To: Deborah Uhl <DUhl@ASDH.com>
Cc: Tammy Click <TCIick@ASDH.com>: Gabriel Puga <gpuga@wvattlawfirm.com>: Fran Viera <fviera@asdh.com>
Subject: RE: Krystall Ybarra v. Daniel Joseph Schmiesing 1 1 Our File No. 2331 388

Something doesn't look right in dropbox. Gabe, please take a look at this and troubleshoot.

Thank you,

Paul Myers
Wyatt Law Firm, PLLC
21 Lynn Batts Lane,Suite 10
San Antonio,Texas 78218
(210)340-5550 Office
(800)580-9928 Office
(210)340-5581 Facsimile
FILED
12/1/2021 1:27 PM Case 5:22-cv-00230-JKP-RBF          Document 1-3 Filed 03/10/22 Page 58 of 136
Mary Angie Garcia
Bexar County District Clerk
Accepted By: Cynthia Aponte
Bexar County - 408th District Court

                                           Allen,Stein a Durbin,P.C.
                                                       ATTORNEYS AT LAW




                                                           San Antonio
       ROBERTA. Allen                                                                         Palacios
                                                      6243IH-10 West.7-^ Floor
       markr.stein                                                                            1 602 main STREET
                                                      San Antonio.Texas 78201
       JENNIFER G. DURBIN                                                                     SUITE 1 29
                                                           210.734,7488
       JOHNC. Howell                                                                          Palacios,Texas 77465
                                                          210.738.8036 Fax
       isiDRO O. CastANON                                                                     361.972.6006
       Tom L. NEWTON,JR.                                                                      361.972.3AA4FAX
       KATHERINEM. WILLIS
       ASHLEY E. Giordano
                                                                                              OF COUNSEL:
       JOHNB. GRISSOM
       James j. leech,jr,                            December 1, 2021                         Sharon d, Hobbs
       Ariel r. Erwin
                                                                                              Tammy bruch Click




            Bexar County District Clerk                                                      Via E'File
            100 Dolorosa
            San Antonio, Texas 78205

            RE:         Cause No. 2021CI-09602; Krysal Ybarra v. Daniel Joseph Schmiessing
                        In the 408*^ District Court, Bexar County, Texas
                        Our File No. 2331 388


            Dear Clerk of the Court:

                    With regard to the above referenced matter, we are requesting an executed copy
            of the Agreed Docket Control Order entered with the Court on or about December 1, 2021.

                        Copies have been paid for and please email the executed Agreed Docket Control
            Order to tclick@asdh.com and duhl@asdh.com.


                        Thanking you for your courtesy and attention to the above, and awaiting your reply,
            we remain,

                                                            Sincerely,



                                                              inifer Gib^HftB Durbin
                                                            Tammy fepdch Click
            TBC/du
            #2197324
        Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 59 of 136

                         Automated Certificate of eService
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on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Deborah Uhl on behalf of Tammy Click
Bar No. 3239300
DUhl@asdh.com
Envelope ID: 59599288
Status as of 12/3/2021 2:32 PM CST

Associated Case Party: KRYSTAL YBARRA

Name                 BarNumber Email                         TimestampSubmitted Status

Paula James Wyatt    10541400    e-serve@wyattlawfirm.com    12/1/2021 1:27:49 PM   SENT



Associated Case Party: DANIELJOSEPHSCHMIESSING

Name                     BarNumber Email                     TimestampSubmitted     Status

Tammy Click                         tclick@asdh.com          12/1/2021 1:27:49 PM   SENT

Jennifer GibbinsDurbin              jgd-service@asdh.com     12/1/2021 1:27:49 PM   SENT



Case Contacts

Name                BarNumber Email                   TimestampSubmitted Status

Jennifer G.Durbin               jdurbin@asdh.com      12/1/2021 1:27:49 PM   SENT

Debbie Uhl                      duhl@asdh.com         12/1/2021 1:27:49 PM   SENT

Tonya McCall                    TMcCall@asdh.com      12/1/2021 1:27:49 PM   SENT
FILED
12/30/2021 11:25 AMCase 5:22-cv-00230-JKP-RBF Document 1-3 Filed     03/10/22 Page 60 of 136
Mary Angie Garcia
Bexar County District Clerk
Accepted By: David Caballero
Bexar County - 408th District Court       CAUSE NO. 2021CI09602

          KRYSTAL YBARRA                              §                    IN THE DISTRICT COURT
            Plaintiff                                 §
                                                      §
          VS.                                         §                   408TH JUDICIAL DISTRICT
                                                      §
          DANIEL JOSEPH SCHMIESSING                   §
            Defendant                                 §                    BEXAR COUNTY, TEXAS

                                          NOTICE OF HEARING

                 Defendant’s Motion for Independent Medical Examination entered with the Court

          on December 30, 2021 having been presented to me, the undersigned Presiding Judge,

          and it appearing to the Court that a hearing is necessary, same is hereby set for hearing
                                     2022
          on Friday, January 7, 2021, at 8:30 a.m. in Presiding Court, Bexar County

          Courthouse, San Antonio, Texas by ZOOM.

                 The     link    to     the     Presiding      District      Court    ZOOM       is

          https://zoom.us/my/bexarpresidingcourtzoom.

                 The link to the Bexar County Civil District Presiding Court YouTube is

          https://youtube.com/channel/watch?v=ljERoVIGR2Q.

                 The ZOOM telephone access number for Presiding District Court is 1 (346) 248-

                 7799. The Presiding District Court ZOOM access code is 917-895-6796.

             1. The time announcement: 20 minutes.

             2. Telephone number for all attorneys or self-represented litigants:

                 Defendant’s Counsel: Tammy Bruch Click – (210) 734-7488
                 Plaintiff’s Counsel: Paula Wyatt – (210) 340-5550
                 Plaintiff’s Counsel: Louis Durbin – (210) 340-5550

             3. Email addresses for all attorneys and self-represented litigants:

                 tclick@asdh.com
                 e-serve@wyattlawfirm.com

             4. Whether the party is ready or not: Defendant is ready.

             5. Whether an interpreter is needed: No.
    Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 61 of 136


   6. The number of witnesses: none.


   7. The total number of participants in the call: Two (2) people will participate in

      the hearing.

   8. Whether a record is required: no.
                                 12/30/2021
      SIGNED this          day of               20.




                                       JUDGE PRESIDING



                             CERTIFICATE OF SERVICE

      This is to certify that a true and correct copy of the above and foregoing Notice
of Hearing was this 30th day of December, 2021. forwarded via e-service to:

      e-serve@wvattlawfirm.com
      Paula A. Wyatt
      Gavin Mclnnis
       Louis Durbin
      Wyatt Law Firm, PLLC
      21 Lynn Batts Lane, Ste 10
      San Antonio, Texas 78218
      Attorneys for Plaintiff                                               '




                                          JENNIFER GIBftlNSf DURBI
                                          TAMMY BRJjelH CLICK

#2172442/2256 137/TBC/du
        Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 62 of 136

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certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Deborah Uhl on behalf of Tammy Click
Bar No. 3239300
DUhl@asdh.com
Envelope ID: 60395619
Status as of 12/30/2021 2:19 PM CST

Associated Case Party: KRYSTAL YBARRA

Name                 BarNumber Email                        TimestampSubmitted       Status

Paula James Wyatt    10541400    e-serve@wyattlawfirm.com   12/30/2021 11:25:34 AM SENT



Associated Case Party: DANIELJOSEPHSCHMIESSING

Name                     BarNumber Email                    TimestampSubmitted       Status

Tammy Click                         tclick@asdh.com         12/30/2021 11:25:34 AM   SENT

Jennifer GibbinsDurbin              jgd-service@asdh.com    12/30/2021 11:25:34 AM   SENT



Case Contacts

Name                BarNumber Email                   TimestampSubmitted    Status

Jennifer G.Durbin               jdurbin@asdh.com      12/30/2021 11:25:34 AM SENT

Debbie Uhl                      duhl@asdh.com         12/30/2021 11:25:34 AM SENT

Tonya McCall                    TMcCall@asdh.com      12/30/2021 11:25:34 AM SENT
FILED
7/16/2021 2:52 PM Case 5:22-cv-00230-JKP-RBF     Document 1-3 Filed 03/10/22 Page 63 of 136
Mary Angie Garcia
Bexar County District Clerk
Accepted By: Stephanie West


                                          CAUSE NO.2021CI09602

          KRYSTAL YBARRA                                §                  IN THE DISTRICT COURT
            Plaintiff                                   §
                                                        §
          VS.                                           §                408TH JUDICIAL DISTRICT
                                                         §
          DANIEL JOSEPH SCHMIESSING                      §
            Defendant                                    §                  BEXAR COUNTY,TEXAS

            DEFENDANT DANIEL JOSEPH SCHMIESING. INCORRECTLY NAMED DANIEL
                              JOSEPH SCHMIESSING'S ORIGINAL ANSWER



          TO THE HONORABLE JUDGE OF SAID COURT;

                 COMES DANIEL JOSEPH SCHMIESING, INCORRECTLY NAMED DANIEL

          JOSEPH SCHMIESSING, Defendant in the above styled and numbered cause, and

          files this his Original Answer. Defendant would respectfully show the Court as follows:

                                                        I.

                 Defendant, DANIEL JOSEPH SCHMIESING, INCORRECTLY NAMED DANIEL

          JOSEPH SCHMIESSING, generally denies the allegations contained in Plaintiffs

          Original Petition and any amendments thereto, and demands strict proof thereof by a

          preponderance of the credible and believable testimony and evidence.

                                                        II.

                 Defendant affirmatively pleads and specially alleges that Plaintiffs recovery for

          medical expenses, if any, is limited and/or reduced pursuant to §41.0105 of the Texas

          Civil Practice & Remedies Code.


                                                       III.


                 Defendant affirmatively pleads and alleges that Plaintiffs claimed injuries are the

          result, either in whole or in part, of a pre-existing condition or injury which is the cause,

          either in whole or in part, of Plaintiffs claimed damages.
    Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 64 of 136




       WHEREFORE, PREMISES CONSIDERED. Defendant DANIEL                             JOSEPH

SCHMIESING, INCORRECTLY NAMED DANIEL JOSEPH SCHMIESSING prays that

Plaintiff takes nothing by way of her pleading and go hence without day. Defendant

DANIEL     JOSEPH      SCHMIESING, INCORRECTLY                NAMED      DANIEL     JOSEPH

SCHMIESSING further prays that judgment be entered in favor of Defendant and

against Plaintiff for damages, if any, sustained by Plaintiff, for costs of court and for such

other and further relief to which he may show himself justly entitled, whether at law or in

equity.

                                           Respectfully submitted,

                                           ALLEN, STEIN & DURBIN, P.C
                                           6243 IH 10 West, 7th Floor
                                           P.O. Box 101507
                                           San Antonio, Texas 78201
                                           Telephone No.(210) 734-7488
                                           Telecopier No.(210) 738-803(



                                           JENNIFERG^BINS DURBIN
                                           State Ba^-Nd:07840500
                                           idurbin@asdh.com

                                           TAMMY BRUCH CLICK
                                           State Bar No. 03239300
                                           tclick@asdh.com

                                           *service email: iad-service(a)asdh.com

                                           ATTORNEYS FOR DEFENDANT
                                           DANIEL JOSEPH SCHMIESING,
                                           INCORRECTLY NAMED DANIEL JOSEPH
                                           SCHMIESSING
     Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 65 of 136




                             CERTIFICATE OF SERVICE


        This is to certify that a true and correct copy of the above and foregoing
Defendant's Original Answer, was this the 16^^ day of July, 2021, forwarded via e-
service to:

        e-serve@wvattlawfirm.com
        Paula A. Wyatt
        Gavin Mclnnis
        Louis Durbin
        Wyatt Lav\/ Firm, PLLC
        21 Lynn Batts Lane, Ste 10
        San Antonio, Texas 78218




                                                       IS
                                                  ICH CLICK



#2129847/2331 388/TBC/du
FILED
3/4/2022 2:50 PM Case 5:22-cv-00230-JKP-RBF     Document 1-3 Filed 03/10/22 Page 66 of 136
Mary Angie Garcia
Bexar County District Clerk
Accepted By: Matthew Stanage
Bexar County - 408th District Court
                                          CAUSE NO. 2021CI09602

          KRYSTAL YBARRA                                §                IN THE DISTRICT COURT
            Plaintiff                                   §
                                                        §
          VS.                                           §               408TH JUDICIAL DISTRICT
                                                        §
          DANIEL JOSEPH SCHMIESSING                     §
            Defendant                                   §                 BEXAR COUNTY,TEXAS

          DEFENDANT STANDARDAERO AVIATION HOLDINGS. INC.'S ORIGINAL ANSWER



          TO THE HONORABLE JUDGE OF SAID COURT:

                 COMES STANDARDAERO AVIATION HOLDINGS. INC., Defendant in the

          above styled and numbered cause, and files this its Original Answer. Defendant would

          respectfully show the Court as follows:

                                                       I.


                 Defendant, STANDARDAERO AVIATION HOLDINGS, INC., generally denies

          the allegations contained in PlaintifFs Amended Original Petition and any amendments

          thereto, and demands strict proof thereof by a preponderance of the credible and

          believable testimony and evidence.

                                                       II.


                 Defendant, STANDARDAERO AVIATION HOLDINGS, INC., specifically states

          that it is not a proper party as it is not the employer of Daniel Schmiesing.


                                                      III.


                 Defendant affirmatively pleads and specially alleges that PlaintifTs recovery for

          medical expenses, if any, is limited and/or reduced pursuant to §41.0105 of the Texas

          Civil Practice & Remedies Code.
    Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 67 of 136




                                              IV.


       Defendant affirmatively pleads and alleges that Plaintiffs claimed injuries are the

result, either in \whole or in part, of a pre-existing condition or injury which is the cause,

either in whole or in part, of Plaintiffs claimed damages.

       WHEREFORE. PREMISES               CONSIDERED, Defendant STANDARDAERO

AVIATION HOLDINGS, INC. prays that Plaintiff takes nothing by way of her pleading

and go hence without day. Defendant STANDARDAERO AVIATION HOLDINGS, INC.

further prays that judgment be entered in favor of Defendant and against Plaintiff for

damages, if any, sustained by Plaintiff, for costs of court and for such other and further

relief to which he may show himself justly entitled, whether at law or in equity.

                                            Respectfully submitted,

                                            ALLEN, STEIN & DURBIN, P.C
                                            6243 IH 10 West, 7th Floor
                                            P.O. Box 101507
                                            San Antonio, Texas 78201
                                            Telephone No.(210) 734-7488
                                            Telecopier No.(21D)73^-8036


                                            JENNIFER GIBBINS DURBIN
                                            State Bar No. 07840500
                                            idurbin@asdh.com

                                            TAMMY BRUCH CLICK
                                            State Bar No. 03239300
                                            tclick@asdh.com

                                            *service email: iad-service^asdh.com

                                            ATTORNEYS FOR DEFENDANT
                                            STANDARDAERO AVIATION HOLDINGS,
                                            INC.
      Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 68 of 136




                             CERTIFICATE OF SERVICE

      This is to certify that a true and correct copy of the above and foregoing
Defendant's Original Answer, was this the 4th day of March, 202, forwarded via e-
service to:


        e-serve(5)wvattiawfirm.com
        Paula A. Wyatt
        Gavin Mclnnis
        Louis Durbin
        Wyatt Law Firm, PLLC
        21 Lynn Batts Lane, Ste 10
        San Antonio, Texas 78218




                                     JENNIFER GIBBINS DURBIN
                                     TAMMY BRUCH CLICK



#2236258/2331 388/TBC/du
        Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 69 of 136

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certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Deborah Uhl on behalf of Tammy Click
Bar No. 3239300
DUhl@asdh.com
Envelope ID: 62318181
Status as of 3/4/2022 4:45 PM CST

Associated Case Party: KRYSTAL YBARRA

Name                 BarNumber Email                         TimestampSubmitted Status

Paula James Wyatt    10541400    e-serve@wyattlawfirm.com    3/4/2022 2:50:09 PM   SENT



Associated Case Party: DANIELJOSEPHSCHMIESSING

Name                     BarNumber Email                     TimestampSubmitted    Status

Tammy Click                         tclick@asdh.com          3/4/2022 2:50:09 PM   SENT

Jennifer GibbinsDurbin              jgd-service@asdh.com     3/4/2022 2:50:09 PM   SENT



Case Contacts

Name                BarNumber Email                   TimestampSubmitted Status

Jennifer G.Durbin               jdurbin@asdh.com      3/4/2022 2:50:09 PM   SENT

Debbie Uhl                      duhl@asdh.com         3/4/2022 2:50:09 PM   SENT

Tonya McCall                    TMcCall@asdh.com      3/4/2022 2:50:09 PM   SENT
FILED
1/6/2022 3:18 PM Case 5:22-cv-00230-JKP-RBF   Document 1-3 Filed 03/10/22 Page 70 of 136
Mary Angie Garcia
Bexar County District Clerk
Accepted By: Annabelle Kung
Bexar County - 408th District Court
                                        CAUSE NO. 2021CI09602

          KRYSTAL YBARRA                              §                IN THE DISTRICT COURT
            Plaintiff                                 §
                                                      §
          VS.                                         §               408TH JUDICIAL DISTRICT
                                                      §
          DANIEL JOSEPH SCHMIESSING                   §
            Defendant                                 §                 BEXAR COUNTY, TEXAS



                       DEFENDANT’S NOTICE OF FILING RULE 11 AGREEMENT


          TO THE HONORABLE JUDGE OF SAID COURT:

                 Pursuant to Rule 11, Texas Rules of Civil Procedure, Defendant, DANIEL JOSEPH

          SCHMIESING, notifies the Court of their agreement with Counsel for Plaintiff as evidenced

          by the Rule 11 Agreement attached hereto as “Exhibit A”.




                                                          *service email: jgd-service@asdh.com

                                                          ATTORNEYS FOR DEFENDANT
                                                          DANIEL JOSEPH SCHMIESING
    Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 71 of 136




                              CERTIFICATE OF SERVICE


      I hereby certify that a true and correct copy of the above and foregoing instrument
has been served upon all counsel of record on this the 6TH day of January 2022 in
accordance with the Texas Rules of Civil Procedure.

      e-serve@wyattlawfirm.com
      Paula A. Wyatt
      Gavin McInnis
      Louis Durbin
      WYATT LAW FIRM, PLLC
      21 Lynn Batts Lane, Ste 10
      San Antonio, Texas 78218
      Attorneys for Plaintiff




#2211220/2331 388/TBC/du
Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 72 of 136




  EXHIBIT “A”
       Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 73 of 136




                                       ALLEN, STEIN a: DURBIN, P.C..
                                                   ATTORNEIS AT LAW


ROBERTA. ALLBI                                          SAN ANTONIO                         FALAClDS
MARK R. SrEIN                                     6243IH-1OWEST.7W FLOOR                    1   602 MAIN SI'REET
JENMFE! G. Duaem                                  SAN ANTONIO. TEXAS 78201                  SurrE 129
JOHN c. HOWELL                                         21 0.7347488                         PALACIOS, TEXAS 77465
[sumo 0. CASTANON                                    210.738.8036 FAX                       361 372.6006
TOM L. NEWTON. JR.                                                                          361 372.3444 FAX
KATHERiNE M.WILL|S
ASHLEY E. GIORDANO
JOHN B. GRISSOM
                                                                                            OF COUNSEL:
JAMES J. LEECH. JR.
ARIEL R. awwm                                      January 6, 2022                          insert3:)23:51:“



      Paula A. Wyatt
      Gavin Mclnnis
      Louis Durbin
  ‘
      WYATT LAW FIRM, PLLC
      21 Lynn Batts Lane, Ste 100
      San Antonio, Texas 78218
      VIA EMAIL

      RE:         Cause No. 2021 Cl-09602; Krysal Ybarra v. Daniel Joseph Schmiessing
                  In the 408th District Court, Bexar County, Texas
                  Our File No. 2331 388
                                          TRCP RULE       11   AGREEMENT
      Dear Counsel:

             With regard to the above referenced matter, this correspondence shall serve to
      confirm our agreements regarding Defendant’s request for a TRCP Rule 204 examination
      of Ms. Ybarra.

                   Ybarra will appear on January 26, 2022 at 4:00 pm. for her examination by
                  1. Ms.
      Dr. Anton Jorgensen at the Westover Hills office, located at 11212 State Highway 151,
      Medical Plaza 1, Suite 310, San Antonio, TX 78251.

                  Dr. Jorgensen will conduct a diagnostic interview, including questions
                  2.
      concerning Ms. Ybarra’s present medicai conditions, and health history, medical, surgical,
      and social, and will include questions concerning her pain and the timeline, current and
      past medications, therapy, and other medical treatment.

                  3. Dr.   Jorgensen will not discuss issues involving liability with Ms. Ybarra.
 Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 74 of 136




       4. Dr. Jorgensen will conduct an orthopedic examination addressing Ms. Ybarra's
physical conditions that are at issue in the lawsuit including range of motion, neurological
function, strength, sensation, reﬂexes, and balance.

       5. Dr. Jorgensen will not order or conduct any imaging or other procedures.

       6. No videotape of the     TRCP, Rule 204 examination will    be conducted.

       7. No law ﬁrm representatives will be present for the examination.

       8. Dr. Jorgensen will provide a written report setting out his ﬁndings, including
results of all orthopedic examinations, his diagnoses, and conclusions, by Defendant’s
expert disclosure deadline.

       We ask that you acknowledge these agreements by signing below. Thanking you
for your courtesy and attention to the above, and awaiting your reply, we remain,


                                            Sincerely yours,



                                              nnrrer           Ul‘
                                             'amrny B     Click




AGREED:       Lows QvLgNA                                            //(a/2L

       $2 "13%Signature   _
                              f


           Attorneys for Plaintiff, Krystal Ybarra
                                                                     Date
        Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 75 of 136

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certificate of service that complies with all applicable rules.

Deborah Uhl on behalf of Tammy Click
Bar No. 3239300
DUhl@asdh.com
Envelope ID: 60571557
Status as of 1/7/2022 4:11 PM CST

Associated Case Party: KRYSTAL YBARRA

Name                 BarNumber Email                         TimestampSubmitted Status

Paula James Wyatt    10541400    e-serve@wyattlawfirm.com    1/6/2022 3:18:34 PM   SENT



Associated Case Party: DANIELJOSEPHSCHMIESSING

Name                     BarNumber Email                     TimestampSubmitted    Status

Tammy Click                         tclick@asdh.com          1/6/2022 3:18:34 PM   SENT

Jennifer GibbinsDurbin              jgd-service@asdh.com     1/6/2022 3:18:34 PM   SENT



Case Contacts

Name                BarNumber Email                   TimestampSubmitted Status

Jennifer G.Durbin               jdurbin@asdh.com      1/6/2022 3:18:34 PM   SENT

Debbie Uhl                      duhl@asdh.com         1/6/2022 3:18:34 PM   SENT

Tonya McCall                    TMcCall@asdh.com      1/6/2022 3:18:34 PM   SENT
FILED
12/17/2021 9:37 AM Case 5:22-cv-00230-JKP-RBF                           Document 1-3 Filed 03/10/22 Page 76 of 136
Mary Angie Garcia
Bexar County District Clerk
Accepted By: Roy Bais
Bexar County - 408th District Court                                     No. 2021CI09602

          Krystal Ybarra                                                                                    IN THE DISTRICT COURT OF

          vs.                                                                                                      BEXAR COUNTY, TEXAS

          Daniel Joseph Schmiessing                                                                            408TH JUDICIAL DISTRICT

                                                  CERTIFICATION BY OFFICER AND NOTICE OF DELWERY

         RE: Frank K. Kuwamura, III, M.D. - Medical Records and Diagnostic Imaging

              I, Maureen H. Borders, Notary Public in and for the State of Texas hereby certify pursuant to Rule 203, Texas Rules of Civil Procedure,
              that

         1. This Deposition upon Written Questions of the witoess, the Custodian of Records for the above named, is a tme and exact duplicate of the
              transcript and records pertaining to Krystal Michelle Ybarra , given by the witness named herein, after said witness was duly sworn by a
              duly authorized officer;

         2. The transcript is a true record of the testimony given by the witness;

         3. The amount of the charges for the preparation of the completed Deposition upon Written Questions and any copies of exhibits i s
              S_246.90_ charged to Attorney for Defendant, Jennifer G. Durbin; AUen, Stein & Durbin, P.C. - 130209,7840500

         4. The deposition ti-anscript was submitted on _ 10/08/202 1                      to the witiiess for examination, signature and return to the
              officer by a specified date;

         5. Changes, if any, made by the witness in fhe transcript and otherwise are attached thereto or incorporated therein;

         6. The witness returned the ta-anscript;

         7. The original transcript of the Deposition upon Written Questions and a copy thereof, together with copies of all exhibits were endorsed and
              delivered in accordance with Rule 203.3, TRCP, to the attorney or party who Noticed the fast written question for safekeeping and use at
              trial;

         8. Pursuant to information made a part of the records when the testimony was taken, the attorneys/ parties of record are:

             Paula Wyatt, Wyatt Law Firm, Ltd., 21 LynnBatts Ln., Suite 10, San Antonio, TX 78218

         9. A copy of this Certification and Notice of Delivery was served on all parties shown herein.

        Ontellus, 910 Louisiana St., Suite 4500, Houston, TX 77002

        OWEN UNDER MY HAND AND SEAL OF OFFICE ON 1 0/22/2021



                                     ^     MAUREEN H &ORDERS
                         a:
                                     ?.'    Notary 10 »74166 64
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                             ff Of
                                     %
                                            September 25, 2025      I
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        Order No. 396963-001
        Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 77 of 136

                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
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certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.




Envelope ID: 60122123
Status as of 12/17/2021 10:01 AM CST

Associated Case Party: KRYSTAL YBARRA

Name                 BarNumber Email                        TimestampSubmitted      Status

Paula James Wyatt    10541400    e-serve@wyattlawfirm.com   12/17/2021 9:37:03 AM SENT



Associated Case Party: DANIELJOSEPHSCHMIESSING

Name                     BarNumber Email                    TimestampSubmitted      Status

Tammy Click                         tclick@asdh.com         12/17/2021 9:37:03 AM   SENT

Jennifer GibbinsDurbin              jgd-service@asdh.com    12/17/2021 9:37:03 AM   SENT



Case Contacts

Name                BarNumber Email                   TimestampSubmitted   Status

Jennifer G.Durbin               jdurbin@asdh.com      12/17/2021 9:37:03 AM SENT

Debbie Uhl                      duhl@asdh.com         12/17/2021 9:37:03 AM SENT

Tonya McCall                    TMcCall@asdh.com      12/17/2021 9:37:03 AM SENT
FILED
11/18/2021 10:09 AMCase 5:22-cv-00230-JKP-RBF                         Document 1-3 Filed 03/10/22 Page 78 of 136
Mary Angie Garcia
Bexar County District Clerk
Accepted By: Mario Hernandez
Bexar County - 408th District Court                                    No. 2021CI09602

           Krystal Ybarra                                                                                   IN THE DISTRICT COURT OF

           vs.                                                                                                     BEXAR COUNTY, TEXAS

           Daniel Joseph Schmiessing                                                                           408TH JUDICIAL DISTMCT

                                                CERTIFICATION BY OFFICER AND NOTICE OF DELT^ERY

         RE: Consultants in Pain Medicine - Medical Records and Diagnostic Imaging

              I, Maureen H. Borders, Notary Public in and for the State of Texas hereby certify pursuant to Rule 203, Texas Rules of Civil Procedure,
              that

         1. This Deposition upon Written Questions of the witness, the Custodian of Records for the above named, is a tme and exact duplicate of the
              transcript and records pertaining to Krystal Michelle Ybarra , given by the witness named herein, after said witness was duly sworn by a
              duly authorized officer;

         2. The transcript is a true record of the testimony given by the witoess;

         3. The amount of the charges for the preparation of the completed Deposition upon Written Questions and any copies of exhibits i s
              $_71.50_ charged to Attorney for Defendant, Jennifer G. Durbin; AUen, Stein & Durbin, P.C. - 130209,7840500

         4. The deposition ta-anscript was submitted on _10/05/2021              to the witness for examination, signature and return to the officer by a
              specified date;

         5. Changes, if any, made by the witness in the transcript and otherwise are attached thereto or incorporated therein;
         6. The witness returned the transcript;

         7. The original ta-anscript of the Deposition upon Written Questions and a copy thereof, together with copies of all exhibits were endorsed and
              delivered in accordance with Rule 203.3, TRCP, to the attorney or party who Noticed the first written question for safekeeping and use at
             trial;

         8. Pursuant to information made a part of the records when the testimony was taken, the attorneys/parties of record are:
             Paula Wyatt, Wyatt Law Firm, Ltd., 21 Lynn Batts Ln., Suite 10, San Antonio, TX 78218

         9. A copy of this Certification and Notice of Delivery was served on all parties shown herein.

         Ontellus, 910 Louisiana St., Suite 4500, Houston, TX 77002

         GIVEN UNDER MY HAND AND SEAL OF OFFICE ON 10/1 9/2021



                         i,*;
                              »1
                                   %     MAUREEN H &ORDERS
                        »°         :?.    Notary 10 »7416664
                                   ^     My Comroissfon Expires   I


                                                                                ^At^Zj^x^^^^^
                         *'
                             ^5»          September 25, 2025      I




        Order No. 396963-003
        Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 79 of 136

                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
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certificate of service that complies with all applicable rules.




Envelope ID: 59282452
Status as of 11/19/2021 11:13 AM CST

Associated Case Party: KRYSTAL YBARRA

Name                 BarNumber Email                        TimestampSubmitted       Status

Paula James Wyatt    10541400    e-serve@wyattlawfirm.com   11/18/2021 10:09:22 AM SENT



Associated Case Party: DANIELJOSEPHSCHMIESSING

Name                     BarNumber Email                    TimestampSubmitted       Status

Tammy Click                         tclick@asdh.com         11/18/2021 10:09:22 AM   SENT

Jennifer GibbinsDurbin              jgd-service@asdh.com    11/18/2021 10:09:22 AM   SENT



Case Contacts

Name                BarNumber Email                   TimestampSubmitted    Status

Jennifer G.Durbin               jdurbin@asdh.com      11/18/2021 10:09:22 AM SENT

Debbie Uhl                      duhl@asdh.com         11/18/2021 10:09:22 AM SENT

Tonya McCall                    TMcCall@asdh.com      11/18/2021 10:09:22 AM SENT
FILED
12/28/2021 3:45 PM Case 5:22-cv-00230-JKP-RBF                              Document 1-3 Filed 03/10/22 Page 80 of 136
Mary Angie Garcia
Bexar County District Clerk
Accepted By: Roy Bais
Bexar County - 408th District Court                                        No. 2021CI09602

           Krystal Ybarra                                                                                   IN THE DISTRICT COURT OF

          vs.                                                                                                      BEXAR COUNTY, TEXAS

          Daniel Joseph Schmiessing                                                                            408TH JUDICIAL DISTRICT

                                                      CERTIFICATION BY OFFICER AND NOTICE OF DELFVERY

         RE: ChiroCare Injury Rehab - Medical Records and Diagnostic Imaging

              I, Maureen H. Borders, Notary Public in and for the State of Texas hereby certify pursuant to Rule 203, Texas Rules of Civil Procedure,
              that

         1. This Deposition upon Written Questions of the witness, the Custodian of Records for the above named, is a tme and exact duplicate of the
              transcript and records pertaiiiing to Krystal Michelle Ybarra , given by the witoess named herein, after said witness was duly sworn by a
              duly authorized officer;

         2. The transcript is a true record of the testimony given by the witness;

         3. The amount of the charges for the preparation of the completed Deposition upon Written Questions and any copies of exhibits is
              $_233.10_ charged to Attorney for Defendant, Jennifer G. Durbin; Alien, Stein & Durbin, P.C. -130209,7840500
         4. The deposition transcript was submitted on _11/04/2021                      to the witness for exai-nination, signature and return to the
             officer by a specified date;

         5. Changes, if any, made by the witness in the transcript and otherwise are attached thereto or incorporated therein;
         6. The witness returned the transcript;

         7. The origmal transcript of the Deposition upon Written Questions and a copy thereof, together with copies of all exhibits were endorsed and
              delivered in accordance with Rule 203.3, TRCP, to the attorney or party who Noticed the first written question for safekeeping and use at
             trial;

         8. Pursuant to information made a part of the records when the testimony was taken, the attorneys/ parties of record are:
             Paula Wyatt, Wyatt Law Firm, Ltd., 21 Lynn Batts Ln., Suite 10, San Antonio, TX 78218

         9. A copy of this Certificadon and Notice of Delivery was served on all parties shown herein.
         Ontellus, 910 Louisiana St., Suite 4500, Houston, TX 77002

         GIVEN UNDER MY HAND AND SEAL OF OFFICE ON 1 1/13/2021


                         a.*;
                              »1   ss.         MAUftEEN H BORDERS
                        ^                s     Notary 10 »7< 16664
                                         •f.   My Commission Expires   I



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                         *'
                            ^5»                 September 25, 2025     I




        Order No. 396963-004
        Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 81 of 136

                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
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certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.




Envelope ID: 60346153
Status as of 12/28/2021 4:09 PM CST

Associated Case Party: KRYSTAL YBARRA

Name                 BarNumber Email                        TimestampSubmitted      Status

Paula James Wyatt    10541400    e-serve@wyattlawfirm.com   12/28/2021 3:45:45 PM SENT



Associated Case Party: DANIELJOSEPHSCHMIESSING

Name                     BarNumber Email                    TimestampSubmitted      Status

Tammy Click                         tclick@asdh.com         12/28/2021 3:45:45 PM   SENT

Jennifer GibbinsDurbin              jgd-service@asdh.com    12/28/2021 3:45:45 PM   SENT



Case Contacts

Name                BarNumber Email                   TimestampSubmitted   Status

Jennifer G.Durbin               jdurbin@asdh.com      12/28/2021 3:45:45 PM SENT

Debbie Uhl                      duhl@asdh.com         12/28/2021 3:45:45 PM SENT

Tonya McCall                    TMcCall@asdh.com      12/28/2021 3:45:45 PM SENT
FILED
1/5/2022 1:20 AM Case 5:22-cv-00230-JKP-RBF                         Document 1-3 Filed 03/10/22 Page 82 of 136
Mary Angie Garcia
Bexar County District Clerk
Accepted By: Luis Herrera
Bexar County - 408th District Court                                 No. 2021CI09602

          Krystal Ybarra                                                                                  IN THE DISTRICT COURT OF

          vs.                                                                                                    BEXAR COUNTY, TEXAS

          Daniel Joseph Schmiessing                                                                          408TH JUDICIAL DISTRICT

                                              CERTIFICATION BY OFFICER AND NOTICE OF DELTVERY

        RE: American Health Imaging - Medical Records and Diagnostic Imaging

             I, Maureen H. Borders, Notary Public m and for the State of Texas hereby certify pursuant to Rule 203, Texas Rules of Civil Procedure,
             that

         1. This Deposition upon Written Questions of the witness, the Custodian of Records for the above named, is a tme and exact duplicate of the
             transcript and records pertaining to Krystal Michelle Ybarra , given by the witness named herem, after said witness was duly sworn by a
             duly authorized officer;

        2. The transcript is a tme record of the testimony given by the witness;

        3. The amoimt of the charges for the preparation of the completed Deposition upon Written Questions and any copies of exhibits is
            S_147.55_ charged to Attorney for Defendant, Jennifer G. Durbin; Alien, Stein & Durbin, P.C. - 130209,7840500

        4. The deposition transcript was submitted on _11/22/2021                        to the witaiess for examination, signature and return to the
             officer by a specified date;

        5. Changes, if any, made by the witness in the transcript and otherwise are attached thereto or incorporated therein;

        6. The witness returned the transcript;

        7. The original transcript of the Deposition upon Written Questions and a copy thereof, together with copies of all exhibits were endorsed and
             delivered in accordance with Rule 203.3, TRCP, to the attorney or party who Noticed the first written question for safekeeping and use at
             trial;

        8. Pursuant to information made a part of the records when the testimony was taken, the attorneys/ parties of record are:

            Paula Wyatt, Wyatt Law Finn, Ltd., 21 Lynn Batts Ln., Suite 10, San Antonio, TX 78218

        9. A copy of this Certification and Notice of Delivery was served on all parties shown herein.

        Ontellus, 910 Louisiana St., Suite 4500, Houston, TX 77002

        GWEN UNDER MY HAND AND SEAL OF OFFICE ON 1 1/30/2021


                                                                I
                             w.   ^    MAUREEN H BORDERS
                        a                                       I
                                  ?.    Notary 10 »7416664
                                       My Commission Expires    I


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                         g^>            September 25, 2025      I




        Order No. 396963-005
        Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 83 of 136

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This automated certificate of service was created by the efiling system.
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certificate of service that complies with all applicable rules.




Envelope ID: 60497429
Status as of 1/6/2022 10:05 AM CST

Associated Case Party: DANIELJOSEPHSCHMIESSING

Name                     BarNumber Email                     TimestampSubmitted    Status

Tammy Click                         tclick@asdh.com          1/5/2022 1:20:40 AM   SENT

Jennifer GibbinsDurbin              jgd-service@asdh.com     1/5/2022 1:20:40 AM   SENT



Case Contacts

Name                BarNumber Email                   TimestampSubmitted Status

Jennifer G.Durbin               jdurbin@asdh.com      1/5/2022 1:20:40 AM   SENT

Debbie Uhl                      duhl@asdh.com         1/5/2022 1:20:40 AM   SENT

Tonya McCall                    TMcCall@asdh.com      1/5/2022 1:20:40 AM   SENT



Associated Case Party: KRYSTAL YBARRA

Name                 BarNumber Email                         TimestampSubmitted Status

Paula James Wyatt    10541400    e-serve@wyattlawfirm.com    1/5/2022 1:20:40 AM   SENT
FILED
12/17/2021 12:33 PMCase 5:22-cv-00230-JKP-RBF                        Document 1-3 Filed 03/10/22 Page 84 of 136
Mary Angie Garcia
Bexar County District Clerk
Accepted By: Roy Bais
Bexar County - 408th District Court                                  No. 2021CI09602

           Krystal Ybarra                                                                                  m THE DISTRICT COURT OF

           vs.                                                                                                    BEXAR COUNTY, TEXAS

           Daniel Joseph Schmiessing                                                                          408TH JUDICIAL DISTRICT

                                              CERTIFICATION BY OFFICER AND NOTICE OF DELIVERY

         RE: Frank K. Kuwamura, III, M.D. - Billing Records

              I, Maureen H. Borders, Notary Public in and for the State of Texas hereby certify pursuant to Rule 203, Texas Rules of Civil Procedure,
              that

         1. This Deposition upon Written Questions of the witness, the Custodian of Records for the above named, is a true and exact duplicate of the
              ta-anscript and records pertaining to Krystal Michelle Ybarra , given by the witness named herein, after said witness was duly sworn by a
              duly authorized officer;

         2. The transcript is a true record of the testimony given by the witness;

         3. The amount of the charges for the preparation of the completed Deposition upon Written Questions and any copies of exhibits is
              S_51.50_ charged to Attorney for Defendant, Jennifer G. Durbin; Alien, Stein & Durbin, P.C. -130209, 7840500
         4. The deposition ti'anscript was submitted on _10/08/2021_ to the witness for examination, signature and return to the officer by a
              specified date;

         5. Changes, if any, made by the witness in the transcript and otherwise are attached thereto or incorporated therein;
         6. The witness returned the transcript;

         7. The original transcript of the Deposition upon Written Questions and a copy thereof, together with copies of all exhibits were endorsed and
              delivered in accordance with Rule 203.3, TRCP, to the attorney or party who Noticed the first written question for safekeeping and use at
             trial;

         8. Pursuant to information made a part of the records when the testimony was taken, the attorneys/ parties of record are:
             Paula Wyatt, Wyatt Law Firm, Ltd., 21 Lynn Batts Ln., Suite 10, San Antonio, TX 78218

         9. A copy of this Certification and Notice of Delivery was served on all parties shown herein.
         Ontellus, 910 Louisiana St., Suite 4500, Houston, TX 77002

        GIVEN UNDER MY HAND AND SEAL OF OFFICE ON 1 0/22/2021

                                                                 I
                              vs   ^    MAUREEN H BORDERS
                         g;                                      I
                                   ?.    Notary 10 »7416664
                        •'*             My CommiMion Expires I

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                                   %
                         ?s 0»           September 25. 2025




        Order No. 396963-008
        Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 85 of 136

                         Automated Certificate of eService
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certificate of service that complies with all applicable rules.




Envelope ID: 60133719
Status as of 12/17/2021 2:11 PM CST

Associated Case Party: KRYSTAL YBARRA

Name                 BarNumber Email                        TimestampSubmitted       Status

Paula James Wyatt    10541400    e-serve@wyattlawfirm.com   12/17/2021 12:33:36 PM SENT



Associated Case Party: DANIELJOSEPHSCHMIESSING

Name                     BarNumber Email                    TimestampSubmitted       Status

Tammy Click                         tclick@asdh.com         12/17/2021 12:33:36 PM   SENT

Jennifer GibbinsDurbin              jgd-service@asdh.com    12/17/2021 12:33:36 PM   SENT



Case Contacts

Name                BarNumber Email                   TimestampSubmitted    Status

Jennifer G.Durbin               jdurbin@asdh.com      12/17/2021 12:33:36 PM SENT

Debbie Uhl                      duhl@asdh.com         12/17/2021 12:33:36 PM SENT

Tonya McCall                    TMcCall@asdh.com      12/17/2021 12:33:36 PM SENT
                                                                                                                                            FILED




                                                            No. 2021CI09602
                                                                                                                                            Mary Angie Garcia




  Krystal Ybarra                                                                                    IN THE DISTRICT COURT OF
                                                                                                                                            11/18/2021 10:12 AM

                                                                                                                                            Bexar County District Clerk




  vs.                                                                                                      BEXAR COUNTY, TEXAS
                                                                                                                                            Accepted By: Shaamid M Gaitan




  Daniel Joseph Schmiessing                                                                            408TH JUDICIAL DISTRICT
                                                                                                                                            Bexar County - 408th District Court




                                      CERTFFICATION BY OFFICER AND NOTICE OF DELWERY

 RE: Consultants in Pain Medicine - Billing Records

     I, Maureen H. Borders, Notary Public in and for the State of Texas hereby certify pursuant to Rule 203, Texas Rules of Civil Procedure,
     that

1. This Deposition upon Written Questions of the witness, the Custodian of Records for the above named, is a true and exact duplicate of the
     transcript and records pertaining to Krystal MicheUe Ybarra , given by the witness named herein, after said witness was duly sworn by a
     duly authorized officer;

2. The transcript is a true record of the testimony given by the witness;

3. The amount of the charges for the preparation of the completed Deposition upon Written Questions and any copies of exhibits is
     $_51.80_ charged to Attorney for Defendant, Jennifer G. Durbin; AUen, Stein & Durbin, P.C. - 130209, 7840500

4. The deposition transcript was submitted on _10/05/2021                   to the witaess for examination, signature and return to the officer by
     a specified date;

5. Changes, if any, made by the witness in the transcript and otherwise are attached thereto or incorporated therein;

6. The witoess returned the transcript;

7. The original transcript of the Deposition upon Written Questions and a copy thereof, together with copies of all exhibits were endorsed and
     delivered m accordance with Rule 203.3, TRCP, to the attorney or party who Noticed the first written question for safekeeping and use at
    trial;

8. Pursuant to information made a part of the records when the testimony was taken, the attorneys/ parties of record are:

    Paula Wyatt, Wyatt Law Firm, Ltd., 21 Lynn Batts Ln., Suite 10, San Antonio, TX 78218

9. A copy of this Certification and Notice of Delivery was served on all parties shown herein.

Ontellus, 910 Louisiana St., Suite 4500, Houston, TX 77002

GWEN UNDER MY HAND AND SEAL OF OFFICE ON 10/18/2021


                     w.       MAUREEK H 80ROERS
                3;        r                             I
                              Notary ID »74'6664
                            rty Cornmlsswn Expiret      I
                «         s
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                s? Of         September 25, 2025        I
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                                                                                                                                                                     Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 86 of 136




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Order No. 396963-010
        Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 87 of 136

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on the date and to the persons listed below. The rules governing
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certificate of service that complies with all applicable rules.




Envelope ID: 59282731
Status as of 11/19/2021 11:12 AM CST

Associated Case Party: KRYSTAL YBARRA

Name                 BarNumber Email                        TimestampSubmitted       Status

Paula James Wyatt    10541400    e-serve@wyattlawfirm.com   11/18/2021 10:12:44 AM SENT



Associated Case Party: DANIELJOSEPHSCHMIESSING

Name                     BarNumber Email                    TimestampSubmitted       Status

Tammy Click                         tclick@asdh.com         11/18/2021 10:12:44 AM   SENT

Jennifer GibbinsDurbin              jgd-service@asdh.com    11/18/2021 10:12:44 AM   SENT



Case Contacts

Name                BarNumber Email                   TimestampSubmitted    Status

Jennifer G.Durbin               jdurbin@asdh.com      11/18/2021 10:12:44 AM SENT

Debbie Uhl                      duhl@asdh.com         11/18/2021 10:12:44 AM SENT

Tonya McCall                    TMcCall@asdh.com      11/18/2021 10:12:44 AM SENT
FILED
1/5/2022 1:20 AM Case 5:22-cv-00230-JKP-RBF                             Document 1-3 Filed 03/10/22 Page 88 of 136
Mary Angie Garcia
Bexar County District Clerk
Accepted By: Luis Herrera
Bexar County - 408th District Court                                     No. 2021CI09602

          Krystal Ybarra                                                                                  IN THE DISTRICT COURT OF

          vs.                                                                                                     BEXAR COUNTY, TEXAS

          Daniel Joseph Schmiessing                                                                           408TH JUDICIAL DISTRICT

                                                   CERTIFICATION BY OFFICER AND NOTICE OF DELIVERY

         RE: ChiroCare Injury Rehab - Billing Records

             I, Maureen H. Borders, Notary Public in and for the State of Texas hereby certify pursuant to Rule 203, Texas Rules of Civil Pro cedure,
             that

         1. This Deposition upon Written Questions of the witaess, the Custodian of Records for the above named, is a tme and exact duplicate of the
              transcript and records pertaining to Krystal Michelle Ybarra , given by the witness named herein, after said witness was duly sworn by a
             duly authorized officer;

         2. The ta-anscript is a true record of die testimony given by the witness;

        3. The amount of the charges for the preparation of the completed Deposition upon Written Questions and any copies of exhibits is
             S_165.8_ charged to Attorney for Defendant, Jennifer G. Durbin; AUen, Stein & Durbin, P.C. -130209, 7840500

        4. The deposition transcript was submitted on _ 11 /04/202 1_                     to the witness for examination, signature and return to the
             officer by a specified date;

        5. Changes, if any, made by the witness in the transcript and otherwise are attached thereto or incorporated therein;

        6. The witness returned the ta-anscript;

        7. The original transcript of the Deposition upon Written Questions and a copy thereof, together with copies of all exhibits were endorsed and
             delivered m accordance with Rule 203.3, TRCP, to the attorney or party who Noticed the first written question for safekeeping and use at

        8. Pursuant to information made a part of the records when the testimony was taken, the attorneys/ parties of record are:
             Paula Wyatt, Wyatt Law Firm, Ltd., 21 Lynn Batts Ln., Suite 10, San Antonio, TX 78218

        9. A copy of this Certification and Notice of Delivery was served on all parties shown herein.

        Ontellus, 910 Louisiana St., Suite 4500, Houston, TX 77002

        OWEN UNDER MY HAND AND SEAL OF OFFICE ON 1 1/12/2021


                                                                    (
                             »*   %         MAUREEN H BORDERS
                        s:                                          I
                                       ?     Notary 10 »7416664
                        "X             '^   My Commiision Expires   I

                             ff a» ^         September 25. 2025     I
                                                                                ^lau.tM^^^^'^yi^




        Order No. 396963-011
        Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 89 of 136

                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.




Envelope ID: 60497429
Status as of 1/6/2022 10:05 AM CST

Associated Case Party: DANIELJOSEPHSCHMIESSING

Name                     BarNumber Email                     TimestampSubmitted    Status

Jennifer GibbinsDurbin              jgd-service@asdh.com     1/5/2022 1:20:40 AM   SENT

Tammy Click                         tclick@asdh.com          1/5/2022 1:20:40 AM   SENT



Case Contacts

Name                BarNumber Email                   TimestampSubmitted Status

Debbie Uhl                      duhl@asdh.com         1/5/2022 1:20:40 AM   SENT

Tonya McCall                    TMcCall@asdh.com      1/5/2022 1:20:40 AM   SENT

Jennifer G.Durbin               jdurbin@asdh.com      1/5/2022 1:20:40 AM   SENT



Associated Case Party: KRYSTAL YBARRA

Name                 BarNumber Email                         TimestampSubmitted Status

Paula James Wyatt    10541400    e-serve@wyattlawfirm.com    1/5/2022 1:20:40 AM   SENT
FILED
12/17/2021 9:33 AM Case 5:22-cv-00230-JKP-RBF                           Document 1-3 Filed 03/10/22 Page 90 of 136
Mary Angie Garcia
Bexar County District Clerk
Accepted By: Stephanie West
Bexar County - 408th District Court                                     No. 2021CI09602

          Krystal Ybarra                                                                                   m THE DISTRICT COURT OF

          vs.                                                                                                      BEXAR COUNTY, TEXAS

          Daniel Joseph Schmiessing                                                                            408TH JUDICIAL DISTRICT


                                                 CERTIFICATION BY OFFICER AND NOTICE OF DELF^ERY

         RE: Medport BUUng - BilUng Records

              I, Maureen H. Borders, Notary Public in and for the State of Texas hereby certify pursuant to Rule 203, Texas Rules of Civil Procedure,
              that

         1. This Deposition upon Written Questions of the witoess, the Custodian of Records for the above named, is a tme and ex act duplicate of the
              transcript and records pertaining to Krystal Michelle Ybarra , given by the witness named herein, after said witness was duly sworn by a
              duly authorized officer;

         2. The transcript is a true record of the testimony given by the witness;

         3. The amount of the charges for the preparation of the completed Deposition upon Written Questions and any copies of exhibits is
              S_56.10_ charged to Attorney for Defendant, Jennifer G. Durbin; AUen, Stein & Durbin, P.C. -130209,7840500

         4. The deposition transcript was submitted on _10/22/2021                         to the witness for examination, signature and return to the
              officer by a specified date;

         5. Changes, if any, made by the witness in the transcript and otherwise are attached thereto or incorporated therein;

         6. The witoess returned the transcript;

         7. The original ta-anscript of the Deposition upon Written Questions and a copy thereof, together with copies of all exhibits were endorsed and
             delivered in accordance with Rule 203.3, TRCP, to the attorney or party who Noticed the first written question for safekeeping and use at
             trial;

         8. Pursuant to information made a part of the records when the testimony was taken, the attorneys/ parties of record are:

             Paula Wyatt, Wyatt Law Fmn, Ltd., 21 Lynn Batts Ln., Suite 10, San Antonio, TX 78218

         9. A copy of this Certification and Notice of Delivery was served on all parties shown herein.

         Ontellus, 910 Louisiana St., Suite 4500, Houston, TX 77002

         GIVEN UNDER MY HAND AND SEAL OF OFFICE ON 1 1/03/2021


                                                                    I
                               -y        MAUREEN H BORDERS
                         0*:        s;
                                          Notary 10 »7416664
                        •V          V,   rty Cofflmission Expiret   I
                           s Of ft
                                  ^f.
                                           September 25, 2025       I
                                                                                ^?awzx6ocy^^%^2^




        Order No. 396963-013
        Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 91 of 136

                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.




Envelope ID: 60121797
Status as of 12/17/2021 9:57 AM CST

Associated Case Party: KRYSTAL YBARRA

Name                 BarNumber Email                        TimestampSubmitted      Status

Paula James Wyatt    10541400    e-serve@wyattlawfirm.com   12/17/2021 9:33:34 AM SENT



Associated Case Party: DANIELJOSEPHSCHMIESSING

Name                     BarNumber Email                    TimestampSubmitted      Status

Tammy Click                         tclick@asdh.com         12/17/2021 9:33:34 AM   SENT

Jennifer GibbinsDurbin              jgd-service@asdh.com    12/17/2021 9:33:34 AM   SENT



Case Contacts

Name                BarNumber Email                   TimestampSubmitted   Status

Jennifer G.Durbin               jdurbin@asdh.com      12/17/2021 9:33:34 AM SENT

Debbie Uhl                      duhl@asdh.com         12/17/2021 9:33:34 AM SENT

Tonya McCall                    TMcCall@asdh.com      12/17/2021 9:33:34 AM SENT
FILED
1/5/2022 1:20 AM Case 5:22-cv-00230-JKP-RBF                         Document 1-3 Filed 03/10/22 Page 92 of 136
Mary Angie Garcia
Bexar County District Clerk
Accepted By: Luis Herrera
Bexar County - 408th District Court                                 No. 2021CI09602

          Krystal Ybarra                                                                                  m THE DISTRICT COURT OF

          vs.                                                                                                    BEXAR COUNTY, TEXAS

          Daniel Joseph Schmiessing                                                                          408TH JUDICIAL DISTRICT

                                             CERTIFICATION BY OFFICER AND NOTICE OF DELIVERY

         RE: Phase 4 Physiotherapy - BUling Records

             I, Maureen H. Borders, Notary Public in and for the State of Texas hereby certify pursuant to Rule 203, Texas Rules of Civil Procedure,
             that

         1. This Deposition upon Written Questions of the witness, the Custodian of Records for the above named, is atme and exact duplicate of the
             transcript and records pertaining to Krystal Michelle Ybarra , given by the witoess named herein, after said witness was duly sworn by a
             duly authorized officer;

        2. The transcript is a true record of the testimony given by the witoess;

        3. The amount of the charges for the preparation of the completed Deposition upon Written Questions and any copies of exhibits is
             $_51.10_ charged to Attorney for Defendant, Jennifer G. Durbin; AUen, Stein & Durbin, P.C. -130209,7840500
        4. The deposition transcript was submitted on         11/03/2021                 to the witness for examination, signature and return to the
             officer by a specified date;

        5. Changes, if any, made by the witness in the transcript and otherwise are attached thereto or incorporated therein;
        6. The witness returned the transcript;

        7. The original transcript of the Deposition upon Written Questions and a copy thereof, together with copies of all exhibits were endorsed and
             delivered m accordance with Rule 203.3, TRCP, to the attorney or party who Noticed the first written question for safekeeping and use at
             trial;

        8. Pursuant to infonnation made a part of the records when the testimony was taken, the attorneys/parties of record are:

            Paula Wyatt, Wyatt Law Firm, Ltd., 21 Lynn Batts Ln., Suite 10, San Antonio, TX 78218

        9. A copy of this Certification and Notice of Delivery was served on all parties shown herein.
        Ontellus, 910 Louisiana St., Suite 4500, Houston, TX 77002

        GIVEN UNDER MY HAND AND SEAL OF OFFICE ON 12/03/2021


                            w.   ^     MAUREEN H BOROERS
                       »°         f     Notary 10 #7416664
                                  y,   My Commission Expim      I

                        ^ Of ^   V.
                                        September 25. 2025      I
                                                                               ^^O^MUd^u^€6f^^A




        Order No. 396963-014
        Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 93 of 136

                         Automated Certificate of eService
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on the date and to the persons listed below. The rules governing
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certificate of service that complies with all applicable rules.




Envelope ID: 60497429
Status as of 1/6/2022 10:05 AM CST

Associated Case Party: KRYSTAL YBARRA

Name                 BarNumber Email                         TimestampSubmitted Status

Paula James Wyatt    10541400    e-serve@wyattlawfirm.com    1/5/2022 1:20:40 AM   SENT



Associated Case Party: DANIELJOSEPHSCHMIESSING

Name                     BarNumber Email                     TimestampSubmitted    Status

Tammy Click                         tclick@asdh.com          1/5/2022 1:20:40 AM   SENT

Jennifer GibbinsDurbin              jgd-service@asdh.com     1/5/2022 1:20:40 AM   SENT



Case Contacts

Name                BarNumber Email                   TimestampSubmitted Status

Jennifer G.Durbin               jdurbin@asdh.com      1/5/2022 1:20:40 AM   SENT

Debbie Uhl                      duhl@asdh.com         1/5/2022 1:20:40 AM   SENT

Tonya McCall                    TMcCall@asdh.com      1/5/2022 1:20:40 AM   SENT
FILED
12/28/2021 9:26 PM Case 5:22-cv-00230-JKP-RBF          Document 1-3 Filed 03/10/22 Page 94 of 136
Mary Angie Garcia
Bexar County District Clerk
Accepted By: Luis Herrera                              No.: 2021CI09602
Bexar County - 408th District Court

           Krystal Ybarra                                                            IN THE DISTRICT COURT OF

           VS.                                                                           BEXAR COUNTY, TEXAS

           Daniel Joseph Schmiessing                                                   408TH JUDICIAL DISTRICT

                                              NOTICE OF INTENTION
                                    TO TAKE DEPOSITION BY WRITTEN QUESTIONS

           To parties by and through their attorneys of record:
           Paula Wyatt, Wyatt Law Firm, Ltd., 21 Lynn Batts Ln., Suite 10, San Antonio, Texas 78218

           Please take notice that after twenty (20) days from the service of a copy hereof, including the attached
           questions, a deposition by written questions will be taken of the custodian of records for:

           See attached Exhibit "A"

           before a Notary Public for Ontellus, 910 Louisiana St., Suite 4500, Houston, TX 77002 or its designated
           agent at the address and office of the witness.

           The deposition, including attached questions, answers and documents or things produced by the witness,
           may be used in evidence upon the trial of the above-styled and numbered cause pending in the above
           named court. Notice is further given that request is hereby made as authorized by the Texas Rules of Civil
           Procedure to the officer taking this deposition to issue a subpoena duces tecum and cause it to be served
           on the witness to produce and to permit the inspection and copying of any and all documents and things
           as designated in the attached questions [and/or Exhibit(s)] pertaining to Krystal Michelle Ybarra.

                                                                  Respectfully submitted,

                                                                    /s/ Jennifer G. Durbin
                                                                    _________________________________________
                                                                    Jennifer G. Durbin
                                                                    State Bar No.: 7840500
                                                                    Tammy B. Click
                                                                    State Bar No.:
                                                                    Allen, Stein & Durbin, P.C. - 130209
                                                                    6243 West Interstate 10, 7th Floor
                                                                    San Antonio, TX 78201
                                                                    Phone: 210-734-7488; Fax: 210-738-8036
                                                                    Attorney for: Defendant
                                                                     Email: jdurbin@asdh.com
           I hereby certify that a true and correct copy of the foregoing instrument has been served on all parties or
           their attorneys of record in compliance with Rule 21(a), TRCP, by hand delivery, telephonic document
           transfer, and/or certified mail, return receipt requested, on this day.

           Date: 12/29/2021

                                                                  Ontellus




           Order No.: 396963- 015
      Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 95 of 136



                                        EXHIBIT "A"

American Health Imaging (Corporate) (Billing Records)
2200 Century Pkwy NE, Suite 600, Atlanta, GA 30345




Order No.: 396963- 015
               Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 96 of 136

                        SUBPOENA DUCES TECUM - THE STATE OF TEXAS
                                                                 396963 - 015
To any Sheriff or Constable of the State of Texas or other person authorized to serve and execute subpoenas as provided in Rule 176,
Texas Rules of Civil Procedure.

GREETINGS: You are hereby commanded to subpoena and summon the following witness(es): Custodian of Records for:
American Health Imaging (Corporate), 2200 Century Pkwy NE, Suite 600, Atlanta, GA 30345 to be and appear before a Notary
Public of my designation for Ontellus, 910 Louisiana St., Suite 4500, Houston, TX 77002 or its designated agent, at the office of
said custodian after twenty (20) days from the date of service hereof and to bring, produce and make available for inspection and
copying the specified records including those existing in electronic or magnetic form in the possession, custody or control of the
said witness, and every such record to which the witness may have access, pertaining to: Krystal Michelle Ybarra, Date of Birth
           , SSN: xxx-xx-xxxx.

Complete billing records from 05/22/2010 to the present, including but not limited to any records/documents that may be stored
digitally and/or electronically: charges, statements, explanation of benefits, payments, adjustments, write-offs, lien agreements, Letters
of Protection between the facility and patient's attorney, balances paid, balances due, CPT/diagnostic codes, and itemized billing
charges pertaining to any and all care, treatment, and/or examinations. All billing emails between physicians and the patient, including
secure messages.
The date range of records needed is 05/22/2010 to Present.

The said custodian will give evidence and remain from day to day and time to time until discharged according to law at the instance of
the Defendant, Daniel Joseph Schmiessing, represented by Jennifer G. Durbin, Attorney of Record, in that certain Cause No.
2021CI09602, styled

Krystal Ybarra
vs.
Daniel Joseph Schmiessing

pending on the docket of the 408TH Judicial District of BEXAR County, Texas. This subpoena is issued under and by virtue of
authority of a notice duly served and filed with the above named court and is returnable forthwith in accordance with the Officer’s
Return set forth below. Rule 176.8(a), Texas Rules of Civil Procedure, provides failure by any person without adequate excuse to obey
a subpoena served upon that person may be deemed a contempt of the court from which the subpoena is issued or a district court in the
county in which the subpoena is served, and may be punished by fine or confinement, or both.

WITNESS MY HAND, and the issuance hereof on                   12/29/2021                  .




                                                                      NOTARY PUBLIC

                                                        OFFICER'S RETURN

Came to hand this _____ day of ________________, 20____, and executed this the ____ day of ____________, 20____, at ______
a.m./p.m., in the following manner: By delivering to the witness _______________________________, a true copy hereof and
tendered to the witness a fee of $_________.

________________                                            ______________________________________
DATE                                                        PROCESS SERVER




Order No. 396963-015
      Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 97 of 136



                                                     No.: 2021CI09602

Krystal Ybarra                                                                             IN THE DISTRICT COURT OF

VS.                                                                                            BEXAR COUNTY, TEXAS

Daniel Joseph Schmiessing                                                                    408TH JUDICIAL DISTRICT

                   DIRECT QUESTIONS TO BE PROPOUNDED TO THE WITNESS

Custodian of Records for:            American Health Imaging (Corporate)

Records Pertaining to:              Krystal Michelle Ybarra

Complete billing records from 05/22/2010 to the present, including but not limited to any
records/documents that may be stored digitally and/or electronically: charges, statements, explanation of
benefits, payments, adjustments, write-offs, lien agreements, Letters of Protection between the facility
and patient's attorney, balances paid, balances due, CPT/diagnostic codes, and itemized billing charges
pertaining to any and all care, treatment, and/or examinations. All billing emails between physicians and
the patient, including secure messages.

-------------------------------------------------------------------------------------------------------------------------------

1. Please state your full name.

Answer:______________________________________________________________________________

2. Please state your position and/or job title.

Answer:_____________________________________________________________________________

3. Please state your employer's name, business address and telephone number.

Answer:_____________________________________________________________________________
____________________________________________________________________________________

4. Did you receive a Subpoena Duces Tecum to release billing records regarding Krystal Michelle
   Ybarra?

Answer:______________________________________________________________________________

5. Are you authorized by American Health Imaging (Corporate) to testify as to the patient billing and
   accounting records of Krystal Michelle Ybarra?

Answer:______________________________________________________________________________

6. Were the entries in these notes, records and/or reports, made at the time or shortly after the time of the
   transaction recorded by those entries?

Answer:______________________________________________________________________________




Order No. 396963-015
     Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 98 of 136



7. Were these notes, records and/or reports, made or caused to be made by American Health Imaging
   (Corporate) in the regular course of business?

Answer:______________________________________________________________________________

8. In the regular course of your business, did the person who signed or otherwise prepared these records
   either have personal knowledge of the entries on these records or obtain the information to make such
   records from sources who have such personal knowledge?

Answer:______________________________________________________________________________

9. Are these notes, records and/or reports, under your care, supervision, direction, custody and control?

Answer:______________________________________________________________________________

10. Were these records, kept as described above?

Answer:______________________________________________________________________________

11. Does the source of the information or the method of preparing these records, indicate the records are
    of a trustworthy nature?

Answer:_____________________________________________________________________________

12. Please hand all of the notes, records and/or reports, as outlined in the Subpoena Duces Tecum which
    were made at American Health Imaging (Corporate) to the Notary Public for photocopying and
    marking as Exhibits to be attached to this deposition. Having you done so?

Answer:____________________________________________________________________________

13. Has American Health Imaging (Corporate) made or caused any billing and accounting for services
    rendered to Krystal Michelle Ybarra, including, but not limited to, the amount that American Health
    Imaging (Corporate) has adjusted, discounted, and/or written off, any third-party adjustments, and
    any payments made by Krystal Michelle Ybarra?

Answer:___________________________________________________________________________

14. What is the total dollar amount of the charges for the services rendered to Krystal Michelle Ybarra as
    reflected in the billing and accounting records?

Answer:___________________________________________________________________________

15. What is the total dollar amount of the charges for the services rendered as reflected in the billing
    records that have been paid by Krystal Michelle Ybarra himself/herself (and not by private insurance
    or some other person or entity)?

Answer:___________________________________________________________________________




Order No. 396963-015
      Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 99 of 136



16. Has any amount of the charges for services rendered to Krystal Michelle Ybarra been paid by private
    insurance, or by any person or entity other than Krystal Michelle Ybarra?

Answer:___________________________________________________________________________

17. If your answer to the preceding question was "yes," please write the name of the private insurer,
    person, or entity, and the total amount paid by each for services rendered to Krystal Michelle Ybarra.

               Private Insurer, Person or Entity         Total Amount Paid
a.   ________________________________________________________________________________
b.   ________________________________________________________________________________
c.   ________________________________________________________________________________
d.   ________________________________________________________________________________
e.   ________________________________________________________________________________

18. If you provided a name or names and amount(s) in response to the preceding questions, please state
    whether or not American Health Imaging (Corporate) has a managed care or contractual arrangement
    as to each private insurer, person or entity listed which requires an adjustment, discount, or write-off
    of any portion or amount of the billed charges.

Answer:____________________________________________________________________________

19. If your answer to the preceding question was "yes" as to any private insurer, person or entity listed,
    please state the total amount of the charges for services rendered to Krystal Michelle Ybarra as
    reflected in the billing and accounting records which has been adjusted, discounted, written off by
    American Health Imaging (Corporate) as a result of the managed care or contractual arrangement
    with each private insurer, person or entity listed.

               Private Insurer, Person or Entity         Total Amount Paid
a.   ________________________________________________________________________________
b.   ________________________________________________________________________________
c.   ________________________________________________________________________________
d.   ________________________________________________________________________________
e.   ________________________________________________________________________________

20. For each entity listed in the preceding three questions, please state whether or not American Health
    Imaging (Corporate) has a managed care or contractual arrangement with the listed private insurer,
    person or entity which prohibits this facility from seeking reimbursement from Krystal Michelle
    Ybarra for any of the amounts which have been adjusted, discounted, or written off as a result of that
    managed care or contractual arrangement.

Answer:___________________________________________________________________________
__________________________________________________________________________________
__________________________________________________________________________________

21. Is American Health Imaging (Corporate) a provider under Medicare and/or Medicaid?

Answer:___________________________________________________________________________




Order No. 396963-015
     Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 100 of 136



22. If the answer to the previous question is "yes," is it true that American Health Imaging (Corporate)'s
    contract with Medicare and/or Medicaid requires that a patient not be held legally responsible for the
    payment of any portion of the charges for treatment or services not covered by Medicare and/or
    Medicaid?

Answer:__________________________________________________________________________

23. If the answer to the proceeding question is "no," state all terms of Krystal Michelle Ybarra's insurance
    coverage of the healthcare expenses reflected on American Health Imaging (Corporate) billing
    records which allow this facility to bill Krystal Michelle Ybarra for amounts not covered by
    Medicare/Medicaid.

Answer:_________________________________________________________________________
________________________________________________________________________________
________________________________________________________________________________

24. What is the amount of charges for treatment or services rendered which have been paid by Medicare
    and/or Medicaid?

Answer:________________________________________________________________________

25. What is the current balance, if any, owed on Krystal Michelle Ybarra's bill for the specified period of
    time requested?

Answer:_______________________________________________________________________

26. What amount, if any, of the said current balance does American Health Imaging (Corporate) continue
    to seek as payment from Krystal Michelle Ybarra as his/her legal obligation to pay beyond what
    Medicare/Medicaid, private insurance, or other person or entity has already paid?

Answer:_______________________________________________________________________

27. Please fill in the following blanks with the requested information concerning medical treatment
    provided to Krystal Michelle Ybarra. NOTE: THE SUM OF THE AMOUNTS GIVEN IN
    ANSWERS 27B-27G SHOULD EQUAL THE AMOUNT GIVEN IN ANSWER TO 27A.

         A.      TOTAL AMOUNT FOR ALL MEDICAL BILLED:

                  Answer:__________________________________________________________

         B.       TOTAL AMOUNT PAID BY PRIVATE INSURER:

                  Answer:________________________________________________________

        C.        TOTAL AMOUNT PAID BY MEDICARE/MEDICAID:

                  Answer:________________________________________________________




Order No. 396963-015
     Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 101 of 136



        D.        TOTAL AMOUNT PAID BY PATIENT OR PERSONAL REPRESENTATIVE OR
                   ATTORNEY:

                  Answer:________________________________________________________

        E.         TOTAL AMOUNT PAID BY ANY OTHER THIRD PARTY (I.E. WORKER'S COMP
                   CARRIER, ETC.):

                  Answer:________________________________________________________

        F.         TOTAL AMOUNT WRITTEN OR CHARGED OFF:

                   Answer:_______________________________________________________

       G.              TOTAL AMOUNT STILL OWED:

                       Answer:______________________________________________________

       H.              BY WHOM IS THE TOTAL AMOUNT OWED:

                       Answer:______________________________________________________




                                                                         ________________________________
                                                                         WITNESS, CUSTODIAN OF RECORDS



        BEFORE ME, the undersigned authority, on this day personally appeared _________________________,
known to me to be the person whose name is subscribed to the foregoing instrument in the capacity therein stated,
who being first duly sworn, stated upon his/her oath that the answers to the foregoing questions are true and correct.

SWORN TO AND SUBSCRIBED before me this______ day of________________________ 20_____



                                                                        ____________________________________
                                                                        NOTARY PUBLIC
                                                                        My Commission Expires:_______________




Order No. 396963-015
               Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 102 of 136


                                        Krystal Ybarra vs. Daniel Joseph Schmiessing
                                                   Case No. 2021CI09602


OBTAIN COPY OF RECORDS
Once records are obtained, you will have an opportunity to purchase record copies pertaining to Krystal Michelle Ybarra. Please
provide an email address to receive records available notifications.

Name of person to receive Notifications: _____________________________________
Email address for Record Notification: _______________________________________
Please either type out or print (not cursive)

With this information, a ChartSwap account will be created for you. You will be sent your ChartSwap credentials via email. Thereafter
you will be sent notifications with a link to access the records, view the page counts and record copy fee(s). Electronic, hardcopy and
CD options are available. Easily pay for records via a secure on-line portal, powered by ChartSwap, to instantly access records for
viewing.

About ChartSwap: Designed to make requesting records simple, easy and secure, ChartSwap offers a single platform for issuing and
managing all requests, payments and communication related to the billing and medical records you need. Send, Receive & Pay for
EMRs or Paper Medical Records in Minutes. Connect with Any Requestor or Provider Nationwide, Easily & Online. Learn more at
chartswap.com.


WAIVER OF WAITING PERIOD FOR THE FOLLOWING CUSTODIANS:
American Health Imaging (Corporate) (Billing Records)

I received a copy of the Notice and:

_____ I AGREE TO WAIVE THE WAITING PERIOD                       _____ I DO NOT AGREE TO WAIVE THE WAITING PERIOD

                                                      Date: ____________________________

                                                       Paula Wyatt
                                                       Signature: _______________________________________
                                                       Wyatt Law Firm, Ltd.
                                                       21 Lynn Batts Ln., Suite 10, San Antonio, TX 78218
                                                       Phone # 210-340-5550




                                ***************************************
                                                        Please sign and return to:
                                      Ontellus, 910 Louisiana St., Suite 4500, Houston, TX 77002
                                Tel: (909) 445-8580 / Fax: 800-330-1907 / secure.copies@Ontellus.com

Order No.: 396963
       Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 103 of 136

                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.




Envelope ID: 60353237
Status as of 12/29/2021 8:45 AM CST

Associated Case Party: KRYSTAL YBARRA

Name                 BarNumber Email                        TimestampSubmitted      Status

Paula James Wyatt    10541400    e-serve@wyattlawfirm.com   12/28/2021 9:26:54 PM SENT



Associated Case Party: DANIELJOSEPHSCHMIESSING

Name                     BarNumber Email                    TimestampSubmitted      Status

Tammy Click                         tclick@asdh.com         12/28/2021 9:26:54 PM   SENT

Jennifer GibbinsDurbin              jgd-service@asdh.com    12/28/2021 9:26:54 PM   SENT



Case Contacts

Name                BarNumber Email                   TimestampSubmitted   Status

Jennifer G.Durbin               jdurbin@asdh.com      12/28/2021 9:26:54 PM SENT

Debbie Uhl                      duhl@asdh.com         12/28/2021 9:26:54 PM SENT

Tonya McCall                    TMcCall@asdh.com      12/28/2021 9:26:54 PM SENT
      Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 104 of 136


                                   CAUSE NO. 2021CI09602
KRYSTAL YBARRA                                   §                  IN   THE DISTRICT COURT
  Plaintiff                                      §
                                                 §
VS.                                                               408TH JUDICIAL DISTRICT
                                                 g
DANIEL JOSEPH SCHMIESSING                        §
  Defendant                                      §                  BEXAR COUNTY, TEXAS
                            AGREED DOCKET CONTROL ORDER
        The parties hereby agree that the following shall govern this case:

        1.   This cause is set for Jury Trial on September 19, 2022. The trial is expected
             to take 5-7 days.

             Deadline for Plaintiffs to designate all expert witnesses they may call at the trial
             of this case and produce reports as to retained experts is May 19, 2022.

             Deadline for Defendants to designate all expert witnesses they may call at the
             trial of this case and produce reports as to retained experts is June 20, 2022;

             Deadline for Plaintiff to serve all medical records with afﬁdavits and all
             medical bills with afﬁdavits shall be May 19, 2022.

              Deadline for Defendant to serve controverting afﬁdavits is June 20, 2022.

              Deadline to ﬁle Dispositive Motions and any Daubert or Robinson challenges
              is August 26, 2022;

         .    Deadline for the parties to complete discovery is August 19, 2022;

        8. Deadline to Mediate is    July 19, 2022;
        9. Deadline for Plaintiff to amend Pleadings is     August 5, 2022;
        10. Deadline for Defendant to amend Pleadings is       August 19, 2022;
        11.Deadline for Witness list and Exhibit list is September 5, 2022;


        IT IS ORDERED, ADJUDGED and DECREED that the Docket Control Order

hereby entered shall not be amended or changed except by further order of this Court or

by written agreement of all parties.
 Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 105 of 136



      All deadlines not represented herein will be governed by the Texas Rules of Civil
Procedure.




SIGNED and ENTERED this         30       day of November 2021.



                                          JUDGE’PRESIDING
                                                  1250$*21=$/(6
AGREED:
                                                  35(6,',1*-8'*(
                                                  67-8',&,$/',675,&7
WYATr LAw FIRM, PLLC
                                                  %(;$5&2817<7(;$6
21 Lynn Batts Lane, Ste 100
San Antonio, Texas 78218
(210) 340- 5550 (Telepho
(210) 340-5     (Facsj


 AULA A. WYATT
State Bar No: 10541400
GAVIN MCINNIS
State Bar No: 13679800
LOUIS DURBIN
State Bar No: 24078448
E-Service Email: e-serve@mattlawﬁrm.com
ATTORNEYS FOR PLAINTIFF
KRYSTAL YBARRA

ALLEN, STEIN & DURBIN P.C.
6243 |.H. 10 West, 7‘“ Floor
P.O. Box 101507
San Antonio, Texas 78201
(210) 734- 7488 (Telephone)
(210)     8036 (Facsr le)


 EWIFER          IN'S DURBIN
                                     ’
State Bar    .IO7840500
idurbin@asdh.com
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*Service Email: qd-service@asdh.com
ATTORNEYS FOR DEFENDANT
                 Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 106 of 136
PRIVATE PROCESS

                                          Case Number: 2021CI09602
 KRYSTAL YBARRA VS DANIEL JOSEPH SCHMIESSING                                                       IN THE 408th District Court
                                                                                                   BEXAR COUNTY, TEXAS
 (Note: Attached Document May Contain Additional Litigants.)

                                                                     CITATION
 “THE STATE OF TEXAS”
 Directed To: DANIEL JOSEPH SCHMIESSING


“You have been sued. You may employ an attorney. If you or your attorney do not file a written answer with the clerk who issued
this citation by 10:00am on the Monday next following the expiration of twenty days after you were served this citation and
petition, a default judgment may be taken against you. In addition to filing a written answer with the clerk, you may be required to
make initial disclosures to the other parties of this suit. These disclosures generally must be made no later than 30 days after you file
your answer with the clerk. Find out more at TexasLawHelp.org.” Said ORIGINAL PETITION was filed on the on this the 13th day of
May, 2021.

ISSUED UNDER MY HAND AND SEAL OF SAID COURT ON THIS 24th day of May, 2021.

                                                                                                             Mary Angie Garcia
 PAULA A WYATT                                                                                               Bexar County District Clerk
 ATTORNEY FOR PLAINTIFF                                                                                      101 W. Nueva, Suite 217
 21 LYNN BATTS LANE 10                                                                                       San Antonio, Texas 78205
 SAN ANTONIO TX 78218



                                                                                                             By: /s/   Ana Cortijo
                                                                                                                            Ana Cortijo, Deputy


KRYSTAL YBARRA VS DANIEL JOSEPH                                   Officer’s Return                           Case Number: 2021CI09602
SCHMIESSING
                                                                                                             Court: 408th District Court
I received this CITATION on the ______ day of _________, 20_______ at ________ o’clock ___M. and ( ) executed it by delivering a copy of the CITATION with the
attached ORIGINAL PETITION on the date of delivery endorsed on it to the defendant _____________________________________, in person on the _______ day of
____________, 20____ at __________ o’clock ____ M. at ________________________________ or (                                     ) not executed because
_____________________________________________.
Fees: _____________________ Badge/PPS #: _________________ Date certification expires: ___________________________
________________________________________ County, Texas
BY: ________________________________________________
OR: VERIFICATION OF RETURN (If not served by a peace officer) SWORN TO THIS __________________________________________________
___________________________________________________
NOTARY PUBLIC, STATE OF TEXAS

OR: My name is ___________________________________________, my date of birth is ___________________________________, and my address is
____________________________________________________________ County.

I declare under penalty of perjury that the foregoing is true and correct. Executed in ______________________________________ County, State of Texas, on the
____________ day of _____________________, A.D., __________.

                                                                                    ___________________________________________________
                                                                                                               Declarant
                 Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 107 of 136
                                                                                                                                           PRIVATE PROCESS

                                                              Case Number: 2021CI09602
 KRYSTAL YBARRA VS DANIEL JOSEPH SCHMIESSING ET AL                                                               IN THE 408TH DISTRICT COURT
 (Note: Attached Document May Contain Additional Litigants)                                                      BEXAR COUNTY, TEXAS
                                                                              CITATION

“THE STATE OF TEXAS”

 Directed To:        PERLA ESMERALDA CASTELLANOS



“You have been sued. You may employ an attorney. If you or your attorney do not file a written answer with the clerk who issued
this citation by 10:00am on the Monday next following the expiration of twenty days after you were served this CITATION and
PETITION a default judgment may be taken against you. In addition to filing a written answer with the clerk, you may be required to
make initial disclosures to the other parties of this suit. These disclosures generally must be made no later than 30 days after you file
your answer with the clerk. Find out more at TexasLawHelp.org” Said THIRD-PARTY PETITION was filed on the 13th day of August,
2021.

ISSUED UNDER MY HAND AND SEAL OF SAID COURT 27th day of August, 2021.

                                                                                                       Mary Angie Garcia
 JENNIFER GIBBINS DURBIN                                                                               Bexar County District Clerk
 ATTORNEY FOR PLATINIFF                                                                                101 W. Nueva, Suite 217
 6243 W Interstate 10 FL 7                                                                             San Antonio, Texas 78205
 San Antonio TX 78201-2092


                                                                                                       By: /s/ Jason Pastrano
                                                                                                       Jason Pastrano, Deputy

 KRYSTAL YBARRA VS DANIEL JOSEPH SCHMIESSING ET AL                                                        Case Number: 2021CI09602
                                                                                                          408th District Court
                                                                   Officer’s Return
I received this CITATION on the ______ day of _________, 20_______ at ________ o’clock ___M. and ( ) executed it by delivering a copy of the CITATION with
attached THIRD-PARTY PETITION the date of delivery endorsed on it to the defendant ______________________________ in person on the _______ day of
____________, 20____ at __________ o’clock ____ M. at ________________________________ or (                                  ) not executed because
_____________________________________________________.

Fees: _____________________ Badge/PPS #: _________________ Date certification expires: ___________________________

                                                                                            ________________________________________ County, Texas
                                                                                            BY: ________________________________________________
OR: VERIFICATION OF RETURN (If not served by a peace officer) SWORN TO THIS __________________________________________________

                                                                                               ___________________________________________________
                                                                                                      NOTARY PUBLIC, STATE OF TEXAS

OR: My name is ___________________________________________, my date of birth is ___________________________________, and my address is
____________________________________________________________ County.

I declare under penalty of perjury that the foregoing is true and correct. Executed in ______________________________________ County, State of Texas, on the
____________ day of _____________________, A.D., __________.
                                                                                                 ___________________________________________________
                                                                                                 Declarant
                Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 108 of 136
                                                                                                                             PRIVATE PROCESS

                                                      Case Number: 2021CI09602
 KRYSTAL YBARRA VS DANIEL JOSEPH SCHMIESSING                                                          IN THE 408TH DISTRICT COURT
 ET AL
 (Note: Attached Document May Contain Additional                                                      BEXAR COUNTY, TEXAS
 Litigants)
                                                                       CITATION

“THE STATE OF TEXAS”

 Directed To:       STANDARDAERO AVIATION HOLDING INC
                    BY SERVING ITS REGISTERED AGENT THE CORPORATION TRUST COPANY CORPORATION TRUST CENTER
“You have been sued. You may employ an attorney. If you or your attorney do not file a written answer with the clerk who issued this
citation by 10:00am on the Monday next following the expiration of twenty days after you were served this CITATION and PETITION a
default judgment may be taken against you. In addition to filing a written answer with the clerk, you may be required to make initial
disclosures to the other parties of this suit. These disclosures generally must be made no later than 30 days after you file your answer with
the clerk. Find out more at TexasLawHelp.org” Said PLAINTIFF'S ORIGINAL PETITION was filed on this the 13th day of May, 2021.

ISSUED UNDER MY HAND AND SEAL OF SAID COURT on this the 10th day of February, 2022.

 PAULA A WYATT                                                                                    Mary Angie Garcia
 ATTORNEY FOR PLAINTIFF                                                                           Bexar County District Clerk
 21 LYNN BATTS LANE STE 10                                                                        101 W. Nueva, Suite 217
 SAN ANTONIO TX 78218
                                                                                                  San Antonio, Texas 78205
                                                                                                  By: /s/ Janel Gutierrez
                                                                                                  Janel Gutierrez, Deputy

 KRYSTAL YBARRA VS DANIEL JOSEPH SCHMIESSING ET AL                                              Case Number: 2021CI09602
                                                                                                408th District Court
                                                             Officer’s Return
I received this CITATION on the ______ day of _________, 20_______ at ________ o’clock ___M. and ( ) executed it by delivering a copy of the
CITATION with attached PLAINTIFF'S ORIGINAL PETITION the date of delivery endorsed on it to the defendant ______________________________
in person on the _______ day of ____________, 20____ at __________ o’clock ____ M. at ________________________________ or ( ) not
executed because _____________________________________________________.
Fees: _____________________ Badge/PPS #: _________________ Date certification expires: ___________________________
                                                                                    ________________________________________ County,
Texas
                                                                                    BY:
________________________________________________
OR: VERIFICATION OF RETURN (If not served by a peace officer) SWORN TO THIS __________________________________________________

___________________________________________________
                                                                                              NOTARY PUBLIC, STATE OF TEXAS

OR: My name is ___________________________________________, my date of birth is ___________________________________, and my
address is ____________________________________________________________ County.

I declare under penalty of perjury that the foregoing is true and correct. Executed in ______________________________________ County, State
of Texas, on the ____________ day of _____________________, A.D., __________.



                                                                                                                                  Declarant
FILED
2/1/2022 2:07 PM Case 5:22-cv-00230-JKP-RBF        Document 1-3 Filed 03/10/22 Page 109 of 136
Mary Angie Garcia
Bexar County District Clerk                                                                        citpps
Accepted By: Brenda Carrillo
Bexar County - 408th District Court
                                              CAUSE NO. 2021CI09602

           KRYSTAL YBARRA,                                      §              IN THE DISTRICT COURT
                                                                §
                            Plaintiff,                          §
                                                                §
           v.                                                   §
                                                                §               408th JUDICIAL DISTRICT
           DANIEL JOSEPH SCHMIESING and                         §
           STANDARDAERO AVIATION HOLDINGS,                      §
           INC,                                                 §
                                                                §
                            Defendants.                         §               BEXAR COUNTY, TEXAS

                                PLAINTIFF’S AMENDED ORIGINAL PETITION

          TO THE HONORABLE JUDGE OF SAID COURT:

                   Plaintiff, Krystal Ybarra, files this Plaintiff’s Amended Original Petition complaining of

          Defendants, Daniel Joseph Schmiesing, previously incorrectly named as Joseph Daniel

          Schmiessing, and StandardAero Aviation Holdings, Inc.

                                                   I. DISCOVERY

                   1.     Plaintiff intends to conduct discovery in this suit under Level Three, pursuant to

          Rule 190.4 of the Texas Rules of Civil Procedure, and will seek an order, agreed or otherwise, to

          this effect.

                                                     II. PARTIES

                   2.     Plaintiff. Krystal Ybarra (“Plaintiff”) is a natural person and at all times relevant

          to this cause of action has been and continues to be a resident of San Antonio, Bexar County,

          Texas.

                   3.     Defendant. Daniel Joseph Schmiesing, previously incorrectly named as Daniel

          Joseph Schmiessing, (“Schmiesing”) is a natural person and at all times relevant to this cause has

          been and continues to be a resident of Knoxville, Tennessee. Defendant Schmiesing has appeared

          herein and may be served through his counsel of record.


                                                            1
    Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 110 of 136



       4.      Defendant. StandardAero Aviation Holdings, Inc. (“StandardAero”) is a Delaware

Corporation doing business in the State of Texas. Defendant may be served with citation via private

process by serving its registered agent, The Corporation Trust Company, Corporation Trust Center,

1209 Orange Street, Wilmington, Delaware, 19801.

                                            III. VENUE

       5.      Venue is proper in Bexar County, Texas, pursuant to Tex. Civ. Prac. & Rem. Code

§15.002(a)(1) in that all or substantially all of the events or acts or omissions giving rise to the

claim occurred in Bexar County, Texas.

                                             IV. FACTS

       6.      On May 22, 2020, Plaintiff was traveling as a passenger in a 2008 Honda Fit in the

southbound lane stopped at a red light on Bowie Street in San Antonio, Bexar County, Texas.

Defendant was driving a 2019 Ford Explorer, traveling east on Houston Street in San Antonio,

Bexar County, Texas. As Plaintiff proceeded through the green light, Defendant disregarded the

red signal light and in doing so failed to yield the right-of-way, and suddenly crashed into the

vehicle in which Plaintiff was traveling. As a result of the collision and Defendants’ negligence,

Plaintiff suffered severe and debilitating injuries.

                        V. AGENCY AND RESPONDEAT SUPERIOR

       7.         At the time of the collision and the occurrence giving rise to this cause of action,

Defendant Schmiesing was an employee of Defendant StandardAero.

       8.         At all times material hereto, Defendant Schmiesing was acting as an employee of

Defendant StandardAero and was within the course and scope of his employment or official duties

for Defendant StandardAero and was acting in furtherance of the duties of his office or

employment for Defendant StandardAero.

       9.         Moreover, at the time of the collision made the basis of this litigation Defendant


                                                   2
   Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 111 of 136



Schmiesing was a permissive user of the Defendant vehicle.

       10.         Defendant StandardAero, as the employer, is responsible for the negligent acts or

omissions of Defendant Schmiesing under the principles of respondeat superior.

                                         VI. NEGLIGENCE

       11.      Plaintiff would show that, on the occasion in question, Defendants owed a duty to

conduct themselves in a manner consistent with the traffic laws of the State of Texas and to act as

a reasonably prudent person and/or entity would act.

       12.      Defendant Schmiesing breached his duty to Plaintiff and acted in a manner that was

negligent by engaging in wrongful conduct including, but not limited to:

             a. Failing to keep a proper lookout for Plaintiff’s safety that would have been maintained
                by a person of ordinary prudence under the same or similar circumstances;
             b. Failing to control his vehicle as necessary to avoid the collision complained of;
             c. Failing to stop and grant immediate use of an intersection in obedience to an official
                traffic control device;
             d. Failing to yield to the right of way;
             e. Failing to pay attention in his driving as a person using ordinary prudent care would
                have done; and
             f. Failing to take reasonable evasive action to avoid colliding with Plaintiff’s vehicle.

       13.         Defendant StandardAero had a duty to exercise ordinary care to hire, train,

qualify, and supervise Defendant Schmiesing with respect to ensuring that he was and would

continue to be a safe driver with knowledge of the matters necessary for the proper operation of

the vehicle that he controlled.

       14.         Defendant StandardAero breached its duty because it knew or should have known

that Defendant Schmiesing was not a capable, qualified, or knowledgeable driver.

       15.         Defendant breached its duty because it failed to provide the necessary training

for Defendant Schmiesing to operate his vehicle in a safe manner and in conformity with the

requirements of the law.


                                                    3
    Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 112 of 136



          16.    Defendant StandardAero breached its duty because it failed to supervise Defendant

Schmiesing to ensure that he operated his vehicle in a safe manner and could accomplish his work

assignments in a safe manner.

          17.    Defendants’ acts and omissions constituted negligence that proximately and

substantially caused the occurrence made the basis of this action, and the personal injuries and

damages sustained by Plaintiff.

          18.    Plaintiff would show that, as a proximate result of Defendants’ negligence, as

described herein, Plaintiff has sustained damages far in excess of the minimum jurisdictional limits

of this Court.

                                            VII. DAMAGES

          19.    As a direct and proximate result of Defendants’ negligence, Plaintiff suffered

severe personal injuries, pain, suffering, mental anguish, disability, and impairment. Plaintiff also

incurred reasonable and necessary medical expenses for the care and relief of her injuries.

          20.    For a long time to come, if not for the rest of her life, Plaintiff will continue to suffer

physical injuries, physical impairment, disfigurement, pain and suffering, and mental anguish.

Additionally, as a result of the incident, Plaintiff will incur reasonable and necessary medical

expenses in the future. Plaintiff now sues for all of these damages in an amount within the

jurisdictional limits of the court.

          21.    Pursuant to Texas Rule of Civil Procedure 47, Plaintiff asserts that she is seeking

monetary relief over $250,000 but not more than $1,000,000.

          22.    Plaintiff is entitled to recover pre-judgment and post-judgment interest as allowed

by law.




                                                     4
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                              VIII. CONDITIONS PRECEDENT

       23.     All conditions precedent have been performed or have occurred to support

Plaintiff’s pleadings and causes of action.

                               IX. REQUEST FOR JURY TRIAL

       24.     Plaintiff respectfully requests a trial by jury and has paid the jury fee.

       WHEREFORE, Plaintiff requests that the Defendants be cited to appear and answer

herein and that on final trial, Plaintiff has judgment against Defendants for:

       a.      All medical expenses in the past and future;

       b.      Mental anguish in the past and future;

       c.      Physical pain in the past and future;

       d.      Physical impairment in the past and future;

       e.      Prejudgment and post judgment interest as allowed by law;

       f.      Costs of suit; and

       g.      Such other and further relief to which Plaintiff may be justly entitled.




                                                  5
   Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 114 of 136



                                             Respectfully submitted,
                                             WYATT LAW FIRM, PLLC.
                                             21 Lynn Batts Lane, Ste. 10
                                             San Antonio, Texas 78218
                                             Telephone: (210) 340-5550
                                             Facsimile: (210) 340-5581
                                             E-Service: e-serve@wyattlawfirm.com*

                                          By:      /s/ Paula A. Wyatt
                                            Paula A. Wyatt
                                            State Bar No. 10541400
                                            Gavin McInnis
                                            State Bar No. 13679800
                                            Louis Durbin
                                            State Bar No. 24078448
                                            ATTORNEYS FOR PLAINTIFF
                                            *Service by email will be accepted at this address
                                            only




                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing responses were served to the
following on this 27th day of January 2022.

       Via E-Serve:
       ALLEN, STEIN & DURBIN, P.C.
       Jennifer Gibbins Durbin
       jdurbin@asdh.com
       Tammy Bruch Click
       tclick@asdh.com
       6243 IH 10 West, 7th Floor
       P.O. Box 101507
       San Antonio, TX 78201
       (210) 734-7488 (phone)
       (210) 738-8036 (fax)
       ATTORNEYS FOR DEFENDANT SCHMIESING




                                             /s/ Paula A. Wyatt
                                             Paula A. Wyatt



                                                6
       Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 115 of 136

                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Paul Myers on behalf of Paula Wyatt
Bar No. 10541400
pmyers@wyattlawfirm.com
Envelope ID: 61350377
Status as of 2/7/2022 9:04 AM CST

Associated Case Party: KRYSTAL YBARRA

Name                 BarNumber Email                         TimestampSubmitted Status

Paula James Wyatt    10541400    e-serve@wyattlawfirm.com    2/1/2022 2:07:55 PM   SENT



Associated Case Party: DANIELJOSEPHSCHMIESSING

Name                     BarNumber Email                     TimestampSubmitted    Status

Tammy Click                         tclick@asdh.com          2/1/2022 2:07:55 PM   SENT

Jennifer GibbinsDurbin              jgd-service@asdh.com     2/1/2022 2:07:55 PM   SENT



Case Contacts

Name                BarNumber Email                   TimestampSubmitted Status

Jennifer G.Durbin               jdurbin@asdh.com      2/1/2022 2:07:55 PM   SENT

Debbie Uhl                      duhl@asdh.com         2/1/2022 2:07:55 PM   SENT

Tonya McCall                    TMcCall@asdh.com      2/1/2022 2:07:55 PM   SENT
FILED
5/13/2021 4:47 PM Case 5:22-cv-00230-JKP-RBF         Document 1-3 Filed 03/10/22 Page 116 of 136
Mary Angie Garcia                                                                              CIT PPS W/JD
Bexar County District Clerk                        2021CI09602
Accepted By: Consuelo Gomez

                                            CAUSE NO. __________________

            KRYSTAL YBARRA,                                       §              IN THE DISTRICT COURT
                                                                  §
                             Plaintiff,                           §
                                                                  §    Bexar County - 408th District Court
            v.                                                    §              ____ JUDICIAL DISTRICT
                                                                  §
            DANIEL JOSEPH SCHMIESSING,                            §
                                                                  §
                             Defendant.                           §               BEXAR COUNTY, TEXAS

                                          PLAINTIFF’S ORIGINAL PETITION

           TO THE HONORABLE JUDGE OF SAID COURT:

                    Plaintiff, Krystal Ybarra, files this Plaintiff’s Original Petition complaining of Defendant,

           Daniel Joseph Schmiessing.

                                                    I.       DISCOVERY

                    1.     Plaintiff intends to conduct discovery in this suit under Level Three, pursuant to

           Rule 190.4 of the Texas Rules of Civil Procedure, and will seek an order, agreed or otherwise, to

           this effect.

                                                         II. PARTIES

                    2.     Plaintiff. Krystal Ybarra (“Plaintiff”) is a natural person and at all times relevant

           to this cause of action has been and continues to be a resident of San Antonio, Bexar County,

           Texas.

                    3.     Defendant. Daniel Joseph Schmiessing (“Defendant”) is a natural person and at all

           times relevant to this cause has been and continues to be a resident of Knoxville, Tennessee.

           Defendant may be served with citation via private process at his residence, 4347 Atchley Hill Way,

           Knoxville, Tennessee 37920, or wherever he may be found.




                                                              1
    Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 117 of 136



                                            III. VENUE

       4.      Venue is proper in Bexar County, Texas, pursuant to Tex. Civ. Prac. & Rem. Code

§15.002(a)(1) in that all or substantially all of the events or acts or omissions giving rise to the

claim occurred in Bexar County, Texas.

                                             IV. FACTS

       5.      On May 22, 2020, Plaintiff was traveling as a passenger in a 2008 Honda Fit in the

southbound lane stopped at a red light on Bowie Street in San Antonio, Bexar County, Texas.

Defendant was driving a 2019 Ford Explorer, traveling east on Houston Street in San Antonio,

Bexar County, Texas. As Plaintiff proceeded through the green light, Defendant disregarded the

red light and in doing so failed to yield the right-of-way, and suddenly crashed into the vehicle the

Plaintiff was traveling in. As a result of the collision and Defendant’s negligence, Plaintiff suffered

severe and debilitating injuries.

                                        V. NEGLIGENCE

       6.      Plaintiff would show that, on the occasion in question, Defendant owed a duty to

conduct himself in a manner consistent with the traffic laws of the State of Texas and to act as a

reasonably prudent person and/or entity would act.

       7.      Defendant breached his duty to Plaintiff and acted in a manner that was negligent

by engaging in wrongful conduct including, but not limited to:

               a. Failing to keep such a proper lookout as a person exercising ordinary prudence
                  would have kept under the same or similar circumstances;

               b. Failing to maintain a clear and reasonable distance between Defendant's vehicle
                  and Plaintiff’s vehicle;

               c. Failing to control his speed;

               d. Failing to take timely or proper evasive action to avoid the collision in question;

               e. Failing to pay attention; and


                                                  2
    Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 118 of 136




                 f. Failing to control the subject vehicle so that a collision would not occur.

          8.     Defendant’s acts and omissions constituted negligence that proximately and

substantially caused the occurrence made the basis of this action, and the personal injuries and

damages sustained by Plaintiff.

          9.     Plaintiff would show that, as a proximate result of Defendant’s negligence, as

described herein, Plaintiff has sustained damages far in excess of the minimum jurisdictional limits

of this Court.

                                            VI. DAMAGES

          10.    As a direct and proximate result of Defendant’s negligence, Plaintiff suffered

severe personal injuries, pain, suffering, mental anguish, disability, and impairment. Plaintiff also

incurred reasonable and necessary medical expenses for the care and relief of her injuries.

          11.    For a long time to come, if not for the rest of her life, Plaintiff will continue to suffer

physical injuries, physical impairment, disfigurement, pain and suffering, and mental anguish.

Additionally, as a result of the incident, Plaintiff will incur reasonable and necessary medical

expenses in the future. Plaintiff now sues for all of these damages in an amount within the

jurisdictional limits of the court.

          12.    Pursuant to Texas Rule of Civil Procedure 47, Plaintiff asserts that she is seeking

monetary relief over $250,000 but not more than $1,000,000.

          13.    Plaintiff is entitled to recover pre-judgment and post-judgment interest as allowed

by law.




                                                     3
   Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 119 of 136



                               VII. CONDITIONS PRECEDENT

       14.     All conditions precedent have been performed or have occurred to support

Plaintiff’s pleadings and causes of action.

                              VIII. REQUEST FOR JURY TRIAL

       15.     Plaintiff respectfully requests a trial by jury and has paid the jury fee.

       WHEREFORE, Plaintiff requests that the Defendant be cited to appear and answer herein

and that on final trial, Plaintiff has judgment against Defendant for:

       a.      All medical expenses in the past and future;

       b.      Mental anguish in the past and future;

       c.      Physical pain in the past and future;

       d.      Physical impairment in the past and future;

       e.      Prejudgment and post judgment interest as allowed by law;

       f.      Costs of suit; and

       g.      Such other and further relief to which Plaintiff may be justly entitled.




                                                  4
Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 120 of 136



                                Respectfully submitted,
                                WYATT LAW FIRM, PLLC.
                                21 Lynn Batts Lane, Ste. 10
                                San Antonio, Texas 78218
                                Telephone: (210) 340-5550
                                Facsimile: (210) 340-5581
                                E-Service: e-serve@wyattlawfirm.com*

                             By:      /s/ Paula A. Wyatt
                               Paula A. Wyatt
                               State Bar No. 10541400
                               Gavin McInnis
                               State Bar No. 13679800
                               Louis Durbin
                               State Bar No. 24078448
                               ATTORNEYS FOR PLAINTIFF



                                *service by email will be accepted at this address
                                only




                                  5
FILED
5/13/2021 4:47 PM Case 5:22-cv-00230-JKP-RBF                                                 2021CI09602
                                                                Document 1-3 Filed 03/10/22 Page 121 of 136
Mary Angie Garcia
Bexar County District Clerk                                                                     Cause Number: _____________
Accepted By: Consuelo Gomez                                                                                        Bexar County - 408th District Cou
                                                                                                District Court : ______________

                                                          Mary Angie Garcia
                                                      Bexar County District Clerk
                                                           Request for Process                          CIT PPS
 Style: _________________________________
        KRYSTAL YBARRA                    Vs. ___________________________________
                                              DANIEL JOSEPH SCHMIESSING



 Request the following process: (Please check all that Apply)
    Citation   Notice    Temporary Restraining Order  Notice of Temporary Protective Order
    Temporary Protective Order   Precept with hearing Precept without a hearing Writ of Attachment
    Writ of Habeas Corpus   Writ of Garnishment Writ of Sequestration Capias       Other:

 1.
 Name: DANIEL JOSEPH SCHMIESSING
 Registered Agent/By Serving:
 Address 4347 Atchley Hill Way, Knoxville, Tennessee 37920
 Service Type: (Check One) Private Process Sheriff               Publication (Check One) Commercial Recorder Hart Beat Courthouse Door
                Certified Mail      Registered Mail      Out of County     Secretary of State  Commissioner of Insurance
 2.
 Name:
 Registered Agent/By Serving:
 Address
 Service Type: (Check One) Private Process             Sheriff   Publication (Check One) Commercial Recorder Hart Beat Courthouse Door
                Certified Mail      Registered Mail      Out of County    Secretary of State  Commissioner of Insurance
 3.
 Name:
 Registered Agent/By Serving:
 Address
 Service Type: (Check One) Private Process             Sheriff   Publication (Check One) Commercial Recorder Hart Beat Courthouse Door
                Certified Mail      Registered Mail      Out of County    Secretary of State  Commissioner of Insurance
 4.
 Name:
 Registered Agent/By Serving:
 Address
 Service Type: (Check One) Private Process             Sheriff   Publication (Check One) Commercial Recorder Hart Beat Courthouse Door
                Certified Mail      Registered Mail      Out of County    Secretary of State  Commissioner of Insurance


 Title of Document/Pleading to be Attached to Process: Plaintiffs' Original Petition


 Name of Attorney/Pro se: Wyatt Law Firm                                   Bar Number: 10541400
 Address: 21 Lynn Batts Lane, Suite 10                                     Phone Number: (210) 340-5550

                    Attorney for Plaintiff        X               Defendant                 Other

        ****IF SERVICE IS NOT PICKED UP WITHIN 14 BUSINESS DAYS, SERVICE WILL BE DESTROYED****
FILED
2/1/2022 2:07 PM Case 5:22-cv-00230-JKP-RBF                     Document 1-3 Filed 03/10/22 Page 122 of 136
Mary Angie Garcia
Bexar County District Clerk                                                                     Cause Number: _____________
Accepted By: Brenda Carrillo
Bexar County - 408th District Court                                                             District Court : ______________

                                                          Mary Angie Garcia
                                                      Bexar County District Clerk                                 citpps

                                                           Request for Process
 Style: _________________________________
        KRYSTAL YBARRA                    Vs. ___________________________________
                                              DANIEL JOSEPH SCHMIESSING



 Request the following process: (Please check all that Apply)
 ■   Citation   Notice    Temporary Restraining Order  Notice of Temporary Protective Order
     Temporary Protective Order   Precept with hearing Precept without a hearing Writ of Attachment
     Writ of Habeas Corpus   Writ of Garnishment Writ of Sequestration Capias       Other:

 1.
 Name: DANIEL JOSEPH SCHMIESSING
 Registered Agent/By Serving:
 Address 4347 Atchley Hill Way, Knoxville, Tennessee 37920
 Service Type: (Check One) ■ Private Process Sheriff             Publication (Check One) Commercial Recorder Hart Beat Courthouse Door
                Certified Mail      Registered Mail      Out of County     Secretary of State  Commissioner of Insurance
 2.
 Name:
 Registered Agent/By Serving:
 Address
 Service Type: (Check One) Private Process             Sheriff   Publication (Check One) Commercial Recorder Hart Beat Courthouse Door
                Certified Mail      Registered Mail      Out of County    Secretary of State  Commissioner of Insurance
 3.
 Name:
 Registered Agent/By Serving:
 Address
 Service Type: (Check One) Private Process             Sheriff   Publication (Check One) Commercial Recorder Hart Beat Courthouse Door
                Certified Mail      Registered Mail      Out of County    Secretary of State  Commissioner of Insurance
 4.
 Name:
 Registered Agent/By Serving:
 Address
 Service Type: (Check One) Private Process             Sheriff   Publication (Check One) Commercial Recorder Hart Beat Courthouse Door
                Certified Mail      Registered Mail      Out of County    Secretary of State  Commissioner of Insurance


 Title of Document/Pleading to be Attached to Process: Plaintiffs' Original Petition


 Name of Attorney/Pro se: Wyatt Law Firm                                   Bar Number: 10541400
 Address: 21 Lynn Batts Lane, Suite 10                                     Phone Number: (210) 340-5550

                    Attorney for Plaintiff        X               Defendant                 Other

        ****IF SERVICE IS NOT PICKED UP WITHIN 14 BUSINESS DAYS, SERVICE WILL BE DESTROYED****
       Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 123 of 136

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certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Paul Myers on behalf of Paula Wyatt
Bar No. 10541400
pmyers@wyattlawfirm.com
Envelope ID: 61350377
Status as of 2/7/2022 9:04 AM CST

Associated Case Party: DANIELJOSEPHSCHMIESSING

Name                     BarNumber Email                     TimestampSubmitted    Status

Tammy Click                         tclick@asdh.com          2/1/2022 2:07:55 PM   SENT

Jennifer GibbinsDurbin              jgd-service@asdh.com     2/1/2022 2:07:55 PM   SENT



Case Contacts

Name                BarNumber Email                   TimestampSubmitted Status

Jennifer G.Durbin               jdurbin@asdh.com      2/1/2022 2:07:55 PM   SENT

Debbie Uhl                      duhl@asdh.com         2/1/2022 2:07:55 PM   SENT

Tonya McCall                    TMcCall@asdh.com      2/1/2022 2:07:55 PM   SENT



Associated Case Party: KRYSTAL YBARRA

Name                 BarNumber Email                         TimestampSubmitted Status

Paula James Wyatt    10541400    e-serve@wyattlawfirm.com    2/1/2022 2:07:55 PM   SENT
                 Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 124 of 136

                                                                                                                                                             EIIT
                                                                                                                                                                                 PRIVATE PROCESS

                                                                         Case Number: 2021009602

    KRYSTAL YBARRA VS DANIEL JOSEPH SCHMIESSING ET AL                                                                                                   INTHE GOBTH DISTRICT COURT
                                                                                                                                                                                                      '
    (Note: Attached Document May Contain Additional Litigants)                                                                                          BEXAR COUNTY, TEXAS
                                                                                                     CITATION

"THE STATE OF TEXAS"

    Directed To:         PERLA ESMERALDA CASTELLANOS
                                                                                                                       CEPTEDB
                                                                                                                     ___,6u:«_205;?                           m;AT/‘
"You have been sued. You may employ an attorney. If you or your attorney do not file a written answer with the clerk who issued
this citation by 10:003m on the Monday next following the expiration of twenty days after y0u were served this CITATION and
PETITION a default judgment may be taken against you. In addition to filing a Written answer with the clerk, you may be required to
make initial disclosures to the other parties of this suit. These disclosures generally must be made no later than 30 days after you file
your answer with the clerk. Find out more at TexasLawII-Ielp.org” Said                   PETITION was filed on the 13th day of August,
                                                                           THIRD-PART}!
2021.

ISSUED UNDER MY HAND AND SEAL OF SAID COURT 27th day of August, 2021.

                                                                                                                                              Mary Angie Garcia
    JENNIFER GIBSINS DURBIN                                                                                                                   Bexar County District Clerk
    ATTORNEY FOR PLATINIFF                                                                                                                    101 W. Nueva, Suite 217
    6243 W Interstate 10 FL 7                                                                                                                 San Antonio, Texas 78205
    San Antonio TX 18201-2092


                                                                                                                                              By: [5/   Jason Pastrano
     M                                                                                                                                        Jason Pastrano, Deputy

    KRYSTAL YBARRA VS DANIEL JOSEPH SCHMIESSING ET AL                                                                                             Case Number: 2021005602
                                                                                                                                                  408th District Court
                                                                                     Officer’s Return
I received this CITATION on the     day of           . 20         at          o‘clock                            _   M . and     I        )   executed it by delivering a copy of the CITATION with
attached THIRD-PARTY PETITION the date of delivery endorsed on it to the defendant                                                                                in person on the           day of
—I                 20       at              o'clock
                                                        m    M.    at
                                                                                 "
                                                                                       93%;?“ ﬁg 5E5”
                                                                                                                                                         or I         i not executed because


                                                      QR            2H1


                                                     Jaw ﬁi i [Wﬁgg
Fees:                                Badge/PPS #:                              Date‘certiﬁcation expires-z --i                        .       N


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                                                               I m
      VERIFICATION OF RETURN (If not served by a peaﬁlofﬁfeﬂﬁwpﬁhl                   TOIJHISA .._.
                                                                                                           [El               Eeim‘\




OR: My name is                                                                       . my date of birth is
                                                                                                                 L83.   !‘   M                NOTARY PUBLIC, STATE OF TEXAS

                                                                                                                                                                            , and my address Is
                                                                                      County

I   declare under penalty of perjury that the foregoing      is   true and correct. Executed in                                                                      County. State of Texas, on the
                 day of                           . A.D.,                  .



                                                                                                                        Declarant
                                                                                                                                                                                     IZBi!
                                                                                                                                                                                  C! EZdJS




                                                                                                                                                                                             ?‘ 'm‘
                                                                                                                                                                                 eus
       Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 125 of 136
«QIFFJ.

                                                                  CAUSE N0. 2021-CI-09602

 KRvsm. YBARRA




                                                                             §§§§§§§
                                                                                                                    IN THE 4osTH DISTRICT COURT


                               Plaintiff,
 VS.

 DANIELJOSEPH SCHMIESSING ET AL
                           Defendant.                                                                                                 BEXAR COUNTY. TEXAS

                                                                    AFFIDAVIT 0F SERVICE

 On this day personally appeared Richard D. Ramos who, being by me duly sworn, deposed and said:

 “The following came to hand on September 8. 2021. 11:35 am,

                                            'CITATION AND DEFENDANT'S THIRD-PARTY PETITION,

 and was executed at 6222 S NEW BRAUNFELS AVE 8301. SAN ANTONIO. TX 78223-3008 within the county of BEXAR at
 06:47 PM on September 22 2021, by delivering a true copy to the within named

                                                                  PERLA ESMERALDA CASTELLANOS

 in person, having first endorsed the date of delivery on same.


 Iam a person over eighteen (18) years of age and am competent to make this affidavit. am a resident of the State of
                                                                       I                                             I



 Texas. am familiar with the Texas Rules of Civil Procedure as they apply to service of Process. am not a party to this
        I                                                                                                                         I


 suit nor related or afﬁliated with any herein, and have no interest in the outcome of the suit. have never been convicted    I



 of a felony or of a misdemeanor involving moral turpitude. have personal knowledge of the facts
                                                                              I                                 in and they
 are true and correct."




                                                                                                                         ‘0
                                                                                       Richard D. Ramos
                                                                                       Certiﬁcation Number: PSC# 2051
                                                                                       Certiﬁcation Expiration: 04/30/2022
                                                                                       Bexar County, Texas

 BEFORE ME. a Notary Public, on this day personally appeared Richard D. Ramos, known to me to be the person whose
 name Is subscribed to the foregoing document and. being by me first duly sworn, declared that the statements therein
 contained are within his or her personal knowledge and are true and correct.

 SUBSCRIBED AND sw0RN To Me
                                                orvW‘                                                          I’L—v/
                                                                                          ary Pub'   ,   Sta   ofTexas
               sfﬁ'igg’ﬁ         TERESA MARIE RAMOS
                                          Public. State of Texas
              §§-%{§‘Emmry
                       00mm.             tsumm OMB-2023
              35M¢VS                Nolar ID 128607708
               ’IrZﬁfIﬁme‘
                      -;-':-   s4~m.':'.*r-.---;n   ~‘.-—1~‘-».
FILED
8/16/2021 5:31 PM Case 5:22-cv-00230-JKP-RBF   Document 1-3 Filed 03/10/22 Page 126 of 136
Mary Angie Garcia
Bexar County District Clerk
Accepted By: Shaamid Gaitan
Bexar County - 408th District Court

                                        CAUSE NO. 2021CI09602

          KRYSTAL YBARRA                             §                IN THE DISTRICT COURT
            Plaintiff                                §
                                                     §
          VS.                                        §               408TH JUDICIAL DISTRICT
                                                     §
          DANIEL JOSEPH SCHMIESSING                  §
            Defendant                                §                 BEXAR COUNTY, TEXAS


                             DEFENDANT DANIEL JOSEPH SCHMIESING'S
                                CERTIFICATE OF WRITTEN DISCOVERY


                Defendant Daniel Joseph Schmiesing certifies that the following documents have
          been served on Plaintiff Krystal Ybarra.


                 1. Defendant Daniel Joseph Schmiesing's First Set of Interrogatories to Plaintiff
                    Krystal Ybarra; and


                 2. Defendant Daniel Joseph Schmiesing's Requests for Production to Plaintiff
                    Krystal Ybarra.

                                                  Respectfully submitted,
                                                  ALLEN, STEIN & DURBIN, P.C
                                                  6243 IH lowest, 7th Floor
                                                  P.O. Box 101507
                                                  San Antonio, Texas 78201
                                                  Telephone No.(210) 734-7488
                                                  Telecopier No.(210) 738-8036




                                                  jEfWFER.0ieerNs
                                                  state Bar No. 07840500
                                                  idurbin@asdh.com

                                                  TAMMY BRUCH CLICK
                                                  State Bar No. 03239300
                                                  tclick@asdh.com

                                                  *service email: icfd-service(a)asdh.com

                                                  ATTORNEYS FOR DEFENDANT
                                                  DANIEL JOSEPH SCHMIESING
    Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 127 of 136




                             CERTIFICATE OF SERVICE


      This Is to certify that the above and foregoing Defendant Daniel Joseph
Schmiesing's Certificate of Written Discovery was on this the 16th day of August
2021, forwarded via e-servlce to:


       e-serve@wvattlawfirm.com
       Paula A. Wyatt
       Gavin Mclnnis
       Louis Durbin
       Wyatt Law Firm, PLLC
       21 Lynn Batts Lane, Ste 10
       San Antonio, Texas 78218
       Attorneys for Plaintiff




                                     J             INS DURBIN
                                     TAMMY    :UCH CLICK



#2151146/2331-388/TBC/lb
       Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 128 of 136

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certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Linda Beall on behalf of Jennifer Durbin
Bar No. 07840500
lbeall@asdh.com
Envelope ID: 56358393
Status as of 8/17/2021 3:29 PM CST

Associated Case Party: KRYSTAL YBARRA

Name                 BarNumber Email                         TimestampSubmitted Status

Paula James Wyatt    10541400    e-serve@wyattlawfirm.com    8/16/2021 5:31:06 PM   SENT



Associated Case Party: DANIELJOSEPHSCHMIESSING

Name                     BarNumber Email                     TimestampSubmitted     Status

Tammy Click                         tclick@asdh.com          8/16/2021 5:31:06 PM   SENT

Jennifer GibbinsDurbin              jgd-service@asdh.com     8/16/2021 5:31:06 PM   SENT



Case Contacts

Name                BarNumber Email                   TimestampSubmitted Status

Jennifer G.Durbin               jdurbin@asdh.com      8/16/2021 5:31:06 PM   SENT

Debbie Uhl                      duhl@asdh.com         8/16/2021 5:31:06 PM   SENT

Tonya McCall                    TMcCall@asdh.com      8/16/2021 5:31:06 PM   SENT
FILED
8/13/2021 2:31 PM Case 5:22-cv-00230-JKP-RBF     Document 1-3 Filed 03/10/22 Page 129 of 136
Mary Angie Garcia
Bexar County District Clerk
Accepted By: Elvira Ramirez
Bexar County - 408th District Court

                                           CAUSE NO.         2021 Cl09602

           KRYSTAL YBARRA                                    §                IN    THE DISTRICT COURT
             Plaintiff
                                                             g
           VS.                                                               408TH JUDICIAL DISTRICT
                                                             g
           DANIEL JOSEPH SCHMIESSING                         §
             Defendant                                       §                 BEXAR COUNTY. TEXAS

                                DEFENDANT DANIEL JQSEEH SCHMIE§IN§’§
                                   CERT      .
                                                 OFWRITTEN DI‘C
                 Defendant Daniel Joseph Schmiesing certifies that the following document has
           been served on Plaintiff Krystal Ybarra.


                  1.     Defendant Daniel Joseph Schmiesing’s Company’s            TRCP 194.2(b)   [and (c)]
                         Initial Disclosures.


                                                          Respectfully submitted,
                                                 .-
                                                      ..-ALLEN, STEIN & DURBIN.        RC
                                                          6243 IH 10 West, 7th Floor
                                                          PO. Box 101507
                                                      '




                                                          San Antonio, Texas 78201
                                                          Telephone No. (210) 734-7488
                                                          Telecopier No. (210) 738—8036




                                                                       BBI           RBIN
                                                          St e Bar N       '40500
                                                          durbin as     com

                                                          TAMMY BRUCH CLICK
                                                          State Bar No. 03239300
                                                          tclick@asdh.com
                                                          *service email:    d-service asdh.com

                                                          ATTORNEYS FOR DEFENDANT
                                                          DANIEL JOSEPH SCHMIESING           .
   Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 130 of 136




                            CERTIFICATE OF SERVICE

       This is to certify that the above and foregoing Defendant Daniel Joseph
Schmiesing’s Certiﬁcate of Written Discovery was    on this the 13th day of August
2021, forwarded via e-service to:


      e-serve@wyattiawfirm.com
      Paula A. Wyatt
      Gavin Mclnnis
      Louis Durbin
      WYATr LAW FIRM, PLLC
      21 Lynn Batts Lane, Ste 10
      San Antonio, Texas 78218
      Attorneys for Plaintiff




                                        NIFER G          DURBIN
                                     TAMMY BR         CLiCK

#2150380l2331-388/TBC/lb
       Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 131 of 136

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certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Linda Beall on behalf of Jennifer Durbin
Bar No. 07840500
lbeall@asdh.com
Envelope ID: 56298430
Status as of 8/16/2021 10:07 AM CST

Associated Case Party: KRYSTAL YBARRA

Name                 BarNumber Email                         TimestampSubmitted Status

Paula James Wyatt    10541400    e-serve@wyattlawfirm.com    8/13/2021 2:31:31 PM   SENT



Associated Case Party: DANIELJOSEPHSCHMIESSING

Name                     BarNumber Email                     TimestampSubmitted     Status

Tammy Click                         tclick@asdh.com          8/13/2021 2:31:31 PM   SENT

Jennifer GibbinsDurbin              jgd-service@asdh.com     8/13/2021 2:31:31 PM   SENT



Case Contacts

Name                BarNumber Email                   TimestampSubmitted Status

Debbie Uhl                      duhl@asdh.com         8/13/2021 2:31:31 PM   SENT

Tonya McCall                    TMcCall@asdh.com      8/13/2021 2:31:31 PM   SENT

Jennifer G.Durbin               jdurbin@asdh.com      8/13/2021 2:31:31 PM   SENT
FILED
8/13/2021 3:53 PM Case 5:22-cv-00230-JKP-RBF   Document 1-3 Filed 03/10/22 Page 132 of 136
Mary Angie Garcia
Bexar County District Clerk                                                             citpps
Accepted By: Brenda Carrillo


                                          CAUSE NO. 2021CI09602

           KRYSTAL YBARRA                              §                IN THE DISTRICT COURT
             Plaintiff                                 §
                                                       §
           VS.                                         §              408TH JUDICIAL DISTRICT
                                                       §
           DANIEL JOSEPH SCHMIESSING                   §
             Defendant                                 §                 BEXAR COUNTY,TEXAS

                                 DEFENDANT'S THIRD-PARTY PETiTION



          TO THE HONORABLE JUDGE OF SAID COURT:

                 COMES DANIEL JOSEPH SCHMIESING, INCORRECTLY NAMED DANIEL

          JOSEPH SCHMIESSING, Defendant In the above styled and numbered cause,

           hereinafter referred to as Third Party Plaintiff, complaining of PERLA ESMERALDA

          CASTELLANOS, hereinafter referred to as Third Party Defendant, and in support of this

           petition would respectfully show the Court as follows:

                                                       I.


                 Third Party Defendant, PERLA ESMERALDA CASTELLANOS, is a resident of

          Bexar County, Texas. She may be served at her residence located at 223 Division Ave.,

          Apt #1,78214.

                                                      II.


                 Defendant/Third Party Plaintiff would show that on May 26, 2020, Third-Party

          Defendant was operating a motor vehicle, even though not licensed to do so, in which

          KRYSTAL YBARRA was a passenger. At or near the intersection of East Houston Street

          and Broadway, the car driven by Third Party Defendant, PERLA ESMERALDA

          CASTELLANOS struck the vehicle driven by Third Party Plaintiff. Third Party Defendant's

          operation of a motor vehicle in violation of law and causing a motor vehicle collision was
    Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 133 of 136




the sole cause or In the alternative a proximate cause of KRYSTAL YBARRA's claimed

injuries and damages.        Additionally, Third-Party Defendant, PERLA ESMERALDA

CASTELLANOS was negligent in the operation of her motor vehicle in that she failed to

keep a proper lookout; failed to maintain a clear and reasonable distance between her

vehicle and the motor vehicle driven by Third Party Plaintiff; failed to stop her vehicle in

observance of a signal light; failed to pay proper attention; failed to control the speed of

her car; and failed to take timely or proper evasive action to avoid the collision in question.

The negligence of Third-Party Defendant, PERLA ESMERALDA CASTELLANOS, an

unlicensed driver, is the sole cause, or a proximate cause of Plaintiffs claimed injuries

and damages.

                                              III.

       Third Party Plaintiff, DANIEL JOSEPH SCHMIESING hereby sues Third Party

Defendant, PERLA ESMERALDA CASTELLANOS seeking contribution pursuant to

Chapter 33, Texas Civil Practice and Remedies Code. By reason of Third Party

Defendant's violation of statute, and negligence as set forth more fully above. Third Party

Defendant is liable to Third Party Plaintiff for contribution, or in the alternative, indemnity

as to any judgment which may be rendered against Third Party Plaintiff, DANIEL JOSEPH

SCHMIESING in favor of the Plaintiff as Third Party Defendant is or maybe be liable to

the Plaintiff directly for all or part of the Plaintiffs claims now being made by said Plaintiff

against Defendant/Third Party Plaintiff, DANIEL JOSEPH SCHMIESING.



       WHEREFORE. PREMISES CONSIDERED, Third Party Plaintiff, DANIEL

JOSEPH SCHMIESING, prays that Third Party Defendant, PERLA ESMERALDA
   Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 134 of 136




CASTELLANOS be commanded to appear and answer herein and that Defendant/Third

Party Plaintiff have judgment against Third Party Defendant, PERLA ESMERALDA

CASTELLANOS as to any award of damages by Plaintiff. Defendant/Third Party Plaintiff

also requests any other relief to which Defendant/Third Party Plaintiff, DANIEL JOSEPH

SCHMIESING, may show himself justly entitled, whether at law or In equity.



                                       Respectfully submitted.



                                       ALLEN. STEIN & DURBIN, P.C
                                       6243 IH 10 West. 7th Floor
                                       P.O. Box 101507
                                       San Antonio, Texas 78201
                                       Telephone No.(210) 734-7488
                                       Telecopier No.(210) 738-8036



                                       JEWrnFER^BINS DURBII
                                       State Bar^o. 07840500
                                       idurbin@asdh.com

                                       TAMMY BRUCH CLICK
                                       State Bar No. 03239300
                                       tclick@asdh.com

                                       ^service email:icid-service(p)asdh.com

                                       ATTORNEYS FOR DEFENDANT/THIRD
                                       PARTY PLAINTIFF, DANIEL JOSEPH
                                       SCHMIESING,INCORRECTLY NAMED
                                       DANIEL JOSEPH SCHMIESSING
    Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 135 of 136




                               CERTlFiCATE OF SERVICE

        This is to certify that a true and correct copy of the above and foregoing
DEFENDANT'S THIRD-PARTY PETITION was this the 13^^^ day of August 2021,
fonwarded via e-service to:

        e-serve@wvattlawfirm.com
        Paula A. Wyatt
        Gavin Mclnnis
        Louis Durbin
        Wyatt Law Firm, PLLC
        21 Lynn Batts Lane, Ste 10
        San Antonio, Texas 78218




                                           JENIFER GI^IN'g Dfi^BIN
                                          TAMMY BRdCH CLICK

#2150575/2331 388/TBC
       Case 5:22-cv-00230-JKP-RBF Document 1-3 Filed 03/10/22 Page 136 of 136

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certificate of service that complies with all applicable rules.

Linda Beall on behalf of Jennifer Durbin
Bar No. 07840500
lbeall@asdh.com
Envelope ID: 56304775
Status as of 8/16/2021 11:48 AM CST

Associated Case Party: KRYSTAL YBARRA

Name                 BarNumber Email                         TimestampSubmitted Status

Paula James Wyatt    10541400    e-serve@wyattlawfirm.com    8/13/2021 3:53:49 PM   SENT



Associated Case Party: DANIELJOSEPHSCHMIESSING

Name                     BarNumber Email                     TimestampSubmitted     Status

Tammy Click                         tclick@asdh.com          8/13/2021 3:53:49 PM   SENT

Jennifer GibbinsDurbin              jgd-service@asdh.com     8/13/2021 3:53:49 PM   SENT



Case Contacts

Name                BarNumber Email                   TimestampSubmitted Status

Jennifer G.Durbin               jdurbin@asdh.com      8/13/2021 3:53:49 PM   SENT

Debbie Uhl                      duhl@asdh.com         8/13/2021 3:53:49 PM   SENT

Tonya McCall                    TMcCall@asdh.com      8/13/2021 3:53:49 PM   SENT
